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                          EXHIBIT 293 – A
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                                                                            Review

     1          IN THE UNITED STATES DISTRICT COURT
     2           FOR THE NORTHERN DISTRICT OF OHIO
     3                   EASTERN DIVISION
     4                        - - -
     5
             IN RE: NATIONAL                       :    HON. DAN A.
     6       PRESCRIPTION OPIATE                   :    POLSTER
             LITIGATION                            :
     7                                             :
             APPLIES TO ALL CASES                  :    NO.
     8                                             :    1:17-MD-2804
                                                   :
     9
                        - HIGHLY CONFIDENTIAL -
    10
           SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
    11
                                         -    -    -
    12
                               November 9, 2018
    13
                                         -    -    -
    14
    15                  Videotaped deposition of
           ERIC CHERVENY, taken pursuant to notice,
    16     was held at the law offices of Reed
           Smith, LLP, 1717 Arch Street,
    17     Philadelphia, Pennsylvania, beginning at
           9:50 a.m., on the above date, before
    18     Michelle L. Gray, a Registered
           Professional Reporter, Certified
    19     Shorthand Reporter, Certified Realtime
           Reporter, and Notary Public.
    20
                                       -     -    -
    21
    22               GOLKOW LITIGATION SERVICES
                  877.370.3377 ph | 917.591.5672 fax
    23                     deps@golkow.com
    24

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    1 APPEARANCES:                                1   APPEARANCES: (Cont'd.)
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                                                 19
   20                                            20
   21                                            21
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   23                                            23
   24                                            24

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    1   APPEARANCES: (Cont'd.)                    1   TELEPHONIC APPEARANCES: (Cont'd.)
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    2                                            2        E X H I B I T S (Cont'd.)
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          ALSO PRESENT:                          4
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    4
                                                   NO.      DESCRIPTION           PAGE
          VIDEOTAPE TECHNICIAN:                  6 AmerisourceBergen
    5      David Lane                              Cherveny-3 E-mail Thread       360
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            Zach Hone                              Cherveny-4 E-mail, 8/25/15     371
    8                                           10        Subject, Time Sensitive
    9     ALSO PRESENT:                                   Feedback Requested
                                                11        ABDCMDL00137146-47
   10      Elizabeth Campbell, Esq.             12
           Drew Schnizel, Esq.                     AmerisourceBergen
   11      (AmerisourceBergen)                  13 Cherveny-5 E-mail Thread,      374
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                                                14        Subject, Agenda for
   13
   14                                                     RAC Conference Call
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   15                                           16 AmerisourceBergen
   16                                              Cherveny-6 E-mail Thread       367
   17                                           17        2/26/13
   18                                                     Subject, Proposed Meeting
                                                18        With Barbara Bookholdt
   19
                                                          ABDCMDL00145773-74
   20                                           19
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            By Mr. Cluff        11                 290 7
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   11           EXHIBITS
   12                                                PAGE LINE
                 - - -                          10   None.
   13
                                                11
   14 NO.      DESCRIPTION        PAGE
   15 AmerisourceBergen                              Stipulations
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      Cherveny-1 E-mail, 12/11/13 261                PAGE LINE
   16        Subject, Memo of                   13   None.
             Understanding                      14
   17        4/20/2000
             ABDCMDL00146183-86                      Questions Marked
   18                                           15

      AmerisourceBergen                              PAGE LINE
   19                                           16   None.
      Cherveny-2 Security &    312              17
             Regulatory Update                  18
   20        VP/DCM Meeting                     19
             Dallas, Texas                      20
   21        8/28/07
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             ABDCMDL00269291
   22                                           22
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    1              - - -                             1  a named party?
    2         THE VIDEOGRAPHER: We are               2       A. No.
    3     now on the record. My name is               3      Q. Who were you testifying --
    4     David Lane, videographer for                4 let me back up.
    5     Golkow Litigation Services.                 5          What was the -- what was the
    6         Today's date is November 9,             6 litigation about?
    7     2018. Our time is 9:50 a.m.                 7      A. I believe it was one of our
    8         This deposition is taking               8 customers.
    9     place in Philadelphia,                      9      Q. Okay. Customer, and you
   10     Pennsylvania, in the matter of             10 said "we." Who is the "we"?
   11     National Opioid Litigation MDL.            11      A. AmerisourceBergen.
   12         Our deponent today is Eric             12      Q. AmerisourceBergen is a large
   13     Cherveny.                                  13 corporation. When you say
   14         Counsel will be noted on the           14 AmerisourceBergen, do you mean the parent
   15     stenographic record.                       15 company or some subsidiary of that
   16         The court reporter is                  16 entity?
   17     Michelle Gray and will now swear           17      A. I believe it was -- when I
   18     in our witness.                            18 just answered that, it was for
   19             - - -                              19 AmerisourceBergen Drug Corp.
   20         ... ERIC CHERVENY, having              20      Q. Okay. So today, if we refer
   21     been first duly sworn, was                 21 to AmerisourceBergen Drug Corp., could we
   22     examined and testified as follows:         22 abbreviate that as ABDC?
   23            - - -                               23      A. Yes, of course.
   24         THE VIDEOGRAPHER: Please               24      Q. And if we are talking about
                                           Page 11                                           Page 13
    1       begin.                                   1  its parent company, AmerisourceBergen
    2           MR. CLUFF: Thank you.                2  Corp., we can call that ABC. Is that
    3              - - -                              3 good?
    4            EXAMINATION                          4      A. Yes.
    5              - - -                              5      Q. Okay. And so in that New
    6 BY MR. CLUFF:                                   6 York case, do you remember when it was
    7       Q. Mr. Cherveny, before we get            7 filed?
    8 started, can you just spell your first          8      A. No.
    9 and last name on the record to make sure        9      Q. Okay. But you recall giving
   10 it's clear?                                    10 a deposition approximately a year ago?
   11       A. Yeah. Eric, E-R-I-C. Last             11      A. No, no. It was several
   12 name Cherveny, C-H-E-R-V-E-N-Y.                12 years ago.
   13       Q. Okay. Thank you.                      13      Q. Oh, I'm sorry. Several
   14           And you understand that              14 years ago, thank you.
   15 you're here as a fact witness today to         15          Within the last five years?
   16 give a deposition, correct?                    16      A. No. I believe it was longer
   17       A. Yes.                                  17 than that.
   18       Q. Okay. And have you ever               18      Q. Okay. So maybe between five
   19 given a deposition before?                     19 and ten?
   20       A. Yes.                                  20      A. Yes.
   21       Q. When was that?                        21      Q. All right. And you said
   22       A. A few years ago in New York.          22 that you believed it was one of ABDC's
   23       Q. Okay. And was that in                 23 customers. What -- do you have a
   24 connection with litigation where you were      24 recollection of what the allegation was?


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    1      A.   Absolutely no recollection              1        Q. But today you don't recall?
    2 at all.                                           2        A. That's correct.
    3      Q.   Absolutely no recollection.              3       Q. Makes perfect sense.
    4 Okay.                                              4           I may ask you questions that
    5          Do you know if it was in                  5 touch on issues that you may have
    6 state court or federal court?                      6 discussed with your attorneys. I'm never
    7      A. It was Eliot Spitzer's team                7 asking you to disclose what we call
    8 that was deposing me, so...                        8 attorney/client privilege. And your
    9      Q. So since it's been a while                 9 attorney may at times interject an
   10 since you've given a deposition, I wanted         10 objection to clarify that you can answer
   11 to go over some things called                     11 the question, but caution you not to
   12 admonitions, just so you can understand           12 reveal communications that you had with
   13 again. I mean, I'm sure your lawyer has           13 your attorneys.
   14 prepared you for today's deposition.              14           But I am entitled to know
   15          One of the things that we                15 information that's within your own
   16 like to do, though, just to make sure             16 personal knowledge, aside from what you
   17 everybody is on the same page on the              17 learned from them. Does that make sense?
   18 record.                                           18       A. Yes.
   19          So I'm entitled to have your             19       Q. Okay. Great. I want to
   20 best understanding and your best                  20 stay with this New York litigation a
   21 recollection to all of my questions               21 little bit.
   22 today. Your attorney is entitled to               22           Are you aware of any other
   23 object to my questions. But unless your           23 litigation that was filed by
   24 attorney specifically instructs you not           24 AmerisourceBergen customers against ABDC?

                                              Page 15                                         Page 17
    1 to answer a question, I'm entitled to an          1       A. No.
    2 answer. Okay?                                     2       Q. Never?
    3      A. Yes.                                       3      A. Not that I -- not that comes
    4      Q. I'm not going to ask you to                4 to mind right now.
    5 guess ever. But I am entitled to, as I             5      Q. Not that comes to mind.
    6 said earlier, your best recollection.              6 Okay.
    7 Sometimes I may ask you for an estimate            7          Is there any other
    8 or your best attempt at getting to the             8 litigation that AmerisourceBergen has
    9 information that I'm asking.                       9 been involved in that you can recall
   10          At times, I may ask you                  10 aside from the litigation here today?
   11 questions to which you may not know the           11          MR. NICHOLAS: Object to the
   12 answer. I'm entitled to know, though,             12      form.
   13 whether you knew the answer to that               13          THE WITNESS: I mean,
   14 question at the time, and you just can't          14      there's litigation that's
   15 recall, or whether you never knew.                15      happening, but it's really not a
   16          Do you understand the                    16      part of my direct job
   17 difference?                                       17      responsibilities. So I might be
   18      A. Yes.                                      18      generally aware of it. But it's
   19      Q. Right. So for an example,                 19      not something that I know any
   20 this New York litigation, at some point           20      detail.
   21 in time you knew something about the              21 BY MR. CLUFF:
   22 allegations, correct?                             22      Q. What litigation are you
   23      A. Yeah, at some time I did,                 23 generally aware of?
   24 yeah.                                             24          MR. NICHOLAS: Object to the
   Golkow Litigation Services                                                Page 5 (14 - 17)
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    1      form.                                     1        Q. And you don't know -- you
    2          THE WITNESS: I couldn't               2  mentioned earlier that it was about a
    3      even -- I couldn't even state. I           3 customer. You don't know which specific
    4      can't tell you anything at this            4 customer, right?
    5      point.                                     5       A. No.
    6 BY MR. CLUFF:                                   6       Q. We're going to talk later
    7      Q. But you said that you're                7 about your job responsibilities in a
    8 generally aware of litigation. What is          8 little more detail. But do you have any
    9 your general awareness?                         9 familiarity in your role at
   10          MR. NICHOLAS: Object to the           10 AmerisourceBergen or ABDC about the kinds
   11      form.                                     11 of complaints that customers might have
   12          THE WITNESS: I'll see                 12 against ABDC that would lead to
   13      e-mails from time to time. But,           13 litigation?
   14      again, it's something that I'll           14           MR. NICHOLAS: Object to the
   15      see in passing. But I have a very         15       form.
   16      busy job. So it's not something           16           Go ahead.
   17      that I spend any time reviewing.          17           THE WITNESS: Not in any
   18 BY MR. CLUFF:                                  18       detail.
   19      Q. Okay. This New York                    19 BY MR. CLUFF:
   20 lawsuit, do you know who was suing who at      20       Q. Okay. But do you have a
   21 the time?                                      21 general understanding?
   22      A. It was so long ago that it's           22       A. I know that lawsuits are
   23 something that I couldn't even -- I            23 filed against the company. But I don't
   24 wouldn't feel comfortable answering that.      24 really spend time going into it in any

                                           Page 19                                          Page 21
    1 I don't know.                                  1  detail. Like I said, I have a different
    2      Q. You mentioned the name Eliot           2  set of job responsibilities. It doesn't
    3 Spitzer and their team. Do you know if          3 really include that.
    4 it was an action brought by a                   4      Q. I understand that your job
    5 governmental entity?                            5 responsibilities might include other
    6      A. No.                                     6 aspects of ABDC's business. But if
    7      Q. You don't know if it was an             7 you're telling me that you have a general
    8 Attorney General?                               8 understanding, I'm entitled to understand
    9      A. I don't know.                           9 your understanding.
   10      Q. Is there anything else that            10           So aside from the fact that
   11 you remember at all?                           11 you can't give me any particular detail,
   12      A. I remember absolutely                  12 what general understanding do you have of
   13 nothing about it.                              13 the lawsuits that get filed against ABDC?
   14      Q. Okay. You don't remember if            14           MR. NICHOLAS: Object to the
   15 it was resolved by way of a settlement?        15      form.
   16      A. No.                                    16           THE WITNESS: Very little.
   17      Q. No judgment entered?                   17      Like I said, it doesn't really
   18      A. No.                                    18      come into play with my direct
   19      Q. What were you called on to             19      responsibilities with the company
   20 testify about?                                 20      at this time.
   21          MR. NICHOLAS: Objection.              21 BY MR. CLUFF:
   22          THE WITNESS: I don't                  22      Q. But what little do you
   23      recall.                                   23 understand? That's what I'm asking you
   24 BY MR. CLUFF:                                  24 to explain to me.


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    1          MR. NICHOLAS: Object to the           1       A. Yes.
    2     form. Asked and answered.                  2       Q. Okay. So going forward I
    3          THE WITNESS: I mean, it's              3 think we'll understand that, and there
    4     going to vary depending on                  4 won't be an issue.
    5     lawsuit, from lawsuit to lawsuit.           5          All right. We might come
    6     I'm not going -- - I'm sure they            6 back to these lawsuits a little bit
    7     have a case against the company             7 later. But I think let's talk about your
    8     for whatever reasons, you know,             8 experience and your job. Does that make
    9     that they have. But I don't know            9 sense?
   10     anything -- any details about the          10      A. Yes.
   11     litigation beyond that.                    11      Q. Okay. So are you employed
   12 BY MR. CLUFF:                                  12 by ABDC?
   13     Q. When you say "they," do you             13      A. No.
   14 mean customers?                                14      Q. Okay. So who are you
   15     A. It could be customers. It               15 employed by?
   16 could be government entities.                  16      A. I'm employed by the parent
   17     Q. What kind of cases do                   17 company, ABC.
   18 government entities file against ABDC?         18      Q. Okay. How does your
   19          MR. NICHOLAS: Objection to            19 relationship to ABDC work out then?
   20     form. Asked and answered.                  20          MR. NICHOLAS: Object to the
   21          THE WITNESS: I think I've             21      form.
   22     answered the question. I don't             22          THE WITNESS: Subsidiary
   23     have anything more than a basic            23      company of ABC.
   24     understanding that the company has         24 BY MR. CLUFF:

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    1      lawsuits placed against it. I             1       Q. Okay. And so what
    2      don't have any detailed knowledge         2  responsibilities as an employee of ABC do
    3      about anything about the lawsuits          3 you have towards ABDC?
    4      that are placed against it other           4      A. I'm the director of
    5      than what I've told you.                   5 diversion control and security for the
    6 BY MR. CLUFF:                                   6 company.
    7      Q. Sure. So your lawyer just               7      Q. Is diversion control the
    8 objected "asked and answered." And your         8 same thing as security?
    9 response was "I think I've answered the         9      A. No.
   10 question."                                     10      Q. So you have kind of two
   11           So your lawyer, like I said,         11 responsibilities then, it sounds like,
   12 is entitled to object. But I'm entitled        12 diversion control and then security
   13 to the answer that you were going to give      13 separate from diversion control?
   14 me prior to the objection unless you're        14      A. The formal title has some
   15 instructed not to answer.                      15 security components to it. But it's
   16           So if you hear an objection          16 primarily diversion that I'm responsible
   17 like asked and answered, I'm still             17 for.
   18 entitled to my answer. You can't just          18      Q. Okay. How long have you
   19 change your answer to say that you've          19 been an employee of ABC?
   20 answered the question.                         20      A. Going on 22 years.
   21           Sometimes my questions are           21      Q. 22 years. So that's
   22 going to be slightly different than the        22 sometime in the '90s, maybe '96?
   23 ones that I've previously asked. Does          23      A. Yes.
   24 that make sense?                               24      Q. Okay. And when you started
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    1 with -- when you started working in '96,        1       record. We'll get it corrected.
    2 did you join ABC or some prior iteration        2  BY MR. CLUFF:
    3 of that entity?                                  3      Q. What do you mean by
    4      A. The company I joined at the              4 conducting a patrol?
    5 beginning was Bergen Brunswick                   5      A. We could -- we could conduct
    6 Corporation.                                     6 detect patrols. We had a wand and --
    7      Q. And what was your title when             7 that had little readers throughout the
    8 you joined Bergen Brunswick?                     8 building and would document that a
    9      A. I was a security officer.                9 security patrol was done and when it was
   10      Q. What were your -- what were             10 done.
   11 your job responsibilities as a security         11      Q. You said had a wand that
   12 officer?                                        12 helped you document when the patrols were
   13      A. Basic security functions,               13 conducted. But what were the patrols?
   14 conducting patrols, conducting escorts,         14      A. To walk through the entire
   15 transporting executives.                        15 building, all floors, and just monitor
   16      Q. What are basic security                 16 the building to make sure that there was
   17 functions?                                      17 no dangers, that there was no fire, that
   18      A. Dealing with security                   18 there was nothing -- nothing going on
   19 issues, if a fight occurs, if                   19 from a security nature that would be
   20 unauthorized personnel enter the                20 concerning.
   21 property.                                       21      Q. Okay. And you mentioned
   22      Q. So, basically, making                   22 that you were responsible for conducting
   23 sure --                                         23 escorts. What would you be escorting?
   24          MR. NICHOLAS: He wasn't --             24      A. Associates to their cars, if
                                            Page 27                                           Page 29
    1      he wasn't finished.                        1  they had a spousal dispute, executives to
    2 BY MR. CLUFF:                                   2  the airport, executives from the airport
    3      Q. I'm sorry. I didn't mean to              3 and related duties.
    4 interrupt you. Sorry.                            4      Q. So it sounds like there was
    5      A. Basically just related                   5 some overlap with the conducting escorts
    6 duties.                                          6 and transporting executives that you
    7      Q. Okay. So if I'm                          7 mentioned, right?
    8 understanding you correctly, it sounds           8      A. Yes.
    9 like that aspect of your job was to just         9      Q. Okay. So when you were with
   10 make sure that the physical location            10 Bergen Brunswick, there was -- there was
   11 where you were employed was safe and            11 no diversion control responsibilities, it
   12 secure. Would you agree with that?              12 sounds like, correct?
   13          MR. NICHOLAS: Object to the            13      A. That's correct.
   14      form.                                      14      Q. Okay. And how long did you
   15          THE WITNESS: Yes, I would.             15 hold this title of security officer at
   16 BY MR. CLUFF:                                   16 Bergen Brunswick?
   17      Q. Okay. You also mentioned                17      A. I don't recall exactly.
   18 conducting controls. What does it mean          18 Approximately two years.
   19 to conduct a control?                           19      Q. Two years. So maybe like
   20      A. I'm not --                              20 '96 to '98-ish?
   21          MR. NICHOLAS: I think he               21      A. Yes.
   22      said patrol.                               22      Q. Before you joined Bergen
   23          MR. CLUFF: Okay. Patrol.               23 Brunswick, did you -- what level of
   24      My fault. There's a typo in the            24 education did you complete?


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     1       A. Just high school and some               1      Q. So we said that -- or you
     2 college.                                         2 said that from '96 to '98 you were a part
     3       Q. Okay. High school and some              3 of the security office or group at Bergen
     4 college. And where did you do the                4 Brunswick, right?
     5 college?                                         5          And was that at a facility
     6       A. Golden West College in                  6 in Southern California?
     7 Huntingdon Beach, California.                    7      A. Yes, it was.
     8       Q. Oh, yeah. I know it.                    8      Q. Do you know where it was?
     9          So are you originally from              9      A. 4000 Metropolitan Boulevard,
    10 west coast?                                     10 Orange, California.
    11       A. Yes.                                   11      Q. I know it.
    12          MR. CLUFF: It's time to                12          Okay. And what did you do
    13       wake up for somebody.                     13 after you were a security officer?
    14 BY MR. CLUFF:                                   14      A. Well, they were looking for
    15       Q. When you were working with             15 a volunteer to type confidential
    16 Bergen Brunswick, did you work with Chris       16 transcriptions of interrogations that our
    17 Zimmerman?                                      17 investigators conducted. I type fast. I
    18       A. Yes. He was with the                   18 typed about 60 words a minute back then
    19 company when I joined.                          19 accurately. So I volunteered and I
    20       Q. Okay. And what was his                 20 listened to recordings for eight hours a
    21 position at that time?                          21 day, five days a week, and typed
    22       A. I don't recall his exact               22 transcriptions of those investigations
    23 title.                                          23 they never used, and after about six
    24       Q. Okay. But you stayed with              24 months of doing that, I got noticed by

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     1 the company as it merged up into                 1 the executives upstairs and I got
     2 eventually becoming ABC, correct?                2 promoted to -- to upstairs.
     3      A. That's correct.                          3      Q. I want to go back to Golden
     4      Q. When you were at Golden                  4 West just for a second. How long -- how
     5 West, what kind of classes did you take?         5 long were you attending classes at Golden
     6      A. General education, mainly.               6 West?
     7      Q. Okay. Anything specialized               7      A. What time period?
     8 towards security?                                8      Q. Yeah. Like in terms of
     9      A. No.                                      9 months, years, weeks?
    10      Q. Did you complete an                     10      A. I think it was about one
    11 Associate's degree?                             11 year.
    12      A. No, I did not.                          12      Q. About a year.
    13      Q. Did you have any law                    13          And were you a full-time
    14 enforcement-type classes?                       14 student?
    15      A. No, I did not at that time.             15      A. I don't know if I was
    16      Q. So you'd agree with me that             16 formally full-time, but I was taking a
    17 none of your college classes overlapped         17 pretty full load.
    18 with the security responsibilities you          18      Q. Okay. And so were you
    19 had at Bergen Brunswick, right?                 19 taking a full load for two semesters
    20          MR. NICHOLAS: Object to the            20 or -- what was your workload while you
    21      form.                                      21 were at Golden West?
    22          THE WITNESS: Yes, I would              22      A. It was -- I think it was
    23      agree.                                     23 close to a full load. I think I was
    24 BY MR. CLUFF:                                   24 taking about five classes per semester.


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     1      Q. Per semester. How come you               1 four investigators, and I would type
     2 decided not to pursue a further education        2 transcriptions for their individual
     3 at Golden West?                                  3 investigations as per their request. So
     4      A. I decided to join the Navy.              4 given the time period that's passed, I
     5      Q. Awesome. When were you in                5 wouldn't feel comfortable answering how
     6 the Navy?                                        6 many investigations were conducted, you
     7      A. I was in the United States               7 know, at one time, or during the entire
     8 Navy from -- from '86 to '91.                    8 six months. I just have no recollection
     9      Q. Were you on a boat?                      9 of that.
    10      A. Yes.                                    10      Q. The investigators that
    11      Q. Or ship, excuse me?                     11 worked at that time, were they full-time?
    12      A. Yes, I was assigned to the              12      A. Yes. I believe so.
    13 USS Nimitz.                                     13      Q. Okay. And were they
    14      Q. What -- what was your                   14 employed by Bergen Brunswick, or were
    15 responsibility in the Navy?                     15 they outside consultants?
    16      A. I was a radar air traffic               16      A. No. They were Bergen
    17 controller. I was a final, final                17 Brunswick associates.
    18 controller on board the Nemitz from '87         18      Q. So Bergen Brunswick -- is it
    19 to '91.                                         19 fair to say that Bergen Brunswick had a
    20      Q. So no, no security                      20 serious concern about internal theft at
    21 responsibilities there though, right?           21 that time?
    22      A. I volunteered for shore                 22          MR. NICHOLAS: Object to the
    23 patrol pretty much every time I had duty.       23      form.
    24 So in that capacity I had -- I had              24          THE WITNESS: Yes. We've
                                             Page 35                                            Page 37
     1 security experience.                             1      always taken that very seriously
     2      Q. Makes sense. The                         2      as a company.
     3 interrogations that you were typing, I           3 BY MR. CLUFF:
     4 believe that's the word you used, right?         4      Q. In 1998 was there -- what --
     5      A. Yes.                                     5 what were the drugs being stolen, or what
     6      Q. Okay. Those were from                    6 products were being stolen?
     7 investigations that Bergen Brunswick             7      A. I mean I would say generally
     8 employees were conducting?                       8 it would have been controlled substances.
     9      A. Yes, that's correct.                     9 Also Viagra was a -- was a product that
    10      Q. What kind of investigations             10 was commonly stolen from our distribution
    11 were they?                                      11 centers.
    12      A. They were various                       12      Q. Any particular category of
    13 investigations. But per my recollection,        13 controlled substances that were being
    14 they primarily involved internal thefts         14 stolen at that time?
    15 of controlled substances.                       15      A. No, they spanned all
    16      Q. In the six months that you              16 categories. We had vault products as
    17 were transcribing those interrogations          17 well as caged products that would be
    18 how many investigations do you think were       18 Schedule II, as well as Schedule III
    19 ongoing at that time?                           19 through V products.
    20      A. I have no idea.                         20      Q. Okay. What is a vault
    21      Q. Could you give me a                     21 product?
    22 ballpark, maybe like more than 10, more         22      A. The vaults are maintained to
    23 than 20?                                        23 hold Schedule II narcotics, and that's
    24      A. I mean there were three or              24 per federal regulations.


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     1      Q. Okay. Are all narcotics                  1       Q. And it sounds like what
     2 Schedule II narcotics or is there some           2  you're saying is per the DEA regulations,
     3 variation in that group?                          3 those needed to be more secure than the
     4      A. Narcotics are broken into                 4 Schedule IIIs, correct?
     5 Schedule II and II-N. There'd be two,             5      A. That's correct.
     6 Schedule II narcotics and non-narcotics.          6      Q. And what is your
     7      Q. Okay. And then what's a                   7 understanding of why they needed to be
     8 caged product?                                    8 more secure?
     9      A. Those are products                        9      A. Generally speaking, per, per
    10 categorized in Schedule IIIs, IVs and Vs.        10 federal regulations, the more powerful
    11      Q. What's the difference                    11 the drug family, you know, the higher the
    12 between a cage and a vault?                      12 regulatory requirement for storage.
    13      A. Well, a vault is pretty much             13      Q. What do you mean when you
    14 what you would see in a bank. It's got           14 say a more powerful?
    15 steel walls and it's constructed in              15      A. Well, controlled substances
    16 accordance with federal regulations to           16 are broken into Schedule I through Vs.
    17 hold controlled substances, specifically         17 Is, Schedule I products have no medicinal
    18 narcotics.                                       18 value like LSD. It's used for like in a
    19          The cage is really just                 19 research and laboratories.
    20 exactly the way it's indicated. It's a           20          Schedule IIs generally are
    21 cage that's chain-link fence that                21 from the opiate pop, either it's
    22 generally has five sides, four sides plus        22 basically narcotics, opium. Generally
    23 a ceiling. That's basically -- and it's          23 used for cancer patients, pain
    24 all constructed within federal                   24 medications. Schedule IIIs, IVs and Vs,

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     1 regulation, regulatory requirements.             1  as you move up that number, the lesser
     2      Q. Sure. So if I understand                 2  control it has. Like Schedule V would be
     3 you correctly, the cage products, they go         3 children's NyQuil with codeine. It still
     4 inside this fence enclosure, and those            4 has the codeine in it so it has to be
     5 are Schedule IIIs -- or III, IV and Vs,           5 categorized as a control. But has very
     6 correct?                                          6 little potential for abuse because it's
     7      A. That's correct.                           7 in a lower quantity.
     8      Q. It would seem like maybe                  8       Q. Is it your opinion that
     9 less security is necessary around those           9 children's NyQuil with codeine does not
    10 products is -- is what is happening,             10 have a likelihood of abuse?
    11 because there's a cage, not a vault?             11           MR. NICHOLAS: Object to the
    12      A. Yes, per federal regulation.             12       form.
    13      Q. Okay. In your experience                 13           Go ahead.
    14 was there less likelihood of theft of the        14           THE WITNESS: I would say
    15 Schedule IIIs versus Schedule IIs?               15       that it has less likelihood of
    16      A. No. No, pretty much it was               16       abuse than -- than some other
    17 all stolen pretty -- pretty -- I mean            17       products, yeah.
    18 based on my recollection I think it was          18 BY MR. CLUFF:
    19 pretty common negative inventories for           19       Q. I'm going to circle back to
    20 the cage and the vault product.                  20 my question because you gave me a lot of
    21      Q. Mm-hmm. And then so the                  21 information. I'm not sure if -- if I
    22 vault products, those were the Schedule          22 understand the answer to the answer to my
    23 IIs, correct?                                    23 question.
    24      A. Yes.                                     24           You earlier testified that,
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     1 per federal regulations, the more              1           MR. NICHOLAS: Object to the
     2 powerful the drug family the higher the        2       form. Go ahead.
     3 regulatory requirement. My question was,        3          THE WITNESS: Yes, I would
     4 what do you mean when you say the more          4      agree with that.
     5 powerful the drug is it needs more              5 BY MR. CLUFF:
     6 security.                                       6      Q. Okay. So I'm just wondering
     7          What would you describe as a           7 if in your head there's a connection
     8 more powerful effect that one drug has          8 between a drug being more prone to
     9 versus another?                                 9 diversion and abuse and a drug being more
    10          MR. NICHOLAS: Object to the           10 powerful?
    11      commentary before the question.           11          MR. NICHOLAS: Object to the
    12      Go ahead.                                 12      form.
    13          THE WITNESS: Well, our DEA            13          THE WITNESS: Not always.
    14      categorizes these drugs. And they         14 BY MR. CLUFF:
    15      determine the -- the higher               15      Q. But sometimes?
    16      propensity for diversion and              16      A. Yes.
    17      abuse, and they are the ones that         17      Q. Okay. So like the drugs in
    18      basically set where they are to be        18 Schedule II, you mentioned narcotics and
    19      stored.                                   19 opium-based products, those are more
    20          So we just follow those               20 powerful than some drugs in Schedule III,
    21      regulations. I'm not a                    21 correct?
    22      pharmacist. I don't have, you             22      A. Yes.
    23      know, I don't have detailed               23      Q. Okay. And based on your
    24      knowledge of -- of the actual             24 testimony earlier, drugs in Category 2

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     1       chemical breakdown of those drugs,       1  would be as determine -- would have been
     2       so I would just leave it at that.        2  determined by the DEA to be more prone to
     3           But the DEA pretty much sets          3 diversion and abuse, correct?
     4       the requirements and we follow            4           MR. NICHOLAS: Object to the
     5       that requirement.                         5       form.
     6 BY MR. CLUFF:                                   6           THE WITNESS: Well, they are
     7       Q. That makes sense. Okay. So             7       more powerful. Not all Schedule
     8 I just want to make sure I understand.          8       IIs are as prone for abuse as --
     9 I'm not trying to rehash anything here.         9       as other -- other Schedule IIs.
    10 Earlier you said more powerful, and then       10       But I would say DEA makes those
    11 I asked for a little more of an                11       determinations and we follow that
    12 explanation. And then you followed up          12       like I said.
    13 with this explanation that the DEA sets        13 BY MR. CLUFF:
    14 these lists or categories.                     14       Q. Okay. I'm confused though.
    15           Does that make sense at that         15 So you said that in your head there is a
    16 point?                                         16 connection between the power of a drug
    17           MR. NICHOLAS: Object to the          17 and its -- its likelihood of diversion
    18       form.                                    18 and abuse, right?
    19           THE WITNESS: Yes.                    19       A. Based on DEA. Because based
    20 BY MR. CLUFF:                                  20 on DEA's findings and their -- and their
    21       Q. And that the -- that the              21 analysis of those drugs, yes.
    22 lists or categories are based on               22       Q. Okay. So then it's your --
    23 likelihood of abuse and diversion. Did I       23 it's your opinion that the DEA has
    24 get that correct?                              24 categorized the more powerful drugs as


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     1 you've referred to them as drugs that are        1      think that's what -- yes. That's
     2 more prone to diversion and abuse, right?        2      what DEA -- that's what DEA
     3          MR. NICHOLAS: Object to the             3      determines.
     4      form.                                       4 BY MR. CLUFF:
     5          THE WITNESS: Yes.                       5      Q. Okay. I think earlier you
     6 BY MR. CLUFF:                                    6 talked about that AmerisourceBergen is
     7      Q. Okay. And C-IIs are higher               7 committed to -- and I don't want to put
     8 than C-IIIs, right?                              8 words in your mouth. So if I get this
     9      A. That's correct.                          9 wrong, please help me understand -- is
    10      Q. Let me back up. I used an               10 committed to making sure that they follow
    11 abbreviation. I said C-II and C-III. If         11 DEA direction regarding C-IIs and C-IIIs,
    12 I say C-II, do you understand that I'm          12 right?
    13 talking to Schedule II drugs, right?            13      A. I'm sorry. Can you restate
    14      A. Yes.                                    14 that?
    15      Q. And if I say C-III we are               15      Q. Sure. When we were talking
    16 talking about Schedule III drugs?               16 about how the DEA classifies drugs into
    17      A. Yes.                                    17 the schedules, right, Schedule I,
    18      Q. Okay. So C-IIs -- backing               18 Schedule II, Schedule III, I recall you
    19 up again -- they're more powerful than          19 answering to the effect that
    20 C-III?                                          20 AmerisourceBergen or ABDC is committed to
    21      A. Yes, they are.                          21 following DEA direction about the
    22      Q. So as a general category                22 classification of drugs, right?
    23 they are more likelihood -- more likely         23      A. We're committed to following
    24 to be diverted and subject to abuse than        24 direction as per the regulation as to

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     1 C-III, right?                                    1 where they are stored.
     2          MR. NICHOLAS: Object to the             2      Q. As to where they're stored.
     3     form.                                        3 Okay.
     4          THE WITNESS: Well, not                  4          So then that means
     5     always. I mean, prometh with                 5 AmerisourceBergen's commitment only
     6     codeine is a Schedule V, and it's            6 extends as far as the cages and the
     7     highly abused in the United                  7 vaults are concerned; is that right?
     8     States, in many cases more so than           8          MR. NICHOLAS: Object to the
     9     narcotics.                                   9      form.
    10          So I would say that the DEA            10          THE WITNESS: Yes.
    11     breaks down those drug categories,          11 BY MR. CLUFF:
    12     and they tell us where we are               12      Q. All right. I'd like to go
    13     supposed to store them. So                  13 back to the investigations for a second.
    14     generally the DEA considers them            14          Do you recall any of the
    15     more likely to be abused.                   15 outcome of these investigations that you
    16 BY MR. CLUFF:                                   16 were transcribing?
    17     Q. Okay. Understood. So I                   17      A. No. I wasn't involved in
    18 think we'd agree then that the higher you       18 that at all.
    19 go on the schedule, right, C-V, C-IV,           19      Q. Do you know if Bergen
    20 C-III, C-II, there's a higher likelihood        20 Brunswick ever uncovered any internal
    21 of abuse?                                       21 thefts of C-II or C-III?
    22          MR. NICHOLAS: Object to the            22      A. Based on my experience as a
    23     form.                                       23 regional director, yes, I can tell you
    24          THE WITNESS: I mean, I                 24 that we have identified internal thefts


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     1 and we have -- we have -- through the             1 specific investigations about thefts of
     2 investigation, we identified who -- who           2 prescription opioids?
     3 the theft was happening -- or who was             3      A. Yes. That was a -- that was
     4 conducting the theft.                             4 a category of drug that we conducted
     5      Q. Okay. Maybe our -- maybe                  5 investigations on.
     6 our lines got crossed there, because you          6      Q. Okay. What is your earliest
     7 answered about your experience as a               7 recollection of an investigation of a
     8 regional director. And you said that              8 theft of a prescription opioid?
     9 you -- that we -- I'm using the "we" that         9      A. I don't remember.
    10 you used -- have identified thefts. Were         10      Q. Okay. You worked for the
    11 you answering about your current                 11 company for 22 years. Would you have
    12 responsibilities as a regional director          12 become aware of an investigation
    13 for ABC?                                         13 regarding the theft of prescription
    14      A. No.                                      14 opioids when you were transcribing
    15      Q. Oh, okay. So you were                    15 investigations between -- or after '98?
    16 talking about Bergen Brunswick at the            16      A. Yes. I mean, that's --
    17 time?                                            17 that's when I would have been exposed to
    18      A. Well, I'm not currently --               18 those kinds of investigations.
    19 I'm not currently regional director.             19      Q. Okay. So that's maybe a
    20 That was my previous role before I took          20 reasonable beginning point on when you
    21 over diversion.                                  21 became aware of investigations, correct?
    22      Q. Okay.                                    22      A. Yes.
    23      A. But you asked sort of a                  23      Q. Do you know when
    24 broad question. So, yes, we have as a            24 prescription opioids first hit the

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     1 company identified internal thefts.               1 market? And by the market, I mean to be
     2     Q. Okay. What was stolen? If                  2 written for use by everyday consumers.
     3 you want to categorize what's been stolen         3      A. No.
     4 I'm okay with that.                               4      Q. If I told you that OxyContin
     5          MR. NICHOLAS: Object to the              5 was first approved for use in 1999, would
     6     form.                                         6 that jog your recollection?
     7          THE WITNESS: I mean over                 7      A. No.
     8     the course of 22 years, the                   8      Q. Okay. Do you recall
     9     various drugs, I couldn't give you            9 investigations about prescription opioids
    10     specifics.                                   10 anytime after 2000?
    11          Everywhere -- everything                11      A. Yes. I was exposed to
    12     from non-controlled prescription             12 investigations post 2000 time frame.
    13     drugs like Viagra to controlled              13      Q. Okay. When would that have
    14     substances in all categories.                14 been?
    15 BY MR. CLUFF:                                    15      A. Post 2000.
    16     Q. Okay. What kinds of                       16      Q. Okay. Coming back to your
    17 controlled substances were stolen?               17 responsibilities today as a director for
    18     A. Like I said, all categories.              18 ABC, when is the most recent
    19     Q. Anabolic steroids?                        19 investigation that you can recall
    20     A. All categories. I don't                   20 regarding the theft of a prescription
    21 recall specific investigation for a theft        21 opioid?
    22 of anabolic steroids. But I wouldn't be          22      A. In my current role, we don't
    23 surprised if it happened.                        23 conduct investigations of internal
    24     Q. Okay. Do you recall any                   24 thefts. That's handled by a different


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     1 team.                                          1       if internal theft is considered a
     2      Q. Sure. That's fair. It's                2       component of the overall diversion
     3 not the question I asked you though. I          3      control program. It might touch
     4 asked you when was the most recent              4      on that. But it's certainly not
     5 investigation that you were aware of?           5      something that my team handles
     6          MR. NICHOLAS: Object to the            6      directly.
     7      form and the commentary. No need           7 BY MR. CLUFF:
     8      for that.                                  8      Q. Okay. All right. So it
     9          Go ahead.                              9 sounds like the investigations thing is
    10          THE WITNESS: I don't                  10 pretty well outside your area of
    11      recall.                                   11 expertise. Would you agree with that?
    12 BY MR. CLUFF:                                  12      A. At this time, yes.
    13      Q. Anytime in the last year?              13      Q. Okay. So you said that you
    14      A. My job is extremely busy.              14 typed up these investigations for six
    15 And it takes up all of my time. So I           15 months. Was that still in California?
    16 really don't pay attention to internal         16      A. Yes.
    17 thefts. If that comes up, it's                 17      Q. And that was at the Orange,
    18 transferred to a different team. My job        18 the City of Orange address, right?
    19 is to operate and run the diversion            19      A. Correct.
    20 program. I don't really get involved in        20      Q. Okay. And then you made a
    21 internal thefts at our distribution            21 comment earlier that while you were doing
    22 center level.                                  22 that, you got noticed by the executives.
    23      Q. So internal thefts are not             23 Did I get that right?
    24 investigated as part of the diversion          24      A. Yes.
                                            Page 55                                           Page 57
     1 program?                                       1       Q. Okay. Who would the
     2          MR. NICHOLAS: Object to the           2  executives have been and what did they
     3      form.                                      3 notice?
     4          THE WITNESS: Not by my                 4          MR. NICHOLAS: Object to the
     5      team.                                      5      form.
     6 BY MR. CLUFF:                                   6          THE WITNESS: They noticed
     7      Q. Whose team investigates                 7      that I broke -- that I was pretty
     8 them?                                           8      good at English, and I was able to
     9      A. It would be probably a joint            9      break down the -- the interview
    10 effort between the regulatory team and         10      interrogations into paragraphs. I
    11 the investigative team.                        11      was able to break -- break the
    12      Q. Okay. And who, who are                 12      grammar down properly in the
    13 responsible for those teams?                   13      interrogation report that I
    14      A. Steve Mays for regulatory              14      transcribed. So basically, they
    15 and Bruce Gundy for investigations.            15      just noticed the reports that I
    16      Q. So those two teams would be            16      was generating for them.
    17 investigating internal thefts, correct?        17 BY MR. CLUFF:
    18      A. That's correct.                        18      Q. And who would the executives
    19      Q. Okay. Is that part of                  19 have been?
    20 AmerisourceBergen's diversion control          20      A. Chris Zimmerman and the
    21 program?                                       21 investigators that I was conducting the
    22          MR. NICHOLAS: Object to the           22 transcriptions for.
    23      form.                                     23      Q. Who would the investigators
    24          THE WITNESS: I can't recall           24 have been?


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     1      A. John Bruce, John Gibson,                1 governmental subpoenas?
     2 Greg Madsen. There might have been more,        2      A. Yes.
     3 but that's the three that come to mind.         3      Q. Okay. What kind of
     4      Q. When you were doing these --            4 information requests would you be
     5 the transcriptions, were you still a            5 receiving?
     6 security officer?                               6      A. It varied. Across the board
     7      A. Yes.                                    7 mostly sales requests, request for sales
     8      Q. Who were you reporting to at            8 data from our customers. But it -- it
     9 that time?                                      9 was on various subject matters.
    10      A. Leo Schmock.                           10      Q. What kind of information
    11      Q. Can you spell that for me?             11 were you providing to state and federal
    12      A. Leo, L-E-O. Schmock,                   12 agencies?
    13 S-C-H-M-O-C-K, I believe.                      13      A. Sales reports and other --
    14      Q. That was between '96 and               14 other information, per the subpoena.
    15 roughly the middle of 1998, correct?           15 Like I said they pretty much -- the
    16      A. Yes.                                   16 subpoenas that we received, you know,
    17      Q. All right. And do you know             17 were on an array of subject matters.
    18 what Leo Schmock's position was?               18      Q. Okay. How long did you work
    19      A. I think it evolved, but when           19 in this department?
    20 I was hired I believe he was the manager       20      A. I worked there until the
    21 of security services.                          21 merger in 2001.
    22      Q. And after you got noticed by           22      Q. But your responsibilities in
    23 the executives, was there a change in          23 that department, would you agree with me,
    24 your job responsibilities?                     24 had no diversion control overlap at all,

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     1      A. Yes.                                    1   right?
     2      Q. What was the change?                    2          MR. NICHOLAS: Object to the
     3      A. I was moved upstairs. And I             3      form.
     4 was given the responsibility of taking          4          THE WITNESS: That's
     5 over subpoenas, information requests from       5      correct.
     6 state and federal agencies, as well as          6 BY MR. CLUFF:
     7 licensing.                                      7      Q. Okay. So you said there was
     8      Q. Subpoenas, information                  8 a merger in 2001?
     9 requests from state and federal agencies        9      A. Yes.
    10 and licensing. Okay.                           10      Q. Okay. And that was between
    11          And what department was that          11 Bergen Brunswick and who?
    12 that you were involved in then?                12      A. Amerisource Health.
    13      A. I don't remember exactly               13      Q. Was there any change in your
    14 what -- what our department was called         14 responsibilities at the time of the
    15 under Bergen.                                  15 merger?
    16      Q. Okay. And who were you                 16      A. Yes.
    17 reporting to at that time?                     17      Q. And what was that?
    18      A. I believe I was reporting              18      A. I was relocated from Orange,
    19 to -- directly to Chris Zimmerman.             19 California, to Chesterbrook,
    20      Q. And so you would be                    20 Pennsylvania, and I continued to conduct
    21 assisting the company in responding to         21 the licensing and information requests
    22 subpoenas?                                     22 for a period of time, but -- but shortly
    23      A. Correct.                               23 thereafter I took over the east region as
    24      Q. And were those civil and               24 a regulatory manager.


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     1       Q. Okay. Did you have a job              1  to manager of regulatory compliance.
     2 title when you were in the department          2  Either manager or supervisor. I can't
     3 that handled the subpoenas and other            3 remember what the exact title was.
     4 information requests?                           4       Q. Okay. So prior to the
     5       A. I did. I don't recall what             5 merger, you don't recall having a job
     6 it was though.                                  6 title. Or you just don't recall what it
     7       Q. Okay. And what years would             7 was.
     8 you have been working in that group, you        8       A. I had a title. I just don't
     9 said it was 1998 to 2001?                       9 recall what it was.
    10       A. Roughly.                              10       Q. Okay. And you were working
    11       Q. Okay. And that was -- that            11 in information requests essentially,
    12 was the job you held before the merger,        12 right?
    13 right?                                         13       A. And licensing was a big part
    14       A. Yes.                                  14 of my job as well.
    15       Q. Okay. Did you have any                15       Q. What do you mean by
    16 other job responsibilities during that         16 licensing?
    17 time?                                          17       A. So I -- I coordinated all
    18       A. We were asked to do --                18 licensing for each of our distribution
    19 conduct, you know, duties, you know, on        19 centers. So we had, I believe, 26
    20 various different -- on various subject        20 distribution centers on the Bergen side
    21 matters. But I think that's pretty much        21 and I handled that up to the merger. And
    22 what all my responsibilities entailed.         22 then post merger we picked up another 26
    23 That pretty much took all my time. I was       23 distribution centers, I believe, that
    24 busy. I was one person doing subpoena          24 Amerisource had, for a total of 52

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     1 information requests and handling              1  distribution centers. So I was
     2 licensing for all their distribution           2  responsible for bringing those divisions
     3 centers. That took up -- that took up           3 together, conducting name changes on the
     4 almost all my time.                             4 licensing, and a lot of other related
     5      Q. Okay. That's fine. And                  5 work, related to that merger.
     6 then you said after the merger you were         6          There was a lot of work that
     7 relocated from Orange County, California,       7 was involved when you merge two
     8 to Chesterbrook, Pennsylvania, right?           8 distribution centers from two different
     9      A. Yes.                                    9 companies. So I was involved with that
    10      Q. Okay. And you said you                 10 for probably the first six months to a
    11 continued to conduct the licensing and         11 year after the merger. And that was --
    12 information requests?                          12 that was the reason, because I was pretty
    13      A. For a period of time, yes.             13 much the licensing expert for our -- for
    14      Q. Okay. Do you remember if               14 our company, Bergen Brunswick, and so I
    15 the department you were working in at          15 coordinated all that.
    16 that time after the merger had a name?         16      Q. So it sounds like you -- you
    17      A. Yeah. Post merger we became            17 bled between two time periods there. I
    18 the corporate security regulatory affairs      18 just want to make sure I understand what
    19 department.                                    19 we were talking about.
    20      Q. And did you have a job title           20          So from '98 to 2001, when
    21 when you switched over to the new              21 the company was Bergen Brunswick, in
    22 company?                                       22 addition to the information requests that
    23      A. At that time, I think I                23 you handled, you also managed the
    24 stated before, I think they switched me        24 licensing for all 26 of Bergen


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     1 Brunswick's distribution centers, right?         1 occurred, there was a combination of
     2      A. That's correct.                          2 Bergen Brunswick's distribution centers
     3      Q. Okay. And what did that                  3 and Amerisource Health's distribution
     4 entail?                                          4 centers, correct?
     5      A. Renewing the -- the DEA                  5      A. Yes.
     6 registrations. I was responsible for             6      Q. Okay. And you were
     7 bringing Bergen Brunswick distribution           7 responsible for integrating the licensing
     8 centers into a batch renewal, which was a        8 of those two groups of distribution
     9 new project that the DEA rolled out in           9 centers?
    10 that time frame.                                10      A. That's correct.
    11          And also all the state                 11      Q. All right. And that was
    12 licenses that the distribution centers --       12 part of your responsibility as either the
    13 each distribution center held a number of       13 manager or supervisor of regulatory
    14 state licenses, maybe, you know, five to        14 compliance?
    15 ten state licenses that they distributed        15      A. No. I wasn't -- I don't
    16 into. So -- so basically, all licenses          16 think it was included in that -- in that
    17 that the distribution centers held,             17 job title. But I kept -- I kept that
    18 federal and state.                              18 previous responsibility for a period of
    19      Q. Okay. And in your job                   19 time, then it was subsequently
    20 responsibilities where you were handling        20 transferred to a member of the legal
    21 the information requests and the                21 department after -- after I took over my
    22 licensing of distribution centers, you          22 new role as -- I believe it was
    23 reported directly to Chris Zimmerman?           23 supervisor of regulatory compliance.
    24      A. I don't recall who I                    24      Q. Okay. So you handled the
                                             Page 67                                             Page 69
     1 reported to post merger, but at some             1 licensing until it moved to legal,
     2 point I transferred to Steve Mays.               2 correct?
     3      Q. I'm talking about                        3      A. Yes.
     4 pre-merger. I'm sorry.                           4      Q. Do you recall when that was?
     5      A. I'm sorry. Pre-merger I                  5      A. No. I think it was -- it
     6 believe I was reporting directly to Chris        6 was post -- obviously it was post 2001.
     7 Zimmerman for that entire period.                7 I think it took us about a year to
     8      Q. Understood. So in 2001 the               8 transfer the licenses to the new name.
     9 merger happened, correct?                        9      Q. Okay. So at the time of the
    10      A. Correct.                                10 merger I think you referenced that a new
    11      Q. And then Bergen Brunswick               11 department in ABC was created called the
    12 merged with Amerisource Health, right?          12 corporate security and regulatory affairs
    13      A. Correct.                                13 department, correct?
    14      Q. Do you know what the name of            14      A. That's correct.
    15 that entity was?                                15      Q. Did an entity similar to
    16      A. The post merger name?                   16 that exist at Bergen Brunswick prior to
    17      Q. Yeah.                                   17 the merger?
    18      A. That is when                            18      A. Yes.
    19 AmerisourceBergen Corporation was               19      Q. And what was that called?
    20 created.                                        20      A. Yeah, that was what I don't
    21      Q. Okay. So that is the                    21 recall.
    22 beginning of ABC then?                          22      Q. Got it. Do you know if an
    23      A. That's correct.                         23 entity like that existed at Amerisource
    24      Q. And when the merger                     24 Health prior to the merger?


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     1      A. Yes, it did.                            1       A. I don't recall the exact
     2      Q. Okay. Do you know what that             2  dates.
     3 was called?                                      3      Q. Can you give me a ballpark
     4      A. No, I don't recall that                  4 on how long you were that -- were in that
     5 either.                                          5 position?
     6      Q. But out of the merger came               6      A. Well, the regions changed
     7 the CSRA, correct?                               7 and shifted over time, and my title
     8      A. That's correct.                          8 shifted over time. But I basically held
     9      Q. All right. And you became a              9 that general responsibility from
    10 supervisor of compliance?                       10 approximately 2002 until 2015.
    11      A. I think it was the                      11      Q. Okay. Can you name any
    12 supervisor of regulatory compliance, yes.       12 states that were in the east region in
    13      Q. And what were your                      13 2001?
    14 responsibilities as a supervisor of             14      A. Pretty much as far northeast
    15 regulatory compliance?                          15 as you can go. Maine, Massachusetts,
    16      A. I was assigned the east                 16 Rhode Island, New York, Rhode Island, New
    17 region. So I basically was responsible          17 Jersey, Pennsylvania, certainly North
    18 for all regulatory and security                 18 Carolina.
    19 requirements for my distribution centers.       19      Q. How about Florida?
    20 And I also conducted audits of my               20      A. No, I don't believe that was
    21 distribution centers, as well as                21 included. That was part of the south
    22 distribution centers outside of my              22 region I believe.
    23 region.                                         23      Q. South region.
    24      Q. What -- what states were in             24          What about Ohio?
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     1 the east region if you can recall?              1       A. I don't recall.
     2      A. The breakdown of each region            2       Q. How many regions were there
     3 has shifted over the -- over that period         3 at the time?
     4 of time. So I don't recall what the              4      A. That also shifted over time.
     5 region consisted of when I was initially         5      Q. How about in 2001? How many
     6 assigned it.                                     6 regions were there?
     7      Q. What was involved in being               7      A. I don't recall.
     8 responsible for regulatory requirements          8      Q. Okay. How many regions are
     9 for your distribution centers?                   9 there today?
    10      A. Basically all of security               10      A. Again, it's outside of my
    11 requirements. We also conducted OSHA            11 area. I believe there's four regions.
    12 audits. So it really entailed everything        12 But I could be -- I could be mistaken.
    13 the DEA would do if they came into our          13 Again, it's not really something that I
    14 distribution center and conducted an            14 focus on in my current responsibilities.
    15 audit. And so we would basically oversee        15      Q. Were there ever more than
    16 all of the state and federal requirements       16 four regions?
    17 from a regulatory and security                  17      A. I believe there was five at
    18 standpoint. And we would conduct an             18 one time.
    19 audit and we would just do internal             19      Q. So at some point there may
    20 audits and -- and we would correct any          20 have been five. Now there are four?
    21 deficiencies that we identified.                21      A. I'm not sure about that.
    22      Q. What time period were you               22 But I think that may be accurate.
    23 employed as the regulatory compliance           23      Q. Okay. Do you know who was
    24 supervisor?                                     24 responsible for the south region in 2001?


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     1      A. No.                                   1  regulatory standpoint and audited for
     2      Q. Do you know who would know            2  that.
     3 that information?                              3       Q. So that -- does that mean
     4          MR. NICHOLAS: Object to the           4 that you were essentially responsible for
     5      form.                                     5 the cages and the vaults?
     6          Go ahead.                             6       A. We had on-site management
     7          THE WITNESS: I'm sure it's            7 that were responsible for day-to-day
     8      in our files. I'm sure that --            8 functionality. But I would go in
     9      I'm sure we could find it in our          9 periodically and audit, you know, for the
    10      documentation. Steve Mays would          10 federal requirements and the state
    11      know I think.                            11 requirements for their day-to-day
    12 BY MR. CLUFF:                                 12 operations.
    13      Q. Do you know if Steve Mays             13       Q. Which kind of requirements
    14 was responsible for the Florida -- for        14 for day-to-day operations were you
    15 the south region in 2001?                     15 auditing?
    16      A. No. When I took over the              16       A. Ensuring the inventories
    17 east region, he was the director that I       17 were conducted properly. We keep
    18 reported to. So he wouldn't have been         18 perpetual inventories for our controlled
    19 directly responsible for the south            19 substances to ensure that there's no
    20 region.                                       20 daily or internal theft. Again, we did
    21      Q. Do you know how many                  21 OSHA audits. We would ensure that proper
    22 distribution centers there were in the        22 training was conducted. We could ensure
    23 east region when you took over                23 that the procedures were being followed
    24 responsibility for it?                        24 with regards to shipment and receiving of

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     1      A. No, I don't recall that.              1  controlled substances and prescription
     2      Q. Do you remember the names of          2  drugs, and similar requirements that we
     3 any of the distribution centers that you       3 maintained.
     4 were responsible for?                          4      Q. What do you mean by ensuring
     5      A. I know some of them.                   5 that the procedures were being followed
     6      Q. Which ones?                            6 with regard to shipments and receiving
     7      A. Thorofare, New Jersey;                 7 controlled substances and prescription
     8 Mansfield, Massachusetts; Bethlehem came       8 drugs?
     9 on after I took over that region. It's         9      A. Well, our distribution
    10 changed -- it shifted so many times in        10 centers have a lot of internal
    11 that -- in that multiple-year period. I       11 requirements with regard to shipment of
    12 just don't recall.                            12 controlled substances.
    13      Q. I want to go back to your
    14 job responsibilities. You said you were
    15 in charge of regulatory and security and
    16 then audits. Did I get that right, as
    17 the supervisor of regulatory compliance?
    18      A. Yes.
    19      Q. Okay. So what did it mean
    20 to be in charge of regulatory compliance
    21 for the distribution centers?
    22      A. Well, as I stated, we
    23 oversaw all state and federal
    24 requirements from a security and


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                                                        1 they're properly completed. Receiving of
                                                        2 narcotics, we have to make sure that
                                                        3 those -- those forms are completed
                                                        4 properly.
                                                        5          Customer returns, we have to
                                                        6 look at the product and make sure that
                                                        7 the product, you know, wasn't opened.
                                                        8          There was a lot of OSHA
                                                        9 requirements that we followed from a
                                                       10 security -- safety standpoint.
                                                       11          There's a lot of -- there's
                                                       12 a lot of state requirements that we have
                                                       13 to follow for prescription drugs as well
                                                       14 since that is not on a federal
                                                       15 jurisdiction. That's more state
    16      Q. Sounds like those are about             16 jurisdiction.
    17 the security of the product, though,            17          So there's a whole array of
    18 correct?                                        18 state-specific regulations that we also
    19      A. Yes.                                    19 have to follow with regard to
    20      Q. Okay. So what you were                  20 prescription drugs. So we have a very
    21 auditing as the supervisor of the               21 long audit checklist that we follow at
    22 regulatory compliance -- as a supervisor        22 that level.
    23 of the regulatory compliance was really         23          So it takes about a full
    24 just about, is the distribution center          24 week to conduct those audits. There's a

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     1 following the security regulations for           1 lot of requirements that we have to
     2 controlled substances in the distribution        2 follow.
     3 center, correct?                                 3      Q. So you talked about a number
     4          MR. NICHOLAS: Object to the             4 of different regulatory requirements. Is
     5      form.                                       5 that all of the regulatory requirements
     6          THE WITNESS: Not just                   6 that you were overseeing as a supervisor
     7      security. Regulatory as well. I             7 at that point in time?
     8      mean, most of our distribution              8           MR. NICHOLAS: Object to the
     9      centers back then were using paper          9      form.
    10      222 forms for shipment and                 10           THE WITNESS: Yeah, during
    11      receiving of narcotics.                    11      that period of time, we audited to
    12          So there's a whole array of            12      ensure the distribution centers
    13      federal requirements on a                  13      were following all state and
    14      regulatory standpoint that we had          14      federal regulations.
    15      to ensure that the distribution            15 BY MR. CLUFF:
    16      centers were following as well.            16      Q. Okay. At that -- you said
    17          Not all of that specifically           17 during that period of time. So when you
    18      covers security. There's a lot of          18 say that period of time, you mean from
    19      regulatory requirements that we're         19 approximately 2001 until when?
    20      required to follow as a                    20      A. Until I was transferred to
    21      wholesaler.                                21 diversion in 2015.
    22 BY MR. CLUFF:                                   22      Q. So in 2015 is the first time
    23      Q. Like what?                              23 that you start doing any diversion work?
    24      A. 222 forms, making sure that             24           MR. NICHOLAS: Object to the
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     1      form.                                      1      Q. Mr. Cherveny, you understand
     2           THE WITNESS: Yes.                     2 that you're still under oath, right?
     3 BY MR. CLUFF:                                   3      A. Yes.
     4      Q. Okay. So at the                         4      Q. Okay. Great.
     5 distribution centers, when you were the         5          When we broke last time, we
     6 supervisor, your only focus is the              6 were talking about your responsibilities
     7 regulatory requirements that you've             7 as the supervisor of regulatory
     8 described to me so far?                         8 compliance at the newly formed ABC
     9      A. Well, I --                              9 entity, correct?
    10           MR. NICHOLAS: Object to the          10      A. Yes.
    11      form.                                     11      Q. Okay. You said that you
    12           THE WITNESS: I didn't                12 held that position from approximately
    13      describe all the requirements. I          13 2001-2002 to 2015?
    14      gave you an overview of a lot of          14      A. Correct.
    15      requirements. But I said there            15      Q. Okay. And when you first
    16      was a lot of other related                16 stepped into that role, you were
    17      responsibilities that we audited          17 responsible for the east region, correct?
    18      for.                                      18      A. Correct.
    19 BY MR. CLUFF:                                  19      Q. Okay. And did your
    20      Q. Okay. Are there any other              20 responsibilities ever increase as a
    21 regulatory requirements that are more          21 supervisor of regulatory compliance at
    22 important than the ones you've described       22 any time between 2002 and 2015?
    23 to me?                                         23      A. No.
    24           MR. NICHOLAS: Object to the          24      Q. So you essentially held the
                                            Page 83                                             Page 85
     1     form.                                       1 same job for 13 years?
     2         THE WITNESS: I wouldn't                 2      A. Correct.
     3     put -- I wouldn't categorize                3      Q. And during that entire time,
     4     regulatory requirements as                  4 you were responsible for a region of
     5     important and non-important.                5 AmerisourceBergen's distribution centers?
     6     They're all important.                      6      A. Correct.
     7 BY MR. CLUFF:                                   7      Q. And those responsibilities
     8     Q. Are there any additional                 8 covered all things related to regulatory
     9 regulatory requirements that stand out to       9 compliance and security compliance and
    10 you that you haven't described to me yet?      10 audits?
    11     A. There could be. None that               11           MR. NICHOLAS: Is that -- is
    12 come to mind right now.                        12      it a question?
    13         MR. CLUFF: Why don't we                13 BY MR. CLUFF:
    14     take a quick break. We've been             14      Q. Did I get that right?
    15     going about an hour. We can all            15      A. Well, we would audit
    16     stretch our legs and we'll come            16 according to the audit checklist. But,
    17     back and pick up again, like five,         17 yes, it entailed security and regulatory
    18     10 minutes.                                18 compliance.
    19         THE VIDEOGRAPHER: Going off            19      Q. So you were responsible for
    20     the record. 10:49 a.m.                     20 regulatory and security compliance. And
    21         (Short break.)                         21 then as part of that responsibility, you
    22         THE VIDEOGRAPHER: Back on              22 would audit the distribution centers,
    23     record at 11:15 a.m.                       23 correct?
    24 BY MR. CLUFF:                                  24      A. Correct.
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     1      Q. Okay. So as the person who               1     that the -- it's the title that
     2 was overseeing the regulatory and                2     the regulations that we follow are
     3 security compliance, you had to have, I'm        3     basically under.
     4 assuming, a very thorough understanding          4 BY MR. CLUFF:
     5 of the regulatory requirements for the           5     Q. Is the Controlled Substance
     6 distribution centers, correct?                   6 Act part of Title 21?
     7          MR. NICHOLAS: Object to the             7     A. I'm not sure.
     8      form.                                       8     Q. Are you familiar with the
     9          THE WITNESS: Yes, I had an              9 term "Code of Federal Regulations"?
    10      understanding of the regulations.          10     A. Yes.
    11 BY MR. CLUFF:                                   11     Q. What's your understanding of
    12      Q. And where do those                      12 the Code of Federal Regulations?
    13 regulations come from?                          13         MR. NICHOLAS: Object to the
    14          MR. NICHOLAS: Object to the            14     form.
    15      form.                                      15         THE WITNESS: The Code of
    16          THE WITNESS: Depending on              16     Federal Regulations is what the
    17      the jurisdiction, state and                17     DEA utilizes to -- to outline what
    18      federal.                                   18     we're required to do from a
    19 BY MR. CLUFF:                                   19     federal regulatory standpoint.
    20      Q. Okay. And for the federal               20 BY MR. CLUFF:
    21 jurisdiction, what is the -- is there a         21     Q. Have you ever heard of the
    22 governing statute?                              22 Controlled Substances Act?
    23          MR. NICHOLAS: Object to the            23     A. Yes.
    24      form.                                      24     Q. Where have you heard of it?
                                             Page 87                                            Page 89
     1           THE WITNESS: There are a               1     A.    I don't recall.
     2      lot of regulations that -- that             2     Q.    You don't recall.
     3      apply to what we do as a                    3          You understand that
     4      wholesaler.                                 4 AmerisourceBergen sells controlled
     5 BY MR. CLUFF:                                    5 substances, right?
     6      Q. Okay. Is there a governing               6     A. Yes.
     7 statute?                                         7     Q. And you don't recall when
     8      A. I'm not sure what you mean               8 you've heard the term "Controlled
     9 by governing statute.                            9 Substances Act" before?
    10      Q. Okay. Is there a statute at             10     A. I don't recall the initial
    11 the federal level that creates the              11 time that I heard that.
    12 regulatory requirements you're referring        12     Q. Is it something that you're
    13 to?                                             13 familiar with in your work though?
    14           MR. NICHOLAS: Object to the           14     A. More of its existence, yes.
    15      form.                                      15     Q. So from 2002 to 2015, you
    16           THE WITNESS: I know there             16 described the regulatory and security
    17      was Title 21 that the regulations          17 compliance responsibilities as
    18      are contained in.                          18 essentially making sure that the
    19 BY MR. CLUFF:                                   19 regulations regarding vault security and
    20      Q. What's Title 21?                        20 cage security were being followed,
    21           MR. NICHOLAS: Object to the           21 correct?
    22      form. No lawyer. Go ahead.                 22          MR. NICHOLAS: Object to the
    23           THE WITNESS: It's the --              23     form.
    24      it's the regulation that the --            24          THE WITNESS: Correct.
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     1 BY MR. CLUFF:                                    1 responsibilities. I'm just trying to
     2      Q. Okay. You also mentioned                 2 make sure I understand what you've
     3 Form 222; is that right?                         3 explained to me as being the scope of
     4      A. Yes.                                     4 your duties. Does that make sense?
     5      Q. Okay. What's a Form 222?                 5      A. Yes.
     6      A. It's a narcotic order form.              6      Q. Okay. So again, we talked
     7      Q. And what was your regulatory             7 about the vault and cage security,
     8 compliance responsibility regarding order        8 Form 222, and now I'm asking about
     9 forms?                                           9 physical security at the distribution
    10          MR. NICHOLAS: Object to the            10 centers. That was another area of your
    11      form. Go ahead.                            11 responsibility?
    12          THE WITNESS: We would -- we            12      A. Yeah, to audit for that.
    13      would review a number of 222 forms         13      Q. To audit for that.
    14      as part of the audit.                      14      A. Yes.
    15 BY MR. CLUFF:                                   15      Q. So you were not in charge of
    16      Q. So you weren't doing                    16 security. You just audited security?
    17 anything with them on a daily basis. You        17      A. Well, I audited the
    18 interacted with them while you were             18 distribution centers. The compliance
    19 auditing distribution centers?                  19 manager reported to me and they were
    20      A. I'm not sure what you mean              20 responsible for it, for the distribution
    21 by interacted with them.                        21 centers within my region.
    22      Q. Did you ever fill out a                 22      Q. And I also recall that --
    23 Form 222?                                       23 that you were responsible for auditing
    24      A. Never.                                  24 receipts of shipments and shipments that

                                             Page 91                                            Page 93
     1      Q. Except for when you were                 1 went out to customers, right?
     2 conducting an audit, were you ever               2      A. That procedures were
     3 required to review Form 222s?                    3 followed regarding those operations, yes.
     4      A. Yes, we reviewed Form 222                4      Q. What procedures were you
     5 forms.                                           5 auditing?
     6      Q. As a part of audits or as                6      A. There's various procedures.
     7 part of your regular responsibilities?           7      Q. Can you describe some to me?
     8      A. As part of the audit.                    8      A. As I stated before, receipts
     9      Q. Okay. Aside from vault and               9 of controlled substances have to be
    10 cage security, and Form 222s, I think you       10 identified upon receipt. They have to be
    11 also mentioned just like physical               11 verified and they have to be maintained
    12 security of -- physical security of the         12 under constant supervision. There's
    13 distribution centers. Did I get -- is           13 multiple requirements we had internally
    14 that correct?                                   14 that I don't have in front of me. So
    15          MR. NICHOLAS: Object to the            15 that's just the basic requirements that
    16      form.                                      16 they have.
    17          Are you talking about                  17      Q. You were the guy that was
    18      throughout his entire testimony or         18 responsible for auditing these practices,
    19      just --                                    19 right?
    20 BY MR. CLUFF:                                   20          MR. NICHOLAS: Object to the
    21      Q. From 2002 to 2015 when you              21      form. Go ahead.
    22 were the supervisor of regulatory               22          THE WITNESS: Yes.
    23 compliance, I'm just trying to understand       23 BY MR. CLUFF:
    24 the scope of your regulatory compliance         24      Q. So I'm just trying to
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     1 understand what you know about the              1       Q. So you worked with that
     2 procedures that you were auditing. Does         2  policy for 13 years?
     3 that make sense?                                 3      A. Yes, I did.
     4          MR. NICHOLAS: Object to the             4      Q. And you can't recall it?
     5      form.                                       5          MR. NICHOLAS: Object to the
     6          THE WITNESS: Yes.                       6      form.
     7 BY MR. CLUFF:                                    7 BY MR. CLUFF:
     8      Q. Okay. So you said shipments              8      Q. You can answer my question.
     9 and receipts. So you audited the                 9      A. I recall it in a general
    10 procedures to make sure they were being         10 sense, but without having that in front
    11 followed, correct?                              11 of me, those policies evolve over time.
    12      A. Yes.                                    12 So I wouldn't feel comfortable, you know,
    13      Q. Okay. And then I believe                13 discussing that as it might not be the
    14 another area that you talked about              14 same as it was when I was doing it. Plus
    15 auditing was order filling; is that             15 it was years ago.
    16 correct?                                        16      Q. It was three years ago,
    17      A. Well, order filling was,                17 correct?
    18 yeah, the -- the process of -- of filling       18      A. Yes.
    19 an order that's going to be shipped. So         19      Q. I'm entitled to understand
    20 we had limited responsibility. That was         20 your general sense of it that you just
    21 mostly operations. But there were some          21 testified to having. So please explain
    22 things that tied to regulatory.                 22 to me your general sense of that policy
    23      Q. Okay. So you would have                 23 and procedure.
    24 audited the regulatory compliance of the        24      A. With regards to what
                                             Page 95                                           Page 97
     1 order-filling process, essentially making       1  specific operation?
     2 sure that the pills that were on the            2       Q. The filling of orders out of
     3 shelves in the vaults or the -- the              3 the cages and vaults.
     4 cages, got onto the order pallet                 4      A. So the -- the cage and the
     5 correctly and got to the customer, right?        5 vault has order fillers that -- that --
     6      A. Yeah, in accordance with our             6 whose responsibility is that they -- that
     7 internal policy.                                 7 they take the product, they put them in
     8      Q. Okay. What internal policy               8 the totes according to customer orders.
     9 was that?                                        9 And depending on if it's cage or vault,
    10      A. Policies and procedures with            10 they will -- they'll fill the order.
    11 regard to regulatory compliance.                11 There's, in some cases, a double-check to
    12      Q. Can you describe what the               12 make sure that the order is accurate.
    13 policy or procedure was around filling an       13 And then at some point those orders get
    14 order out of the cages or vaults?               14 strapped and transferred to the shipping
    15      A. It was so long ago, I                   15 dock for shipment. There's a lot of
    16 wouldn't feel comfortable talking about         16 internal components to that.
    17 the regulation without it being in front        17      Q. Sure. So as the supervisor
    18 of me.                                          18 of regulatory compliance, your job was to
    19      Q. Would you --                            19 make sure that the distribution center
    20      A. Or the policy rather.                   20 employees were going through that process
    21      Q. You were in charge of                   21 correctly, right?
    22 auditing that policy between 2002 and           22      A. Correct.
    23 2015, correct?                                  23      Q. Okay. So I've got this list
    24      A. Yes.                                    24 down. You let me know if there's


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     1 anything else you want to add to it.             1 BY MR. CLUFF:
     2          As the supervisor of                    2      Q. So all 200 questions on that
     3 regulatory compliance, your                      3 form are significant?
     4 responsibility was to essentially ensure         4          MR. NICHOLAS: Object to the
     5 that the distribution centers were               5      form.
     6 following all of the regulations, the            6          THE WITNESS: Yeah, I would
     7 regulatory regulations that govern the           7      agree with that.
     8 distribution of controlled substances,           8 BY MR. CLUFF:
     9 right?                                           9      Q. But you can't recall what
    10          MR. NICHOLAS: I'm going to             10 they are today?
    11      object to the form. Are you                11      A. Well, there's return
    12      reading him a list or what?                12 procedures, there's PDMA requirements,
    13          MR. CLUFF: I'm asking him a            13 there's physical security. There's a
    14      question, Bob.                             14 number of sections that we audited for.
    15          MR. NICHOLAS: Right.                   15      Q. Physical security is one we
    16          Object to the form. Go                 16 talked about already though, correct?
    17      ahead.                                     17 Okay.
    18          THE WITNESS: I mean, we --             18          What other internal
    19      we followed our internal policies          19 procedures were you auditing?
    20      and procedures and we had an audit         20      A. Other than what I've
    21      checklist that was, I think,               21 covered?
    22      spanned over 200 questions and             22      Q. Yeah.
    23      multiple sections. So what I've            23      A. There were like -- there was
    24      covered here is just a general             24 multiple sections that we covered.

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     1      overview. But, you know, without            1      Q. What were some of the
     2      having that audit checklist in              2 sections?
     3      front of me, I mean I can't really          3      A. Other than what I've
     4      determine that there's -- you               4 covered?
     5      know, I haven't covered every               5      Q. Yes.
     6      single component to the program.            6      A. Well, diversion is one
     7 BY MR. CLUFF:                                    7 section.
     8      Q. But some of the ones that                8      Q. What's diversion?
     9 you've highlighted are vault and cage            9      A. What do you mean by that
    10 security, correct, correct order forms,         10 question, what's diversion? You want a
    11 physical security, shipping and receiving       11 definition?
    12 controlled substances, and order filling.       12      Q. I've been talking to you
    13          Were there any other areas             13 about the audit that you performed on
    14 of that audit checklist that you felt           14 distribution centers in your role as the
    15 were significant in your role as a              15 supervisor of the regulatory compliance
    16 supervisor in relation to                       16 department, or supervisor of regulatory
    17 AmerisourceBergen distributing controlled       17 compliance.
    18 substances?                                     18          And we've gone through a
    19          MR. NICHOLAS: Object to the            19 number of responsibilities that the
    20      form.                                      20 distribution centers had that you were
    21          THE WITNESS: Yeah, there               21 auditing. And we've gone through a list.
    22      were a lot of other components.            22 And I asked you if there were any others.
    23      They were all -- they are all              23 You then told me that diversion was one.
    24      significant.                               24          So it's the first time that
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     1 I heard that word referred to in your job        1      A. Like me, his region shifted,
     2 responsibilities today. I'm asking you,          2 I think, over the period of the time that
     3 what is diversion?                               3 we held that job. Generally over the
     4          MR. NICHOLAS: I'll object               4 west region, I believe.
     5      to the form of the question.                5      Q. West region?
     6          MR. CLUFF: Do not coach                 6      A. I think for a large part of
     7      this witness.                               7 the time.
     8          MR. NICHOLAS: All I'm going             8      Q. Was he ever responsible for
     9      to do is object to the form of the          9 the region that included Florida?
    10      question.                                  10      A. I don't believe so.
    11          Long speech before the                 11      Q. What about Cathy Marcum?
    12      question.                                  12 What regions was she responsible for?
    13          Go ahead.                              13      A. I don't recall over that
    14          THE WITNESS: So you're                 14 period of time. They shifted.
    15      asking me what diversion is?               15      Q. Is Cathy Marcum still
    16 BY MR. CLUFF:                                   16 responsible for a region at
    17      Q. Yeah.                                   17 AmerisourceBergen?
    18      A. Diversion is the transfer of            18      A. She works for Steve Mays.
    19 controlled substances into illegal              19 I'm not sure what her specific
    20 channels.                                       20 responsibilities are at this time.
    21      Q. Okay. So you were                       21      Q. What about Erica Burwell?
    22 responsible for auditing diversion at the       22 Do you know what region she was
    23 distribution centers?                           23 responsible for?
    24      A. We --                                   24      A. Again, it shifted over a
                                            Page 103                                             Page 105
     1          MR. NICHOLAS: Object to the             1 period of years.
     2      form.                                       2      Q. Can you tell me which
     3          Go ahead.                               3 regions?
     4          THE WITNESS: We completed               4      A. I believe she was
     5      the audit checklist that covered            5 responsible for the south region at one
     6      diversion. That's correct.                  6 time.
     7 BY MR. CLUFF:                                    7      Q. So she would have been
     8      Q. Who's "we"?                              8 responsible for Florida?
     9      A. The auditors.                            9      A. At one time, yeah.
    10      Q. Okay. Who were the                      10      Q. Okay. Do you know when Ms.
    11 auditors?                                       11 Burwell began working for
    12      A. They varied over the time               12 AmerisourceBergen?
    13 that I held that job.                           13      A. No, I don't recall that.
    14      Q. What are some of their                  14      Q. Is she still employed at
    15 names?                                          15 AmerisourceBergen?
    16      A. Greg Madsen, Cathy Marcum.              16      A. No.
    17 Today or during the time that I held the        17      Q. Do you know when she left
    18 job?                                            18 the company?
    19      Q. During the time that you                19      A. No, I don't recall.
    20 held the job.                                   20      Q. Do you know if anyone else
    21      A. Erica Burwell. That was it.             21 has been responsible for the south region
    22 There was four of us.                           22 in the time that you've been employed by
    23      Q. What area was Greg Madsen               23 AmerisourceBergen from 2002 to the
    24 responsible for?                                24 present?


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     1      A. I'm not really sure who is               1 training.
     2 responsible for it now. Like I said, it          2      Q. What were you looking at
     3 shifted.                                         3 about training?
     4      Q. Do you know if anybody                   4      A. Just ensure that it was
     5 besides Erica Burwell were responsible           5 completed per policy.
     6 for it during the time that you were a           6      Q. So based on that question,
     7 supervisor?                                      7 there was an AmerisourceBergen policy
     8      A. Over the roughly 13 years                8 about training distribution center
     9 that I held that job, I don't recall             9 associates about diversion?
    10 anybody else who had the south region           10          MR. NICHOLAS: Object to the
    11 other than Erica Burwell. It could have         11      form.
    12 been some other people that took over           12          Go ahead.
    13 Orlando, but I don't recall.                    13          THE WITNESS: Yes, I believe
    14      Q. So we got to those names                14      there was.
    15 because you mentioned that "we," the            15 BY MR. CLUFF:
    16 regional supervisors, audited diversion         16      Q. And you would have been
    17 at the distribution centers.                    17 responsible for auditing the training
    18          What were they looking at              18 processes for approximately 13 years,
    19 when they audited the distribution              19 correct?
    20 centers about diversion?                        20      A. Yes.
    21      A. There were questions on the             21      Q. Do you recall, based on your
    22 audit checklist that covered that               22 13 years of experience auditing training,
    23 component of the program.                       23 what the training policy was?
    24      Q. Do you remember what some of            24      A. Well, there was different
                                            Page 107                                           Page 109
     1 the questions were?                              1 training for different personnel. So we
     2      A. I think there was a daily                2 would ensure that the appropriate
     3 activity report that the compliance              3 training was conducted in the time period
     4 manager had to complete and sign.                4 that it was required for the correct
     5      Q. So you would have been                   5 associates.
     6 looking at those reports?                        6      Q. Were there different time
     7      A. Yes, as the auditor.                     7 periods for different associates?
     8      Q. Just to double-check that                8      A. I don't recall. I believe
     9 they were being filled out?                      9 it was an annual requirement.
    10      A. Yeah, and they were filled              10      Q. So generally distribution
    11 out properly.                                   11 center associates were required to be
    12      Q. Okay. So making sure they               12 trained annually, right?
    13 were complete?                                  13      A. I believe so.
    14      A. Yes.                                    14          (Brief interruption.)
    15      Q. And that they had, what,                15          MR. CLUFF: Off the record
    16 accurate information?                           16      for a second.
    17      A. Yes. We would -- we would               17          THE VIDEOGRAPHER: Going off
    18 audit them to make sure that they were          18      the record, 11:36 a.m.
    19 completed per policy.                           19          (Brief pause.)
    20      Q. What are some of the other              20          THE VIDEOGRAPHER: Back on
    21 things that you were looking at in terms        21      record, 11:36 a.m.
    22 of diversion at the distribution centers        22 BY MR. CLUFF:
    23 while you were conducting audits?               23      Q. I want to go back to the
    24      A. Another component was                   24 other regional supervisors who were in


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     1 charge of auditing. You said that you          1  2015. So we can use your dates for your
     2 believed that Erica Burwell was                2  job responsibilities, and I would ask you
     3 responsible for the Florida -- the south        3 during that time, was there any reason
     4 region until some other people took over.       4 that the south region stood out to you
     5 Do you know who would have taken over?          5 from a -- from an audit standpoint?
     6      A. I don't recall. I believe               6      A. No. From an audit
     7 Erica was in charge of that region for --       7 standpoint I can't really think of
     8 for the majority of the time, if not all        8 anything that would have impacted me as
     9 of the time.                                    9 an auditor.
    10      Q. Is there any reason that the           10      Q. Is there anything that would
    11 south region stands out to you as              11 have impacted AmerisourceBergen from your
    12 somebody taking over?                          12 standpoint as an auditor in the south
    13      A. No. It would just be a                 13 region between 2002 and 2015?
    14 normal shift in the -- in the regional         14          MR. NICHOLAS: Object to the
    15 break down. Obviously when she left the        15      form.
    16 company somebody else took over that           16          THE WITNESS: I can't speak
    17 region.                                        17      to what the corporation would
    18      Q. Do you recall who that is?             18      have -- would have thought
    19      A. I don't recall.                        19      regarding -- regarding audit
    20      Q. Is there any reason that the           20      standpoint.
    21 south region would stand out to you            21 BY MR. CLUFF:
    22 compared to any other region?                  22      Q. Okay. I don't think that's
    23      A. Not from an audit                      23 the question that I asked. You had
    24 standpoint, no.                                24 experience as an auditor looking at a

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     1      Q. There were no significant              1  number of different aspects of the
     2 events in the south region from an             2  distribution center business, correct?
     3 auditing standpoint that would concern          3       A. Correct.
     4 you?                                            4       Q. One of them was diversion,
     5          MR. NICHOLAS: Object to the            5 right?
     6      form.                                      6       A. Yes.
     7          Could you put a time period            7       Q. Okay. You also have a long
     8      on this?                                   8 history with AmerisourceBergen regarding
     9 BY MR. CLUFF:                                   9 licensing of the distribution centers,
    10      Q. You can answer my question.            10 correct?
    11      A. Yeah, I would ask you to               11       A. Yes.
    12 rephrase the question with a little more       12       Q. Would you agree with me that
    13 detail.                                        13 you are very fluent in the licensing
    14      Q. We talked earlier about the            14 requirements for a distribution center?
    15 fact that you're not entitled to change        15       A. Yes, I would agree with
    16 your answer based on objections that your      16 that.
    17 attorney makes unless you're specifically      17       Q. And based on your auditing
    18 instructed not to answer my question.          18 of regulatory compliance at the
    19          I'm going to put a time               19 distribution centers, would you also
    20 frame on this question, but I think you        20 agree with me that you're very familiar
    21 understand that I'm talking about your         21 with the regulatory requirements the
    22 time as supervisor of regional                 22 distribution centers have?
    23 compliance -- of regulatory compliance.        23       A. Yes. I am very familiar
    24 You told me that was between 2002 and          24 with that.


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     1      Q. Are you aware of any events            1       Q. Have there ever been any
     2 in the south region from a licensing or        2  actions against registrations of
     3 regulatory compliance point of view that        3 distribution centers in the regions that
     4 would concern you?                              4 you were responsible for between 2002 and
     5           MR. NICHOLAS: Object to the           5 2015?
     6      form.                                      6      A. Yeah. Various actions were
     7           THE WITNESS: Yes. Events              7 taken on my distribution centers through
     8      did occur that impacted the south          8 that period.
     9      region.                                    9      Q. Okay. What actions were
    10 BY MR. CLUFF:                                  10 taken against your distribution centers?
    11      Q. What events?                           11      A. Over a 13-year period?
    12      A. I recall that in 2007 the              12      Q. Yes, please.
    13 Orlando distribution center had their DEA      13      A. We had multiple DEA audits
    14 license suspended.                             14 during -- during that period of time,
    15      Q. So previously I asked you if           15 multiple state audits during that time.
    16 there was anything that happened in that       16 I couldn't give you specifics on actions
    17 region that concerned you from an              17 that were taken in all distribution
    18 auditing standpoint. And you said no.          18 centers that spans such a long period of
    19      A. That's correct.                        19 time. I don't recall.
    20      Q. So is your answer that the             20      Q. Were there ever any
    21 suspension of a distribution center's          21 suspensions of a distribution center's
    22 license doesn't concern you?                   22 license in your regions?
    23           MR. NICHOLAS: Objection.             23      A. Not that I recall.
    24      It's just arguing.                        24      Q. Were there any
                                           Page 115                                          Page 117
     1         MR. CLUFF: It's a question,            1  investigations of diversion at any of the
     2    Bob.                                        2  distribution centers within your regions
     3         MR. NICHOLAS: Go ahead.                 3 between 2002 and 2015?
     4    It's just arguing. Stalling.                 4           MR. NICHOLAS: Object to the
     5         MR. CLUFF: Bob, I'm allowed             5      form.
     6    to ask argumentive questions.                6           THE WITNESS: Yes.
     7    It's a deposition. Don't coach               7 BY MR. CLUFF:
     8    this witness.                                8      Q. What were some of those?
     9         MR. NICHOLAS: I'm not --                9      A. I can't speak to them in
    10    that's not coaching. I just said            10 detail. Diversion, internal thefts,
    11    you're arguing. Period.                     11 in-route thefts were investigations that
    12    Objection.                                  12 we routinely conducted through that
    13         Go ahead.                              13 period.
    14         THE WITNESS: I don't think             14      Q. So would you agree with me
    15    that the -- that the action taken           15 that if a theft occurs inside of
    16    against that distribution center            16 AmerisourceBergen, that would constitute
    17    affected my -- from an audit                17 diversion?
    18    standpoint. So that's the                   18      A. Yes, that would qualify as
    19    question that I was answering.              19 diversion.
    20         My audits -- my audits were            20      Q. So AmerisourceBergen was
    21    conducted regardless of what                21 essentially investigating diversion
    22    action is taken on a distribution           22 within its own company while you were
    23    center.                                     23 working as a regional supervisor from
    24 BY MR. CLUFF:                                  24 2002 to 2015?


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     1           MR. NICHOLAS: Object to the            1 BY MR. CLUFF:
     2      form.                                       2     Q. You said that "per the
     3           THE WITNESS: Yes. Internal             3 regulation we're required to monitor
     4      theft was a common occurrence that          4 customer orders and identify suspicious
     5      we investigated for.                        5 orders."
     6 BY MR. CLUFF:                                    6          And then you said "there's
     7      Q. What happened to those pills             7 no way for a wholesaler to specifically
     8 that were stolen?                                8 prevent diversion."
     9           MR. NICHOLAS: Object to the            9          Did I get your testimony
    10      form. Go ahead.                            10 correctly?
    11           THE WITNESS: In many cases            11          MR. NICHOLAS: Object to the
    12      they were recovered. If they               12     form.
    13      weren't recovered, there's no way          13          THE WITNESS: I mean
    14      for us to know what -- what                14     diversion, there's just not enough
    15      happened to them.                          15     information that we have. But I
    16 BY MR. CLUFF:                                   16     would say that the overall goal of
    17      Q. Do you think they ended up              17     our program is to prevent
    18 in the illegal market?                          18     diversion. But specifically we --
    19           MR. NICHOLAS: Object to the           19     we monitor for suspicious orders
    20      form.                                      20     and that's the limit of what we do
    21           THE WITNESS: There's no way           21     within my program.
    22      for me to speculate what -- what           22 BY MR. CLUFF:
    23      happened to those products that            23     Q. You said you're familiar
    24      were stolen.                               24 with the Controlled Substance Act, right?

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     1 BY MR. CLUFF:                                    1      A. I'm familiar with its
     2     Q. What do people usually do                 2 existence, yeah.
     3 with products that they steal?                   3      Q. Have you ever read it?
     4         MR. NICHOLAS: Object to the              4      A. I'm sure at one point I've
     5     form of the question.                        5 read it.
     6         THE WITNESS: There's no way              6      Q. Are you aware that the
     7     I could speculate as to what                 7 Controlled Substance Act imposes upon
     8     happens to products that are                 8 registrants a regulatory obligation to
     9     stolen.                                      9 maintain systems to prevent diversion?
    10 BY MR. CLUFF:                                   10          MR. NICHOLAS: Object to the
    11     Q. Do you understand that                   11      form.
    12 AmerisourceBergen has a regulatory              12          THE WITNESS: We -- we
    13 obligation to maintain systems to prevent       13      follow the regulation that
    14 diversion?                                      14      requires us to have a system in
    15         MR. NICHOLAS: Object to the             15      place to identify suspicious
    16     form.                                       16      orders. And to prevent those from
    17         THE WITNESS: Per the                    17      being shipped and to report them
    18     regulation, we're required to               18      accordingly.
    19     monitor customer orders and                 19 BY MR. CLUFF:
    20     identify suspicious orders and              20      Q. So then you agree with me
    21     treat them accordingly. So                  21 that there is a regulatory obligation for
    22     there's no way for us as a                  22 wholesalers as registrants to maintain
    23     wholesaler to specifically prevent          23 systems to prevent diversion?
    24     diversion which follow regulation.          24          MR. NICHOLAS: Object to the
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     1      form.                                       1      definition of diversion in, we do
     2          THE WITNESS: No, I wouldn't             2      the best we can to identify
     3      agree with that at all. We don't            3      suspicious orders and to block
     4      have enough information as a                4      them and report them to the DEA.
     5      wholesaler to identify if                   5      So I would -- I would stipulate
     6      diversion is happening. There's             6      that.
     7      no way for us to know if a                  7          It's the DEA's
     8      possibly suspicious order, if it            8      responsibility to -- to look at
     9      was shipped, if it was diverted or          9      diversion. It's our job to -- to
    10      not. We're shipping only to                10      identify suspicious orders and to
    11      licensed entities. So we just              11      treat them accordingly.
    12      don't have sufficient information          12 BY MR. CLUFF:
    13      to agree with that.                        13      Q. So it's a wholesaler's job
    14 BY MR. CLUFF:                                   14 to identify suspicious orders and treat
    15      Q. I'm asking a different                  15 them accordingly?
    16 question. I'm asking about the existence        16          MR. NICHOLAS: Object to the
    17 of something, not whether or not you can        17      form. Go ahead.
    18 comply with it as AmerisourceBergen.            18          THE WITNESS: Yeah. If we
    19          The question is: Is there a            19      identify a suspicious order, we
    20 regulatory obligation that exists in the        20      would -- we would reject it and
    21 Controlled Substance Act for registrants        21      report it.
    22 to maintain systems designed to prevent         22 BY MR. CLUFF:
    23 diversion. Yes or no?                           23      Q. All suspicious orders that
    24          MR. NICHOLAS: Object to the            24 are identified are rejected?

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     1     form.                                        1           MR. NICHOLAS: Object to the
     2          THE WITNESS: The regulation             2      form.
     3     might state that the regulation              3           THE WITNESS: If the order
     4     that we follow is designed to                4      is found to be suspicious, we
     5     prevent diversion, but I'm not               5      would reject it and report it.
     6     familiar enough with the                     6 BY MR. CLUFF:
     7     regulation to -- to agree with               7      Q. Based on your experience
     8     that or not. I know that we                  8 auditing diversion control practices at
     9     identify suspicious orders.                  9 distribution centers, what constitutes a
    10 BY MR. CLUFF:                                   10 suspicious order?
    11     Q. But it was also, I think,                11      A. Okay. The definition of a
    12 your testimony that said wholesalers just       12 suspicious order is an order of unusual
    13 cannot prevent diversion, can they?             13 size, frequency or deviating from the
    14          MR. NICHOLAS: Object to the            14 normal pattern.
    15     form. Go ahead.                             15      Q. Is that a definition you
    16          THE WITNESS: No. As a                  16 understand from reading federal
    17     wholesaler, I would not say that            17 regulations?
    18     it's our responsibility to prevent          18      A. Yes.
    19     diversion. I would say that we              19      Q. On a day-to-day basis, if
    20     are one component of a closed               20 you were auditing a distribution center's
    21     system for the distribution                 21 practice of identifying suspicious
    22     center -- for the distribution of           22 orders, what would you be looking at?
    23     controlled substance.                       23      A. I'm sorry, repeat that?
    24          So when you bring the                  24      Q. Sure.
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     1          So you conducted audits of              1 many years that I was doing that.
     2 distribution centers, right?                     2      Q. Let's back up for a second.
     3      A. Under that role, yes.                    3          You were in charge of
     4      Q. And distribution centers are             4 auditing the regulatory compliance of
     5 engaged in diversion control work?               5 distribution centers in the east region
     6          MR. NICHOLAS: Object to the             6 between 2002 and 2015. Does that sound
     7      form.                                       7 right?
     8          THE WITNESS: In a limited               8      A. Yes.
     9      capacity at the distribution                9      Q. And one of the areas you
    10      center level, yes.                         10 audited at the distribution center level
    11 BY MR. CLUFF:                                   11 was diversion control, right?
    12      Q. Are they looking for                    12      A. Yes.
    13 suspicious orders?                              13      Q. Does diversion control
    14      A. What time period are you                14 involve monitoring for suspicious orders?
    15 talking about?                                  15          MR. NICHOLAS: Object to the
    16      Q. Between 2002 and 2015.                  16      form.
    17      A. During that period of time,             17          THE WITNESS: Yes, it does.
    18 I would say that the -- they were               18 BY MR. CLUFF:
    19 managing their responsibilities under the       19      Q. Were distribution centers
    20 audit program.                                  20 monitoring for suspicious orders as part
    21          But when you say that they             21 of their diversion control
    22 were monitoring for suspicious orders, I        22 responsibilities?
    23 believe during that period of time the          23      A. During that period of time
    24 determination of an order to be                 24 they were.

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     1 suspicious would be handled by a                 1      Q. What were they doing to
     2 different group.                                 2 monitor for suspicious orders? Actually,
     3      Q. So I didn't say that they                3 strike that.
     4 were monitoring suspicious orders. I             4           What portion of their
     5 asked you if they are monitoring for             5 activities monitoring for suspicious
     6 suspicious orders at the distribution            6 orders did you audit?
     7 center level between 2002 and 2015.              7      A. I audited to make sure that
     8          MR. NICHOLAS: Object to the             8 the -- and again, this is something
     9      form and the commentary. Go                 9 that -- that was a long time ago and it's
    10      ahead.                                     10 evolved over time. Those questions
    11          THE WITNESS: Yeah, they                11 changed from 2002 to 2015, so those
    12      were -- they were performing               12 responsibilities evolved. So I wouldn't
    13      responsibilities that were related         13 feel comfortable going into specific
    14      to diversion identification.               14 responsibilities that the distribution
    15 BY MR. CLUFF:                                   15 centers had with regards to that.
    16      Q. What are those?                         16      Q. Okay. When you say a long
    17      A. Over that period of time, I             17 time ago, your responsibility as a
    18 wasn't directly responsible for the             18 regional supervisor or regional director
    19 diversion program. So -- and it's               19 ended three years ago, right?
    20 evolved. For a period of time it was --         20      A. Yes.
    21 it spanned over years, so I couldn't tell       21      Q. Is that a long period of
    22 you specifically how that changed over          22 time to you?
    23 the years or specifically what                  23           MR. NICHOLAS: I'll object
    24 responsibilities they had. It's been so         24      to the form.
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     1           THE WITNESS: Three years is            1 2001 and 2005?
     2       a long period of time.                     2      A. I'm not saying it didn't
     3 BY MR. CLUFF:                                    3 happen. I just don't recall. It was too
     4       Q. Compared to 13 years that               4 long ago.
     5 you were responsible for these jobs?             5      Q. Understood. 2005 to 2007,
     6           MR. NICHOLAS: Object to the            6 do you recall performing audits during
     7       form.                                      7 that period of time?
     8           THE WITNESS: Yes.                      8      A. I was performing audits
     9 BY MR. CLUFF:                                    9 during that period of time.
    10       Q. So the time you spent doing            10      Q. And that would still have
    11 the job is essentially four times as long       11 been in the east -- the east region
    12 as it's been since you've stopped doing         12 approximately?
    13 the job, right?                                 13      A. I performed audits
    14           MR. NICHOLAS: Object to the           14 throughout the country.
    15       math. Go ahead.                           15      Q. Understood. So you didn't
    16           THE WITNESS: Yes.                     16 necessarily audit only the region that
    17 BY MR. CLUFF:                                   17 you were responsible for?
    18       Q. Let's break it up though.              18      A. That's correct.
    19 Maybe that will be easier.                      19      Q. Was that -- between 2001 and
    20           So you started as the                 20 2015, you conducted audits. During that
    21 regional supervisor over regulatory             21 period of time would you have conducted
    22 affairs, or regulatory compliance in            22 audits outside of your region for the
    23 2001, right?                                    23 entire period of time or for some
    24       A. I think it was after 2001.             24 specified period of time?

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     1      Q. You're right. I'm sorry,                 1     A. I would say for the entire
     2 2002?                                            2 period I conducted audits outside of my
     3      A. Roughly.                                 3 region.
     4      Q. So how about between 2002                4     Q. Did you ever conduct any
     5 and 2005, that's a three-year period.            5 audits in the south region?
     6 Were distribution centers during that            6     A. Yes.
     7 period of time monitoring for suspicious         7     Q. When?
     8 orders?                                          8     A. On and off throughout the
     9      A. It was too long ago. I just              9 whole period.
    10 don't recall.                                   10     Q. Between 2001 and 2005?
    11      Q. Do you recall auditing                  11     A. I believe it started in
    12 distribution centers between 2001 and           12 2002.
    13 2005?                                           13     Q. You're right. I keep saying
    14      A. I believe I audited                     14 2002. My fault.
    15 distribution centers during that time.          15          How about between 2002 and
    16      Q. Do you recall ever auditing             16 2005? Did you conduct audits in the
    17 diversion control of a distribution             17 south region?
    18 center between 2001 and 2005?                   18     A. I don't recall what the
    19      A. No, I don't recall auditing.            19 schedule was, but I would assume.
    20 I don't recall what the audit checklist         20     Q. So it's likely that you
    21 entailed then.                                  21 conducted audits in the south region
    22      Q. So you don't know one way or            22 between 2002 and 2005?
    23 the other today as you sit here whether         23     A. Yeah, I would assume that I
    24 you audited diversion control between           24 conducted audits in the south region.


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     1      Q. How about between 2005 and             1  somewhere in the world of
     2 2007? Would you have conducted audits in       2  AmerisourceBergen's documents, correct?
     3 the south region between 2005 and 2007?         3          MR. NICHOLAS: Object to the
     4      A. I don't recall.                         4      form.
     5      Q. Earlier when I asked you if             5          THE WITNESS: I would
     6 you had performed audits in the south           6      assume.
     7 region between 2002 and 2005, you said          7          MR. NICHOLAS: Go ahead.
     8 you didn't recall the schedule.                 8          THE WITNESS: I would
     9         There was a schedule for                9      assume.
    10 audits?                                        10 BY MR. CLUFF:
    11      A. Yes.                                   11      Q. You don't have any reason to
    12      Q. Who was in charge of that              12 believe that they would have been
    13 schedule?                                      13 destroyed, right?
    14      A. I believe Steve Mays.                  14      A. No.
    15      Q. And was it a written                   15      Q. From that schedule of
    16 schedule?                                      16 audits, I would be able to determine who
    17      A. Yes.                                   17 audited distribution centers in the south
    18      Q. Was it a schedule that Steve           18 region in any given period of time,
    19 Mays created?                                  19 correct?
    20      A. I believe he did during that           20      A. Yeah, I would assume so.
    21 period of time. It was a long time ago.        21      Q. And the same thing would be
    22      Q. Okay. And it would have                22 true for the north region, right?
    23 been circulated to auditors somehow?           23      A. Yes.
    24      A. Yes.                                   24      Q. And the south region and the
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     1      Q. Would that have been by                1  west region?
     2 e-mail?                                        2      A. Yes.
     3      A. I don't recall.                         3     Q. Were those an important
     4      Q. Was there another way that              4 documents in your work as an auditor?
     5 Steve Mays communicated scheduling of           5     A. Well, they laid out our
     6 audits to auditors?                             6 audit schedule for the next year.
     7      A. It was communicated to us               7     Q. So it was a yearly schedule?
     8 during team meetings. I believe the             8     A. To my recollection it was.
     9 e-mail probably would have been utilized.       9     Q. Do you recall, based on your
    10      Q. So there were meetings about           10 work as an auditor working under Steve
    11 audits as well?                                11 Mays, how the schedule was set up?
    12      A. We would have periodic team            12 That's a bad question.
    13 meetings.                                      13          Do you recall in your work
    14      Q. So you would have discussed            14 as an auditor working under Steve Mays,
    15 the schedules at team meetings. Would          15 how he prioritized which distribution
    16 you have received the paper copy of an         16 centers should be audited?
    17 audit during the team meeting? Excuse          17          MR. NICHOLAS: Object to the
    18 me, a paper copy of a schedule during a        18     form.
    19 team meeting?                                  19          Go ahead.
    20      A. I assume so.                           20          THE WITNESS: No, I don't
    21      Q. And you said e-mail would              21     recall how he formulated his audit
    22 have been utilized as well, right?             22     schedules.
    23      A. I would assume so.                     23 BY MR. CLUFF:
    24      Q. So those should exist                  24     Q. Are you aware of any
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     1 policies or procedures that dictated the        1  during that -- over that period of time.
     2 frequency with which audits should              2       Q. When did you become the
     3 happen?                                          3 regional director?
     4      A. No, I don't recall.                      4      A. Title changed to director
     5      Q. Do you know if one ever                  5 from supervisor at some point. I don't
     6 existed?                                         6 recall.
     7      A. If what existed?                         7      Q. The job responsibilities
     8      Q. A policy about the frequency             8 didn't change?
     9 of audits.                                       9      A. No.
    10           MR. NICHOLAS: Object to the           10      Q. And then when did you become
    11      form.                                      11 the regional director?
    12           THE WITNESS: I don't recall           12      A. Again, I don't recall.
    13      if a specific policy existed               13      Q. Sometime in the last five
    14      regarding the frequency of audits.         14 years?
    15      It may have.                               15      A. I don't recall.
    16 BY MR. CLUFF:                                   16      Q. Did your job
    17      Q. Can you give me an estimate             17 responsibilities change?
    18 on how frequently distribution centers          18      A. From the time that I became
    19 were audited?                                   19 a director versus prior to that? I'm not
    20      A. It would vary.                          20 sure I understand the question.
    21      Q. What would it vary based on?            21      Q. You were a supervisor
    22           MR. NICHOLAS: Object to the           22 originally and then became a director,
    23      form.                                      23 you said, right?
    24           THE WITNESS: What period of           24      A. Correct.
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     1      time are we talking about?                 1        Q. And there was no change in
     2 BY MR. CLUFF:                                   2  your job responsibilities?
     3      Q. Let's do 2002 to 2005.                   3       A. No.
     4      A. I have no recollection.                  4       Q. Okay. And then from a
     5      Q. You couldn't say whether it              5 director you became a regional director.
     6 was yearly?                                      6 Was there any change in your
     7      A. No.                                      7 responsibilities at that point in time?
     8      Q. How about from 2005 to 2007?             8       A. No. We were always -- we
     9 How frequently were audits conducted?            9 were regional manager, I think, and then
    10      A. Again, I don't recall.                  10 we became -- I think it was either
    11      Q. How about after 2007, say               11 manager or supervisor, and then we became
    12 2007 to 2012?                                   12 a regional director. So no change in
    13      A. I believe during that period            13 responsibilities to my recollection based
    14 it was normally an annual audit.                14 on that title change.
    15      Q. Is there some reason that               15       Q. And so your work as a
    16 you recall why, after 2007, that it was         16 regional director takes you through the
    17 an annual audit but you don't recall any        17 end of 2015 or some time in 2015?
    18 schedule of audits before 2007?                 18       A. Takes me to February 2015.
    19      A. The most recent years that I            19       Q. Okay. And then what was
    20 was regional director, we were generally        20 your job in February of 2015?
    21 conducting annual audits of our                 21       A. I was reassigned to director
    22 distribution centers. I don't recall            22 of diversion control.
    23 what it was, when you go back that far --       23       Q. We'll pick up there in a
    24 I just don't recall what the schedule was       24 little bit. Let's go back to this audit


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     1 schedule.                                        1 exist?
     2          Was there a policy or                   2      A. No, I didn't say that.
     3 procedure in 2007 that you can recall            3      Q. So it existed before 2007
     4 about the frequency of audits at                 4 and then it was created in 2007?
     5 distribution centers?                            5           MR. NICHOLAS: Object to the
     6      A. In the 2007 time frame, I                6      form.
     7 don't remember what the policy contained         7           THE WITNESS: I would assume
     8 with regards to frequency of audits. It          8      that it existed, you know, from a
     9 was too long ago. It was a lot of years          9      very early point. But I don't
    10 ago.                                            10      know when it became -- you know,
    11      Q. But there was a policy about            11      when it was created. I have no
    12 audits?                                         12      idea. It was too long ago. I
    13          MR. NICHOLAS: Object to the            13      wasn't responsible for writing
    14      form.                                      14      policies at that period of time.
    15          THE WITNESS: There were                15 BY MR. CLUFF:
    16      general policies that were related         16      Q. I just asked you. Do you
    17      to audits, yes.                            17 recall if there was a policy or procedure
    18 BY MR. CLUFF:                                   18 after 2007 that governed the frequency of
    19      Q. Do you remember any of the              19 audits. And I'm reading from the live
    20 numbers of the policies, like 5.1?              20 feed here, and your answer is, "I believe
    21      A. No.                                     21 at some point post 2007 a policy was
    22      Q. Isn't that a document that              22 created."
    23 you would have worked with pretty               23           Did a policy exist before it
    24 frequently?                                     24 was created sometime after 2007?

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     1      A. 5.1?                                     1          MR. NICHOLAS: Object to the
     2      Q. No. Just the policies and                2      tone and the bickering.
     3 procedures governing audits.                     3          Go ahead.
     4      A. Yes.                                     4          THE WITNESS: I would
     5      Q. And you don't recall the                 5      stipulate that I don't recall when
     6 number of the policy or procedure?               6      that policy that governed
     7      A. We had a lot of policies and             7      frequency of audits was created.
     8 procedures. So I don't recall specific           8      I just know that it existed post
     9 numbers of the policies.                         9      2007, because I don't remember
    10      Q. Do you recall if there was a            10      prior to that.
    11 policy or procedure after 2007 that             11 BY MR. CLUFF:
    12 governed the frequency of audits?               12      Q. And you don't recall it's
    13      A. I believe at some point post            13 existence before that?
    14 2007 a policy was created that was              14      A. I'm not saying it didn't
    15 related to the frequency of audits. But         15 exist. I just don't remember the audit
    16 I don't remember when that was created.         16 process during that period of time. That
    17      Q. So after 2007 your                      17 was a long time ago.
    18 recollection is that a policy was created       18      Q. So you don't recall it
    19 about the frequency of audits?                  19 existing?
    20          MR. NICHOLAS: Object to the            20          MR. NICHOLAS: Object to the
    21      form.                                      21      form and the bickering.
    22          THE WITNESS: I believe so.             22          Go ahead.
    23 BY MR. CLUFF:                                   23          THE WITNESS: I just don't
    24      Q. So before that it didn't                24      recall.
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     1 BY MR. CLUFF:                                   1       Q. Do you understand my
     2      Q. Do you have a general                   2 question?
     3 recollection of this policy that you now        3       A. I would say at the time I
     4 recall sometime after 2007 about the            4 left the position, I believe there was a
     5 frequency of audits, what did it specify        5 policy that governed annual audits of
     6 about the frequency of audits? How often        6 distribution centers.
     7 should they happen?                             7       Q. So before we started talking
     8          MR. NICHOLAS: Object to the            8 about the frequency, we were talking
     9      form.                                      9 about diversion control and your audit of
    10          THE WITNESS: I recall there           10 diversion control. And also the
    11      was generally an annual                   11 distribution centers that you recall
    12      requirement for a distribution            12 auditing.
    13      center to be audited.                     13          So from 2002 to 2005 you
    14 BY MR. CLUFF:                                  14 said you recall -- well, you don't
    15      Q. Was that the same all the              15 specifically recall. But that you assume
    16 way through the end -- or from 2000 --         16 you audited distribution centers in the
    17 let me back up. That was poorly worded.        17 south region, correct?
    18          Was that policy consistent            18       A. For what period of time?
    19 from the time that you can recall it           19       Q. 2002 to 2005.
    20 existing through 2015?                         20       A. I assume during that period
    21          MR. NICHOLAS: Object to the           21 I audited the south region at some point.
    22      form.                                     22       Q. How about 2005 to 2007.
    23          THE WITNESS: Yeah, I                  23 Would you have audited distribution
    24      remember that policy existed up to        24 centers in the south region?

                                           Page 147                                           Page 149
     1      the time I left that position.             1      A. I would assume.
     2 BY MR. CLUFF:                                   2      Q. Do you recall at any point
     3      Q. Excuse me. Are you aware of             3 between 2002 and 2015 auditing
     4 any changes to that policy regarding the        4 distribution centers in Florida?
     5 frequency since you left that position?         5      A. Yes. I've audited the
     6      A. No.                                     6 Orlando distribution center during that
     7      Q. So it's your best                       7 period of time.
     8 understanding today that distribution           8      Q. Do you recall the date that
     9 centers are still audited on an annual          9 you audited the Orlando distribution
    10 basis?                                         10 center?
    11      A. That responsibility has                11      A. No, I don't.
    12 transitioned to a different team. So I         12      Q. Do you recall auditing your
    13 can't really speak to how often                13 Orlando distribution center between 2002
    14 distribution centers are audited today.        14 and 2005?
    15 Lots of changes have been made to that         15      A. No, not specifically.
    16 program.                                       16      Q. Between 2005 and 2007?
    17      Q. But your general                       17      A. Nope.
    18 understanding is that the policy calls         18      Q. 2007 to 2012?
    19 for them to be audited annually?               19      A. I don't remember specific
    20          MR. NICHOLAS: Object to the           20 dates that I may have audited the Orlando
    21      form. Make it a question. You             21 DC.
    22      are just making statements. Go            22      Q. 2012 to 2015?
    23      ahead.                                    23      A. (Gesturing.)
    24 BY MR. CLUFF:                                  24      Q. So the only record --
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     1          THE COURT REPORTER: I                  1   audited the Orlando distribution
     2     didn't get an answer, I'm sorry.            2   center.
     3          MR. NICHOLAS: Yeah, let him            3       MR. NICHOLAS: Do you want
     4     answer. You are making                      4   to excuse him so that he's not --
     5     statements. Let him answer some             5   you don't -- so you don't feel
     6     questions.                                  6   he's hearing anything that he
     7          THE WITNESS: No. No, I                 7   shouldn't hear --
     8     don't recall specific dates during          8       MR. CLUFF: No.
     9     that 13-year period that I audited          9       MR. NICHOLAS: -- because we
    10     the Orlando distribution center.           10   can do that if we want to have an
    11 BY MR. CLUFF:                                  11   argument.
    12     Q. So the only record of your              12       Do you want to do that?
    13 audit of the Orlando distribution center       13       MR. CLUFF: Bob, he said
    14 would come from the audit schedule,            14   that the two ways that we could
    15 correct?                                       15   find that out was from the audit
    16          MR. NICHOLAS: Object to the           16   schedule and from his report of
    17     form. Go ahead.                            17   the audit.
    18          THE WITNESS: Well, there              18       And I asked him a
    19     would be a scheduling that would           19   foundational question regarding
    20     be the corresponding report that           20   his recollection about whether he
    21     was generated as a result of the           21   wrote a report. That's a purely
    22     audit.                                     22   foundational factual question.
    23 BY MR. CLUFF:                                  23       MR. NICHOLAS: You don't
    24     Q. Do you recall writing a                 24   know what my objection is.
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     1 report about your audit of the Orlando          1       MR. CLUFF: Okay. Make your
     2 distribution center?                            2   objection.
     3          MR. NICHOLAS: I'm going to             3       MR. NICHOLAS: Do you know
     4      interpose an objection to this             4   what it is? Maybe if you knew --
     5      continuing line of questioning to          5   if you know what it --
     6      the extent that we are starting to         6       MR. CLUFF: You said outside
     7      get clearly outside of the scope.          7   of the scope. He's not a 30(b)(6)
     8          MR. CLUFF: Well, he is a               8   witness.
     9      fact witness. There's no scope.            9       MR. NICHOLAS: Why don't
    10      I'm asking about his recollection.        10   you -- no -- well, that wasn't
    11          MR. NICHOLAS: I -- I --               11   going to be the nature of my
    12      I've explained my -- that's fine.         12   objection, Sterling.
    13          MR. CLUFF: I know, I                  13       MR. CLUFF: You said outside
    14      understand that you didn't finish.        14   of the scope, Bob. What else is
    15      I'm interrupting you because              15   the nature of a scope objection?
    16      you're making an improper                 16       MR. NICHOLAS: We are
    17      objection.                                17   talking about Ohio. We are
    18          MR. NICHOLAS: Well, this is           18   talking about -- we're talking
    19      not --                                    19   about -- he is a fact witness and
    20          MR. CLUFF: He's here today            20   at some point you are just moving
    21      to talk about his recollection of         21   into -- into a different case with
    22      facts. He just said that there            22   different facts. Okay.
    23      are two ways that we could figure         23       So I'm just saying that
    24      out whether he had, and when,             24   you're getting to the point where
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     1      you are starting to ask about               1 write up those audit reports?
     2      things that are unrelated to this           2      A. After the audit was over, it
     3      particular lawsuit. That's all.             3 wouldn't take too long. We had to
     4           Had nothing to do with                 4 provide a preliminary report pretty quick
     5      30(b)(6) or facts, so if you can            5 at the conclusion of the audit. Within a
     6      at least -- you can agree or                6 couple days. Within -- within one day of
     7      disagree, Sterling, but you have            7 the audit concluding.
     8      to at least let me complete my              8      Q. And what -- what kind of
     9      objection. Then you can respond.            9 information would you put into a report?
    10           MR. CLUFF: Great.                     10      A. The preliminary report would
    11           MR. NICHOLAS: Now you can             11 contain all of the findings that were
    12      respond.                                   12 associated with that audit.
    13 BY MR. CLUFF:                                   13      Q. What kind of findings would
    14      Q. So if I understood your                 14 you include?
    15 testimony correctly, there are two ways         15      A. There were two audits that
    16 we could figure out when you audited the        16 we would conduct: The security
    17 Orlando distribution center, one is from        17 regulatory audit and the OSHA audit. So
    18 the audit schedule, right?                      18 it would have separate findings for each
    19           And then you said, "Or a              19 of those areas.
    20 report."                                        20      Q. The OSHA audit would be like
    21           Do you recall writing a               21 workplace safety stuff?
    22 report about an audit of the Orlando            22      A. Correct.
    23 distribution center?                            23      Q. And then the regulatory
    24      A. At some point I completed a             24 audit, that would have been for the

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     1 report regarding -- with regards to the          1 regulations that govern the distribution
     2 audit of the Orlando DC.                         2 of controlled substances, correct?
     3      Q. Was it a regular practice                3     A. As well as prescription
     4 for auditors to write reports about their        4 drugs, correct.
     5 audit of distribution centers?                   5     Q. Do you think you may have
     6      A. Yes, that was -- that was                6 audited the Orlando distribution center
     7 part of the audit process. They would --         7 more than once?
     8 we would generate reports as a result of         8         MR. NICHOLAS: Object to the
     9 the audit.                                       9     form. Go ahead.
    10      Q. We talked with Steve Mays,              10         THE WITNESS: I recall
    11 and he -- he said that there was an audit       11     that -- that I did not audit the
    12 checklist, and you've mentioned an audit        12     Orlando DC too many times. I
    13 checklist. I think you said there's             13     remember one time specifically
    14 something like 200 questions?                   14     that I audited. But I don't
    15      A. Over 200.                               15     remember -- I don't think I
    16      Q. That would have been a big              16     audited that division too many
    17 stack of paper, correct?                        17     times.
    18          Is the report you're talking           18 BY MR. CLUFF:
    19 about, is that different than the               19     Q. So more than once?
    20 checklist that you would have gone              20     A. I'm not sure.
    21 through while you were at a distribution        21     Q. You said many times.
    22 center?                                         22         MR. NICHOLAS: He said he
    23      A. Yes.                                    23     didn't think it was --
    24      Q. How long did it take to                 24         MR. CLUFF: Bob, I don't
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     1      need you to testify for him. If              1 specifically recall one instance. When
     2      he wants to clarify his                      2 was that?
     3      statement --                                 3      A. I don't recall.
     4          MR. NICHOLAS: I'm just --                4      Q. Was it between 2002 and
     5          MR. CLUFF: Bob, it's not                 5 2005?
     6      your job to clarify his statement            6      A. I have no recollection of
     7      for him. That's his job.                     7 when that occurred.
     8          MR. NICHOLAS: You have to                8      Q. But you very specifically
     9      stop asking misleading questions.            9 recall it?
    10          MR. CLUFF: Bob, I did not               10           MR. NICHOLAS: Object to the
    11      ask a misleading question. I                11      form.
    12      asked a question based on my                12           THE WITNESS: I recall
    13      understanding.                              13      auditing the -- the Orlando
    14 BY MR. CLUFF:                                    14      distribution center at one point.
    15      Q. If it was an incorrect                   15      I don't remember if there were
    16 understanding, sir, please clarify it for        16      more.
    17 me. And your lawyer is not allowed to            17 BY MR. CLUFF:
    18 testify for you.                                 18      Q. So you -- do you recall
    19          MR. CLUFF: Do you                       19 going there to the Orlando distribution
    20 understand that today?                           20 center any other times when you weren't
    21          MR. NICHOLAS: Most of the               21 conducting an audit?
    22      testimony today has been by you.            22      A. I think I went there once
    23          MR. CLUFF: Bob.                         23 for a system conversion.
    24          MR. NICHOLAS: Go ahead.                 24      Q. What's a system conversion?
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     1 BY MR. CLUFF:                                     1       A. We -- we changed systems
     2      Q. I misspoke.                               2 from time to time. I believe that it was
     3          You said you recall one                  3 a transition from Distrack to Metastorm.
     4 specific instance, if I'm remembering             4 So that's a system conversion systems
     5 your testimony accurately, of auditing            5 used to operate the distribution center,
     6 the Orlando distribution center, correct?         6 maintain inventories. I believe I spent
     7 And I asked you if you remembered more.           7 a week there as the security responsible
     8 Do you remember more?                             8 individual during that conversion.
     9      A. There might -- there might                9       Q. When would that have been?
    10 have been between one and three times            10       A. I don't recall.
    11 that I audited. I know for a fact I              11       Q. Was it after 2007?
    12 audited the Orlando DC one time. I               12       A. I really can't remember.
    13 remember that specifically. There may            13       Q. Is the Metatrack system
    14 have been other instances, but I couldn't        14 still in use?
    15 confirm that here. Like I said, it was a         15       A. It was Distrack to
    16 long period of time. And I audited many          16 Metastorm. And no, it's no longer in
    17 distribution centers.                            17 use.
    18      Q. So definitely one time.                  18       Q. So med -- okay. So is
    19 Possibly one to three times.                     19 Metastorm still in use?
    20      A. Correct.                                 20       A. No.
    21      Q. We have to do that. We have              21       Q. Do you know when it was
    22 to get an audible answer from you. Thank         22 retired?
    23 you.                                             23       A. We transitioned from
    24          So you seem to very                     24 Metastorm to SAP. I don't recall the --


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     1 the specific schedule that that occurred.        1      A. I'm sure that one was filled
     2      Q. Do you recall that that                  2 out since I conducted an audit.
     3 happened in 2012?                                3      Q. Do you remember if it was
     4      A. I don't recall.                          4 before or after the license was suspended
     5      Q. Do you recall if your audit              5 in Orlando?
     6 was before or after this conversion from         6      A. I don't recall.
     7 Distrack to Metastorm?                           7      Q. Do you remember if there
     8      A. No.                                      8 were any specific procedures or policies
     9      Q. Do you recall if it was                  9 that Orlando was faulting -- following
    10 before or after the conversion from that        10 during that audit that were implemented
    11 system to SAP?                                  11 as a result of the settlement with the
    12      A. Well, the -- the conversion             12 DEA in 2007?
    13 from Metastorm to SAP occurred after            13      A. No.
    14 that. So it was definitely before the           14      Q. Is that something you would
    15 conversion to SAP.                              15 have audited if they had been in place?
    16      Q. So if we could pinpoint on a            16          MR. NICHOLAS: Object to the
    17 calendar when the conversion from               17      form.
    18 Metastorm to SAP was, we could narrow           18          THE WITNESS: If a change
    19 down the time period that you audited the       19      was made to the audit protocol
    20 Orlando distribution center, right?             20      then I would have followed it
    21      A. We can state it would have              21      during the audit.
    22 been before that period.                        22 BY MR. CLUFF:
    23      Q. But you have no recollection            23      Q. If there were policies or
    24 when the SAP system went into effect?           24 procedures that the Orlando distribution

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     1      A. No, not specifically.                    1 center was following as a result of the
     2      Q. Do you -- do you know if it              2 settlement with the DEA, would you have
     3 was before 2015?                                 3 audited those?
     4      A. Yes, it was before 2015.                 4         MR. NICHOLAS: Object to the
     5      Q. So you audited it, audited               5      form.
     6 the Orlando distribution center before           6         THE WITNESS: It would
     7 2015?                                            7      depend if it was part of the audit
     8      A. That's correct.                          8      checklist.
     9      Q. This audit of the Orlando                9 BY MR. CLUFF:
    10 distribution center that you so                 10      Q. Are you familiar with why
    11 specifically recall, why do you                 11 the Orlando distribution center lost its
    12 specifically recall it?                         12 DEA license?
    13          MR. NICHOLAS: Object to the            13      A. I have a general
    14      form.                                      14 understanding that the DEA suspended the
    15          THE WITNESS: I just                    15 license because they made the allegation
    16      remember being there.                      16 that we were not following the
    17 BY MR. CLUFF:                                   17 regulation.
    18      Q. What do you remember about              18      Q. Which regulation?
    19 being there?                                    19      A. To report and identify
    20      A. I remember being in Orlando.            20 suspicious orders.
    21      Q. That's it?                              21      Q. Where did you obtain that
    22      A. That's it.                              22 general understanding?
    23      Q. Do you remember filling out             23      A. During the occurrence.
    24 an audit checklist while you were there?        24      Q. So during the suspension of
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     1 the Orlando distribution center's license       1       been completed or were in process,
     2 you became aware why the registration was       2       and I was not part of that -- that
     3 suspended?                                       3      process.
     4          MR. NICHOLAS: Object to the             4 BY MR. CLUFF:
     5      form.                                       5      Q. When I asked you if reports
     6          THE WITNESS: Yeah, I recall             6 were written about the suspension, you
     7      the general allegation.                     7 said you assume so.
     8 BY MR. CLUFF:                                    8          Why do you assume that they
     9      Q. Where did you hear about                 9 would have been written?
    10 that from?                                      10          MR. NICHOLAS: Object to the
    11      A. I don't recall. Big news                11      form. And of course, Mr. Cluff
    12 back then.                                      12      will be the first to tell you that
    13      Q. It was big news. People                 13      you shouldn't assume in an answer
    14 talking about it in the halls?                  14      to a question.
    15          MR. NICHOLAS: Object to the            15          So go ahead.
    16      form and the commentary.                   16          THE WITNESS: When you have
    17          Go ahead.                              17      an occurrence like that, I would
    18          THE WITNESS: There was a               18      assume that it would, you know,
    19      lot of discussions surrounding it.         19      involve a chain reaction and a lot
    20 BY MR. CLUFF:                                   20      of different departments would be
    21      Q. Were there meetings about               21      involved in handling the
    22 it?                                             22      suspension.
    23      A. Yes.                                    23          So I would assume, as a
    24      Q. Were reports written about              24      previous auditor, that reports
                                            Page 167                                         Page 169
     1   it?                                           1       would have been generated as a
     2      A. None that I'm specifically              2       result of the action taken against
     3 aware of.                                        3      us.
     4      Q. Do you understand that                   4 BY MR. CLUFF:
     5 reports may have been written about it?          5      Q. So based on your 13 years of
     6          MR. NICHOLAS: Well, I'll                6 experience as an auditor, your
     7      object to the form of that                  7 understanding is that an event like the
     8      question.                                   8 suspension of a distribution center's
     9          Go ahead.                               9 license would result in the creation of
    10          THE WITNESS: I assume so.              10 reports about why the suspension
    11      None that I was directly involved          11 occurred?
    12      in -- involved with.                       12          MR. NICHOLAS: Is that a
    13 BY MR. CLUFF:                                   13      question?
    14      Q. You wouldn't have                       14          MR. CLUFF: I'm exploring
    15 participated in discussing the suspension       15      his understanding, Bob.
    16 in your role as an auditor?                     16          MR. NICHOLAS: I just want
    17          MR. NICHOLAS: Object to the            17      to hear it in the form of a
    18      form.                                      18      question. You're making a
    19          THE WITNESS: You know,                 19      statement.
    20      right when that happened, my               20          MR. PIFKO: Just say "is
    21      father passed away, and I had to           21      that correct."
    22      take a leave of absence. So when           22 BY MR. CLUFF:
    23      I got back, a lot of that -- a lot         23      Q. Is that correct?
    24      of those changes had been -- had           24          MR. NICHOLAS: Yeah, say "is
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     1      that correct?" Okay. And now I             1 documentation was generated as a result
     2      can say object to the form of the          2 of the suspension."
     3      question.                                  3           Based on your experience,
     4           THE WITNESS: Yeah, I would            4 13 years as an auditor at
     5      assume that a lot of documentation         5 AmerisourceBergen, what kind of
     6      has generated as a result of the           6 documentation would you have been
     7      suspension. Not necessarily in             7 referring to when you testified to that?
     8      report form, but a lot of general          8           MR. NICHOLAS: Object to the
     9      documentation. I wasn't a part of          9      form.
    10      it. It was all handled above me.          10           THE WITNESS: To clarify, I
    11      So I can't really speak                   11      wasn't exposed to documentation or
    12      specifically about what                   12      at least I don't recall
    13      documentation was generated.              13      documentation that I was
    14 BY MR. CLUFF:                                  14      specifically exposed to. So I'm
    15      Q. What kind of documentation             15      assuming that documentation was
    16 are we talking about -- or are you             16      generated. But I can't speak to
    17 talking about?                                 17      any detailed documentation that I
    18           MR. NICHOLAS: I'll object            18      was exposed to.
    19      to the form of the question and           19 BY MR. CLUFF:
    20      caution the witness not to make           20      Q. I'm not asking about a
    21      assumptions. He should answer             21 detailed distribution of documentation.
    22      questions --                              22 I'm asking, based on your experience as
    23           MR. CLUFF: Bob, you've               23 an auditor for 13 years at
    24      really got to stop coaching his           24 AmerisourceBergen, what kind of

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     1      witness. He already testified              1 documentation you understand would have
     2      based on his work experience as an         2 been created about the suspension in
     3      auditor -- it's in the testimony.          3 Orlando?
     4      You can read it -- that he                 4     A. I have no idea.
     5      understands that reports like this         5     Q. But you anticipate, based on
     6      or documentation about a situation         6 your experience, 13 years at
     7      like this would have been created.         7 AmerisourceBergen, that documentation
     8          I get to explore his                   8 would have existed?
     9      understanding of that, Bob. You            9         MR. NICHOLAS: Hold on.
    10      can make your objection. You can          10     Could you ask it in the form of a
    11      say form. You can say foundation.         11     question? It's not Jeopardy. You
    12      You can say whatever you want.            12     just made a statement. Ask him a
    13      But don't tell this witness that          13     question. Say "is that correct"
    14      he's not allowed to assume.               14     or "do you agree."
    15      That's coaching.                          15         MR. CLUFF: I appreciate the
    16          MR. NICHOLAS: You have to             16     coaching, Bob. I really do.
    17      stop asking misleading questions.         17     Thank you.
    18          Go ahead. Answer the                  18         MR. NICHOLAS: Well, your
    19      question if you can.                      19     own guy told you you have to ask
    20 BY MR. CLUFF:                                  20     in a form of a question.
    21      Q. Let me ask this question a             21         MR. CLUFF: Bob, seriously?
    22 different way.                                 22     Stop. Just stop, Bob. Make your
    23          You previously said, "Yeah,           23     objection for the record. And I
    24 I would assume that a lot of                   24     will clarify my question if I need
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     1     to.                                         1      Q. Did you ever discuss the
     2          MR. NICHOLAS: Objection.               2 suspension with Cathy Marcum?
     3      Objection. No question has been            3      A. Same answer. I have no
     4      stated.                                    4 recollection of it.
     5 BY MR. CLUFF:                                   5      Q. Did you ever discuss
     6      Q. Do you anticipate based on              6 suspension with Erica Burwell?
     7 your experience as an auditor at                7      A. No recollection.
     8 AmerisourceBergen for 13 years that             8      Q. Do you know if anybody
     9 documentation would have been created           9 discussed the suspension with Erica
    10 about the suspension?                          10 Burwell?
    11      A. I would assume that                    11      A. Not that I recall.
    12 documentation was generated as a result        12      Q. So you previously
    13 of the suspension.                             13 testified -- and I want to make sure I
    14      Q. Do you have an                         14 understand your testimony correctly --
    15 understanding, based on your 13 years of       15 that the suspension was a big event for
    16 experience at AmerisourceBergen, which         16 AmerisourceBergen?
    17 departments at AmerisourceBergen would         17          MR. NICHOLAS: Objection.
    18 have been creating that documentation?         18      No --
    19      A. The departments that were              19 BY MR. CLUFF:
    20 responsible for regulatory compliance and      20      Q. Is that correct?
    21 action like that would have been legal         21          MR. NICHOLAS: Good.
    22 and corporate security regulatory              22          THE WITNESS: Yes, it was.
    23 affairs.                                       23 BY MR. CLUFF:
    24      Q. Setting legal aside, what --           24      Q. Is it also your testimony
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     1 what aspects of the regulatory affairs          1 that you can't recall whether or not
     2 and corporate security department would         2 anybody talked about the suspension at
     3 have been responsible for documenting or        3 your level in 2007?
     4 producing documentation about the               4          MR. NICHOLAS: Object to the
     5 suspension?                                     5      form.
     6      A. I don't know. Like I said               6          THE WITNESS: I'm sure there
     7 it was happening over my head, and I            7      was discussion, but I just don't
     8 wasn't directly involved in it. So I            8      recall any specific conversations
     9 can't really state any specific                 9      during that period of time.
    10 documentation was generated or who             10 BY MR. CLUFF:
    11 generated it or who was involved in it.        11      Q. Do you know whether or not
    12      Q. Do you know if your boss,              12 anybody looked at the audit history for
    13 Steve Mays, ever participated in any           13 Orlando after the suspension occurred?
    14 discussions about the suspension in            14      A. No.
    15 Orlando?                                       15          MR. NICHOLAS: Object to the
    16      A. I don't recall.                        16      form.
    17      Q. Did you ever talk to Greg              17 BY MR. CLUFF:
    18 Madsen about the suspension in Ohio?           18      Q. Do you know whether or not
    19      A. I don't recall.                        19 anybody looked at the reports that were
    20      Q. Do you not recall or did it            20 written about Orlando after the
    21 not happen?                                    21 suspension occurred?
    22      A. I think I answered the                 22          MR. NICHOLAS: Object to the
    23 question. I don't remember. It was a           23      form.
    24 long time ago.                                 24          THE WITNESS: No.
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     1 BY MR. CLUFF:                                   1       A. Well, Chris was our VP over
     2      Q. Do you know whose                       2  CSRA, so I can't confirm, but he
     3 responsibility it was to review audit            3 certainly was concerned about the audit
     4 reports after they were created in               4 findings.
     5 general between 2002 and 2005?                   5      Q. You started working with
     6      A. I believe that would have                6 Chris Zimmerman in '96 at Bergen
     7 been Steve Mays during that period.              7 Brunswick, correct?
     8      Q. How about between 2005 and               8      A. Yes.
     9 2007?                                            9      Q. So you've worked with him
    10      A. Well, it was several people             10 through your entire career?
    11 that were involved. Steve Mays would            11      A. That's a correct statement.
    12 have been the one responsible for the           12      Q. Are you pretty familiar with
    13 audit, assigning the audit. He would            13 his work habits?
    14 have been the first one that we would           14          MR. NICHOLAS: Object to the
    15 have discussed it with.                         15      form.
    16      Q. So Steve Mays was                       16          THE WITNESS: I don't know
    17 responsible for assigning the audit. Did        17      what you mean by work habits.
    18 I get that correct?                             18 BY MR. CLUFF:
    19      A. Yes.                                    19      Q. Does he check his e-mails
    20      Q. And there were a number of              20 regularly?
    21 people involved, I think you said,              21      A. Yes.
    22 correct?                                        22      Q. Does he document the things
    23      A. Yeah, in the -- in the                  23 that he's concerned about?
    24 review process there was, yes.                  24          MR. NICHOLAS: Object to the
                                            Page 179                                          Page 181
     1       Q. But he would have been                 1      form.
     2 ultimately responsible for reviewing            2           THE WITNESS: Yes.
     3 them, because he assigned them; is that          3 BY MR. CLUFF:
     4 right?                                           4     Q. Does he like to create a
     5       A. Well, he would have been the            5 paper trail on things that are happening
     6 first step above the auditor that we             6 during his work?
     7 would have covered the findings with             7          MR. NICHOLAS: Object to the
     8 initially concluding that. But then we           8     form.
     9 would have -- we would run through those         9          THE WITNESS: I don't know
    10 findings with the DC as well, so -- from        10     if he likes to create paper
    11 the CSRA standpoint, he was the one that        11     trails. We document what we do
    12 we immediately worked with.                     12     generally.
    13       Q. Do you know if there was               13 BY MR. CLUFF:
    14 anybody else above Steve Mays that was          14     Q. So there was a practice of
    15 responsible for reviewing audit reports?        15 documenting things that happened at the
    16       A. I don't remember what the              16 company?
    17 structure was back then.                        17     A. Yes.
    18       Q. Do you recall who Steve Mays           18     Q. Do you know, based on your
    19 reported to during 2005 -- between 2005         19 long history of working with Chris
    20 and 2007?                                       20 Zimmerman, whether or not he would have
    21       A. I don't recall.                        21 documented his review of a report about
    22       Q. Do you know if Chris                   22 the Orlando distribution center?
    23 Zimmerman would have reviewed audit             23          MR. NICHOLAS: Object to the
    24 reports between 2005 and 2007?                  24     form.
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     1         THE WITNESS: I have no idea           1  e-mails about the Orlando suspension?
     2     what Chris did with regards to            2       A. I don't recall.
     3     that.                                      3      Q. If there were, they would be
     4 BY MR. CLUFF:                                  4 in your files, correct?
     5     Q. After an event like the                 5      A. They would be within our
     6 Orlando suspension, do you know, based on      6 system, yes.
     7 your history of working with Chris, what       7      Q. Do you recall ever reviewing
     8 he would have wanted to review to figure       8 any memorandums about -- or memoranda
     9 out what the problem was?                      9 about the Orlando suspension?
    10         MR. NICHOLAS: Object to the           10      A. No specific recollection.
    11     form.                                     11      Q. Did you ever write a memo
    12         THE WITNESS: I wouldn't --            12 about the Orlando suspension?
    13     I wouldn't want to speculate on           13      A. I don't recall.
    14     that.                                     14      Q. Did your responsibilities as
    15 BY MR. CLUFF:                                 15 an auditor change because of the
    16     Q. Would he have written                  16 suspension?
    17 e-mails to people about the distribution      17      A. Again, you know, our audit
    18 center suspension or would he have called     18 is governed by internal policy and the
    19 people about it?                              19 audit checklist evolves over time. So
    20         MR. NICHOLAS: Object to the           20 whatever the checklist evolved to would
    21     form.                                     21 have been what I would have done
    22         THE WITNESS: Again, I                 22 differently from -- from pre to
    23     wouldn't want to speculate on what        23 post-Orlando suspension.
    24     Chris did with regard to that,            24      Q. So you were conducting
                                          Page 183                                          Page 185
     1      with regards to that.                    1  audits between 2002 and 2015 as either a
     2 BY MR. CLUFF:                                 2  manager or supervisor of regulatory
     3      Q. When Chris had concerns                3 compliance, a director and a regional
     4 about your work product did he e-mail you      4 director. Did I get all the titles
     5 about it or did he call you about it?          5 right?
     6      A. Both.                                  6          MR. NICHOLAS: Object to the
     7      Q. Do you think he would have             7      form.
     8 responded any differently about the            8          THE WITNESS: It would have
     9 Orlando distribution center suspension?        9      been regional supervisor, regional
    10          MR. NICHOLAS: Object to the          10      manager, regional director.
    11      form.                                    11 BY MR. CLUFF:
    12          THE WITNESS: Again, I                12      Q. Got it. And during that
    13      wouldn't speculate.                      13 time when you conducted audits, you
    14 BY MR. CLUFF:                                 14 basically just filled out a checklist,
    15      Q. Do you have any reason to             15 right?
    16 believe that he would have acted              16          MR. NICHOLAS: Object to the
    17 differently?                                  17      form.
    18          MR. NICHOLAS: Object to the          18          THE WITNESS: We would
    19      form.                                    19      conduct the audit and we would
    20          THE WITNESS: Again, I                20      complete the checklist, you know,
    21      wouldn't speculate how he would          21      pursuant to the policy at that
    22      react to that.                           22      time.
    23 BY MR. CLUFF:                                 23 BY MR. CLUFF:
    24      Q. Did you ever receive any              24      Q. And then write a report?
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     1      A. The report would contain any            1       documenting them on the report,
     2 findings that we had on the audits that         2       yes.
     3 we conducted, yes.                               3 BY MR. CLUFF:
     4      Q. You had no responsibility                4      Q. So you said in 2015 you
     5 for identifying or reporting suspicious          5 became the director of diversion control,
     6 orders, right?                                   6 and that was approximately February 2015?
     7      A. During -- during 2000 --                 7      A. Yes.
     8      Q. 2002 to 2015.                            8      Q. Was that a step up from your
     9      A. I would say that's a true                9 role as a regional director or was that a
    10 statement, yes.                                 10 lateral step? I'm just trying to
    11      Q. You were just filling out               11 understand the hierarchy.
    12 audit checklists?                               12      A. It was considered a lateral
    13          MR. NICHOLAS: Object to the            13 move.
    14      form. Asked and answered.                  14      Q. Did you lateral out of
    15          THE WITNESS: I would say               15 regulatory and security compliance?
    16      that, yeah, we were conducting the         16      A. Well, it was a -- the
    17      audit and we were documenting              17 diversion team was a unit within CSRA.
    18      findings that we had pursuant to           18 So it was just a little subunit of the
    19      that audit checklist.                      19 entire CSRA department.
    20 BY MR. CLUFF:                                   20           MR. NICHOLAS: Sterling, if
    21      Q. It's kind of like the job               21      you're transitioning, do you think
    22 you had when you were at Bergen                 22      it's a good time for a break?
    23 Brunswick, right, you were documenting          23      I -- I don't want to stop your
    24 the investigations?                             24      flow here, but it's been --
                                            Page 187                                         Page 189
     1          MR. NICHOLAS: Object to the            1           MR. CLUFF: No, I appreciate
     2      form.                                      2       that. Let's just finish up your
     3          THE WITNESS: Under Bergen               3      responsibilities as the director
     4      Brunswick I wasn't documenting              4      of diversion control, and then
     5      investigations. I was conducting            5      we'll break for lunch. How is
     6      licensing and subpoena work.                6      that?
     7 BY MR. CLUFF:                                    7          MR. NICHOLAS: Perfect.
     8      Q. You said that you were                   8 BY MR. CLUFF:
     9 typing up interrogations and                     9      Q. Okay. So this was a lateral
    10 investigations between, you know, sort of       10 move, and was there a change in
    11 the beginning of '98 and the middle of          11 responsibilities?
    12 '98, right?                                     12      A. Yeah. Somebody took over my
    13      A. Yeah, I was -- I was typing             13 old job.
    14 transcriptions, that's correct.                 14      Q. And then did your -- like
    15      Q. Recording information?                  15 your area of responsibility change?
    16      A. Correct.                                16      A. I'm not sure I understand
    17      Q. So you were still just kind             17 your question.
    18 of recording information when you               18      Q. Were you still conducting
    19 performed these checklists, right?              19 audits when you became the director of
    20          MR. NICHOLAS: Well, I'll               20 diversion control in 2015?
    21      object to the form.                        21      A. No, sorry. Yes. During the
    22          THE WITNESS: Yeah, we were             22 time I transitioned from regional
    23      conducting the audit. We were              23 director to director of diversion
    24      identifying deficiencies and then          24 control, my duties did change at that


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     1 point.                                          1  monitoring program and -- and the due
     2      Q. And what, what was that                 2  diligence collection, yes.
     3 change?                                          3      Q. But prior to February of
     4      A. Well, I gave up my region                4 2015, you had never held a position where
     5 and I -- and I assumed the responsibility        5 you were responsible for diversion
     6 of director of diversion control for ABC.        6 control at all, correct?
     7      Q. What is your responsibility              7      A. Other than in a very limited
     8 as the director of diversion control?            8 capacity as a regional director and I --
     9      A. I manage the program. The                9      Q. I'm sorry, I interrupted
    10 investigators, my analysts report to me,        10 you.
    11 so I work directly with our pharmacist          11      A. As part of the -- as part of
    12 director to run the program and we report       12 the conducting the audits of the
    13 up to David May.                                13 distribution centers.
    14      Q. Is the pharmacist director,             14      Q. So your limited
    15 is that Sharon Hartman?                         15 responsibility for diversion control
    16      A. Yes.                                    16 prior to becoming the director of
    17      Q. Okay. So you said that you              17 diversion control was to audit diversion
    18 gave up your region and you became the          18 control procedures at a distribution
    19 director of diversion control. And then         19 center, right?
    20 you were responsible for overseeing the         20          MR. NICHOLAS: Object to the
    21 entire diversion control program for            21      form.
    22 AmerisourceBergen?                              22          THE WITNESS: Yeah, prior to
    23          MR. NICHOLAS: Object to the            23      taking over the diversion program
    24      form.                                      24      as director of diversion control,
                                            Page 191                                          Page 193
     1            THE WITNESS: Yes. We -- we           1      prior to that I was responsible
     2       operate the day-to-day management         2      for, you know, completing the
     3       of the program.                            3     audit checklist and that portion
     4 BY MR. CLUFF:                                    4     of the audit checklist that
     5       Q. So now you operate the                  5     pertained to diversion and
     6 day-to-day diversion control program for         6     control, yes.
     7 AmerisourceBergen. I just want to                7 BY MR. CLUFF:
     8 understand the scope.                            8     Q. So prior to becoming the
     9       A. That's correct.                         9 director of diversion control, you never
    10       Q. And you and Sharon Hartman,            10 had any responsibility for managing
    11 did I get that right?                           11 anybody who was identifying or detecting
    12       A. Yes.                                   12 suspicious orders?
    13       Q. You manage the investigators           13          MR. NICHOLAS: Object to the
    14 and the analysts and run the entire             14     form.
    15 program?                                        15          THE WITNESS: Other than in
    16            MR. NICHOLAS: Object to the          16     a very limited manner with my
    17       form.                                     17     compliance managers that reported
    18 BY MR. CLUFF:                                   18     to me and they had
    19       Q. Is that right?                         19     responsibilities at the
    20       A. I wouldn't say -- I mean,              20     distribution center level, again
    21 it's all a shared responsibility. David         21     in a limited capacity. So they
    22 May handles a lot of the -- the higher          22     reported up to me. So just to
    23 level elements of the program. I manage         23     clarify that.
    24 the day-to-day operation of the order           24 BY MR. CLUFF:


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     1     Q. And that was in your                     1       Q. So between 2002 and 2007,
     2 responsibility as an auditor though,            2 you had no diversion control
     3 correct?                                        3 responsibility then, correct?
     4     A. As an auditor and a regional             4       A. I wouldn't say that's true.
     5 director for my region. So I was only           5 The compliance managers didn't report to
     6 responsible for those compliance matters        6 us, but we still conducted audits and
     7 within my region with regards to that           7 I -- and I conducted investigations for a
     8 responsibility.                                 8 period of time.
     9     Q. Those compliance managers,               9       Q. So from 2007 -- 2002 to
    10 were those called RPICs?                       10 2007, your only responsibility for
    11     A. No.                                     11 diversion was to audit diversion at the
    12     Q. Is there an abbreviation for            12 distribution centers?
    13 compliance managers at all?                    13           MR. NICHOLAS: Object to the
    14     A. Just compliance manager.                14       form. It's not a question.
    15     Q. What's an RPIC?                         15           THE WITNESS: We conducted
    16     A. RPIC stands for responsible             16       the -- the distribution center
    17 person in charge.                              17       audits during that period of time.
    18     Q. And who would that have                 18       So in the capacity of a -- back
    19 been?                                          19       then I guess I was a regional
    20          MR. NICHOLAS: Object to the           20       supervisor, I believe. So I
    21     form.                                      21       would -- I would -- I would
    22 BY MR. CLUFF:                                  22       monitor the distribution centers
    23     Q. At a distribution center?               23       for the -- for the diversion
    24     A. So there are a number of                24       program.
                                           Page 195                                           Page 197
     1 distribution center associates who -- who       1 BY MR. CLUFF:
     2 were specially trained and had                  2      Q. You were monitoring --
     3 responsibility to review the first line         3 strike that.
     4 order when it went into a hold.                 4          And then after 2007 you
     5      Q. Would --                                5 accepted responsibility for managing the
     6      A. And per procedure they would            6 compliance managers at the distribution
     7 look at it, they would assess it and they       7 centers, right?
     8 would either release it or escalate it to       8          MR. NICHOLAS: Object to the
     9 the corporate diversion team.                   9      form.
    10      Q. But you didn't have                    10          THE WITNESS: They began
    11 responsibility for them, did you?              11      reporting to us post 2007.
    12      A. No, they -- they reported to           12 BY MR. CLUFF:
    13 operations.                                    13      Q. And they had a limited
    14      Q. Okay. So between 2002 and              14 diversion control responsibility, if I
    15 2015, I just want to get the time periods      15 understand it correctly?
    16 correct, you were responsible for              16      A. Yes.
    17 overseeing compliance managers, correct?       17      Q. So you had a limited
    18      A. No, that's not correct.                18 responsibility for diversion control
    19      Q. Okay.                                  19 because you oversaw them?
    20      A. Prior to 2007 the compliance           20          MR. NICHOLAS: Object to the
    21 managers didn't report up to us.               21      form.
    22      Q. Who did they report to?                22          THE WITNESS: We oversaw
    23      A. The -- the distribution                23      them with regards to their
    24 center manager for the DC.                     24      responsibilities within the policy
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     1     procedures for diversion control.           1      A. Yes, I do.
     2 BY MR. CLUFF:                                   2      Q. All right. Before the
     3     Q. And the only other                       3 break, you mentioned that you had some
     4 responsibility for diversion control            4 investigative responsibilities as well
     5 between 2007 and 2015 you had was               5 after you moved to Philadelphia, or
     6 auditing, correct?                              6 Pennsylvania, correct?
     7         MR. NICHOLAS: Object to the             7      A. In the form of -- yeah, I
     8     form.                                       8 was a regional director, you know, during
     9         THE WITNESS: Yeah. I was                9 that period of time. And I did have some
    10     responsible for my region, and I           10 investigative responsibilities.
    11     audited other divisions.                   11      Q. Okay. What specifically
    12 BY MR. CLUFF:                                  12 were your investigative responsibilities
    13     Q. And then in 2015 you took               13 at that time? And let's be clear about
    14 over shared responsibilities with Sharon       14 dates. So when was the first time that
    15 Hartman under David May for the entire         15 you took on investigative
    16 diversion control program at                   16 responsibilities?
    17 AmerisourceBergen?                             17      A. I conducted various
    18         MR. NICHOLAS: Object to the            18 investigations throughout my tenure as a
    19     form asked and answered. Go                19 regional director, supervisor, manager
    20     ahead.                                     20 throughout that period.
    21         THE WITNESS: That's                    21      Q. And that was from 2002 to
    22     correct.                                   22 2015?
    23         MR. CLUFF: I think that's a            23      A. Yes.
    24     good place to break.                       24      Q. Okay. So when you took the
                                           Page 199                                           Page 201
     1          THE VIDEOGRAPHER: Going off            1 job in 2002, we talked about that
     2      the record. 12:40 p.m.                     2 earlier, that was a new job, correct?
     3          (Lunch break.)                         3      A. It was new --
     4          THE VIDEOGRAPHER: Back on              4      Q. New responsibilities?
     5      the record. 1:23 p.m.                      5      A. Yes.
     6          MR. NICHOLAS: For the                  6      Q. And among those
     7      record, counsel has switched               7 responsibilities was performing or
     8      questioners. I'm assured that              8 supervising investigations; is that
     9      this is permitted by the rules,            9 correct?
    10      and I believe them. So you may            10      A. Well, I didn't really
    11      proceed.                                  11 supervise investigations. I conducted
    12          MR. PIFKO: All right.                 12 investigations as part of my role of
    13      Thank you.                                13 being a regional director.
    14              - - -                             14      Q. Okay. You conducted all
    15            EXAMINATION                         15 the -- to the extent an investigation was
    16              - - -                             16 conducted while you were regional
    17 BY MR. PIFKO:                                  17 director, it was conducted exclusively by
    18      Q. My name is Mark Pifko. I               18 you?
    19 also represent the plaintiffs in this          19           MR. NICHOLAS: Object to the
    20 matter. I'm going to be asking you some        20      form.
    21 questions. Okay?                               21           THE WITNESS: I would
    22      A. Yes.                                   22      conduct my own investigations. I
    23      Q. Do you understand that                 23      also worked with our investigative
    24 you're still under oath?                       24      team on certain investigations
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     1      depending on what we were                  1  the Philadelphia DEA office. I worked
     2      investigating.                             2  with him closely on an investigation when
     3 BY MR. PIFKO:                                    3 I was in the middle of transitioning from
     4      Q. Okay. Let's talk about the               4 Orange, California to Philadelphia. It
     5 nature and scope of the investigations           5 was a long -- a nearly two-year
     6 that you conducted. Were there different         6 investigation I worked very closely with
     7 types of investigations that you                 7 him on.
     8 conducted?                                       8      Q. What was the nature of the
     9      A. Yes, a whole array.                      9 investigation?
    10      Q. All right. Can you name                 10      A. It was Highland Park
    11 some of them today?                             11 Pharmacy. We were working with him from
    12      A. As a regional director, I               12 the beginning of that investigation, and
    13 did a lot of theft investigations. I            13 we were giving him sales reports for the
    14 think that would be the lion's share of         14 customer that was being investigated.
    15 the investigation types that I conducted.       15 Like I said, it was an in-depth, long
    16      Q. And --                                  16 investigation, and during that period of
    17      A. In --                                   17 time I became pretty friendly with Scott.
    18      Q. I'm sorry. Continue. I                  18 He's a personal friend today. We
    19 don't want to interrupt you.                    19 actually got awarded as a result of that.
    20      A. In addition to that, I did              20 I have a plaque in my office from the DEA
    21 construct investigations from 2005 to           21 and the contributions to the field of law
    22 2007. I would review what we call the           22 enforcement in the drug distribution
    23 possible suspicious order reports. And          23 industry.
    24 this was a function that was assigned to        24         So that -- I worked with him
                                            Page 203                                          Page 205
     1 me as a collateral duty outside of my           1  a lot on the local distribution centers,
     2 responsibility as regional director.            2  Thorofare, New Jersey; Bethlehem
     3      Q. Did you ever interact with               3 Pennsylvania.
     4 anyone from the DEA when you became a            4      Q. Highland Park Pharmacy,
     5 regional director?                               5 that's a pharmacy in Philadelphia?
     6      A. Yeah. I had a lot of                     6      A. They're located in a suburb
     7 interaction with DEA, special agents as          7 of Philadelphia. I believe they were
     8 well as diversion investigators.                 8 near Newtown Square or in that general
     9      Q. Again, I want to make sure               9 area.
    10 we're talking about a clear time period,        10      Q. Do you know what the outcome
    11 but over your tenure as a regional              11 of that investigation was? Was there an
    12 director, can you name some of the names        12 action taken against that pharmacy?
    13 of DEA agents that you interacted with?         13      A. Yes. That owner went to
    14      A. Scott Davis, Philadelphia               14 prison.
    15 DEA, was one.                                   15      Q. Do you know what the basis
    16           There were so many. He's              16 of the charges was?
    17 really the guy that comes to mind right         17      A. It was I believe diversion
    18 now.                                            18 of narcotics.
    19      Q. So Scott Davis was the                  19      Q. What specifically? Opioids?
    20 primary DEA agent who was visiting              20      A. Yeah, I don't remember the
    21 facilities that you had responsibility          21 specific drug families but it was
    22 for; is that correct?                           22 certainly opioids.
    23      A. No, I wouldn't say that.                23      Q. And do you know what the
    24 He -- he is one of the investigators with       24 nature of the conduct specifically was


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     1 with respect to the diversion, what             1  investigation, how you came to be
     2 was -- what was occurring at that               2  involved with -- did someone at the
     3 pharmacy?                                        3 company call you and say we need you to
     4      A. The DEA doesn't share                    4 work with this DEA agent or did they call
     5 specifics of their investigations with           5 you directly?
     6 industry. So we pretty much worked with          6      A. That -- that investigation
     7 him on providing him sales reports for           7 started when I was working for Bergen
     8 that extended period of time. But, just          8 Brunswick in a capacity of regulatory
     9 the way law enforcement works, they don't        9 specialist I think my title was.
    10 share specific information due to its           10          So I was responsible for
    11 confidential nature.                            11 subpoenas for the company as I had
    12      Q. Based on the information                12 indicated previously. So Scott contacted
    13 that you provided to Mr. Davis, was the         13 me or his request gravitated to me and I
    14 pharmacy selling high volumes of                14 began working with him I believe around
    15 controlled substances?                          15 the 2000 time frame and through my
    16          MR. NICHOLAS: Object to the            16 promotion to becoming a regional
    17      form.                                      17 supervisor when I moved to Pennsylvania.
    18          THE WITNESS: Yes, they                 18      Q. Okay. Did the company --
    19      were -- they were buying very high         19 the -- the company, so, when you -- what
    20      volumes of narcotics.                      20 was that title you said that you had when
    21 BY MR. PIFKO:                                   21 you were -- so you said you were a
    22      Q. Do you remember estimating              22 security officer when you started and
    23 the proportion of opioids versus their          23 then you moved into this other job?
    24 total sales from AmerisourceBergen?             24      A. I believe it was a
                                            Page 207                                          Page 209
     1      A. I don't recall the                      1  regulatory specialist --
     2 specifics.                                      2       Q. Okay.
     3      Q. Okay. Have you heard the                 3      A. -- but I'm not sure about
     4 concept of a red flag?                           4 that. It is just something that seems to
     5      A. Yes, it's a general term we              5 ring a bell.
     6 use.                                             6      Q. Did the company have a
     7      Q. Okay. Have you heard that                7 database where they kept subpoenas and
     8 one of the red flags of diversion is the         8 investigative requests of that nature
     9 proportionality of controlled substances         9 that you were responsible for responding
    10 to a customer's total substances they           10 to in a centralized location?
    11 purchase from a distributor, have you           11      A. Yeah. In that time period
    12 heard that before?                              12 we had, we had a system.
    13      A. Yes, I have.                            13      Q. Okay. What was the name of
    14      Q. Okay. Regardless of whether             14 that system?
    15 you remember the specific number that           15      A. I believe it was law -- Law
    16 this pharmacy was buying, do you recall         16 Track or Law Pack. I think it
    17 that -- proportionality being one of the        17 transitioned from one to the other, but
    18 red flags of diversion for that pharmacy?       18 again, that was a long time ago.
    19      A. I don't recall. It was too              19      Q. Okay. So then when -- after
    20 long ago. This was almost -- this was           20 the merger occurred, do you know what the
    21 18 years ago. So it's just too long ago         21 system that would have been used to
    22 for me to remember specifics about that         22 centralize this request was?
    23 particular investigation.                       23      A. I think we moved it into Law
    24      Q. Do you recall how that                  24 Track.


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     1       Q. Okay.                                  1 seek to obtain information from that
     2       A. I think the previous system            2 historic system?
     3 was Law Pack.                                   3      A. During any investigation.
     4       Q. Do you know the period for             4 If we're looking into a customer and we
     5 how long those kinds of investigations          5 want to see their background, what we
     6 and requests would be maintained on that        6 have in their due diligence file, we
     7 system?                                         7 would go into either system to see what
     8       A. Well, they were maintained             8 we have on them. So that would be a
     9 from that point all the way until, you          9 result of investigations or subpoenas,
    10 know, roughly in the last year or two          10 any number of reasons.
    11 when we switched systems.                      11      Q. Okay. And as far as you
    12       Q. Okay. And then when you               12 know, the -- the subpoenas, investigative
    13 switched systems, what -- what did you do      13 reports, and the company's responses to
    14 with the data, do you know?                    14 those reports, are maintained
    15       A. The data was transferred to           15 indefinitely on that system?
    16 another system for maintenance, and it's       16      A. I believe so.
    17 still there. It's still retrievable by         17      Q. Okay. So do you recall any
    18 us.                                            18 other -- other than Scott Davis, any
    19       Q. Okay. Is that -- from time            19 other DEA agents that you interacted
    20 to time do you ever go back and, for           20 with?
    21 business reasons, look at that data?           21      A. Yeah, there were a lot of
    22       A. I do. I don't do it as much           22 them. Doug Crawford in the -- in the
    23 as my investigators do. They are the           23 Columbus area. I dealt with him. A lot
    24 ones that are doing the day-to-day             24 of groups of advisors, a lot of

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     1 investigations for the most part. But           1 investigators. There's so many of them.
     2 they do go in there readily. I mean,            2 I don't really deal with them very often
     3 that's where all the old information is         3 anymore, so this is -- you know, years
     4 so...                                           4 ago that I was dealing with these people,
     5       Q. Okay. You said you do from             5 so...
     6 time -- you have on occasion?                   6       Q. I understand we're talking
     7       A. Yes.                                   7 about a time period that was earlier and
     8       Q. Okay. Is there like a --               8 maybe there's a lot of names. But it
     9 how do you access that, is there like a         9 just -- it would help if you can remember
    10 portal you have to log into?                   10 any other names. I know it's kind of an
    11       A. Yes.                                  11 odd question.
    12       Q. Okay. And when you log into           12           But so you remember Scott
    13 that, and you can keyword search it or         13 Davis, Doug Crawford. Any other names?
    14 something, how does it work?                   14       A. I didn't really prepare for
    15          Yeah?                                 15 this question, so no, none -- none of
    16       A. Yeah. There's two systems.            16 those come to my mind right now.
    17 There's Matter Management that we put our      17       Q. Mr. Crawford in Columbus, is
    18 new information into. And then that --         18 there -- is there a reason why you
    19 the other system, I'm -- I'm sorry, the        19 remember his name?
    20 name escapes me what it's called. But          20       A. He's conducted audits of our
    21 we -- we have ready access to both             21 distribution center.
    22 systems.                                       22       Q. Okay. And he conducted
    23       Q. Okay. What are the types of           23 audits of distribution centers for which
    24 occasions on which you would -- you would      24 you had responsibility?


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     1      A. I'm not sure if I had                  1       Q. If you wanted to access it,
     2 responsibility at the Columbus                 2  how would you go to find that?
     3 distribution center when he audited us.         3      A. It's a good question. I'm
     4 I may have. I'd have to check the               4 not really sure where it would be. We'd
     5 records for that.                               5 have to search for it.
     6      Q. That was my -- my next                  6      Q. Do you have -- do you have
     7 question. Did you have any                      7 network drives on your system, does that
     8 responsibility for distribution centers         8 mean anything to you?
     9 in Ohio?                                        9      A. Not sure.
    10      A. Yes, at one time.                      10      Q. You understand that you can
    11      Q. Okay. And what time was                11 save something onto your computer, right,
    12 that?                                          12 like on the C drive. But do you have
    13      A. I don't recall. I'd have to            13 like a shared drive where you save
    14 check, check the -- the system for the         14 certain -- certain documents that you
    15 time period that I had the -- I had the        15 would look at or other people can save
    16 Chicago and the Columbus distribution          16 documents to?
    17 centers within my region, but I don't          17      A. Yes, we have a shared drive.
    18 recall the exact dates.                        18      Q. Okay. What's the name of
    19      Q. When you say check the                 19 it?
    20 system, what would you check?                  20      A. I call it the S drive.
    21      A. I'm sure that within the               21      Q. Okay. And to your knowledge
    22 system there would be documentation that       22 how long has that been in use?
    23 indicates the assignments that we had and      23      A. A long time. I don't
    24 which distribution centers were, you           24 remember when it started.

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     1 know, located within the region that I         1       Q. So dating back to like 2002
     2 had responsibility for.                        2  when you were regional director, do you
     3      Q. Is there like a name of a               3 believe you would access the S drive at
     4 document that would say who was assigned        4 that time?
     5 to what, that you can think of?                 5      A. I don't think so.
     6      A. I don't recall what the name            6      Q. Okay. So some time after
     7 of the document would be.                       7 that?
     8      Q. Okay. But there's some sort             8      A. I'm not sure but I would
     9 of document that says, these are the            9 think that it was -- it's so long ago, I
    10 distribution centers within this person's      10 don't recall.
    11 responsibility, these are the ones within      11      Q. Okay. Well, do you recall
    12 this person's responsibility; is that          12 accessing documents or saving documents
    13 correct?                                       13 to the S drive when you were a regional
    14      A. Yeah. It should be usually             14 director at any point?
    15 a United States map and it breaks down         15      A. Yes.
    16 which investigators had responsibility         16      Q. Okay. Is that a way that
    17 for which DCs.                                 17 you would have shared information
    18      Q. Okay. And how was that                 18 among -- so obviously there's a region,
    19 maintained in the company's files?             19 so there's other people would you need to
    20      A. I would say that it's kept             20 interact with. You might need to
    21 in general correspondence. Steve Mays          21 interact with your boss. Is that a way
    22 assigned it. And a lot of times we -- it       22 that you would have saved documents so
    23 was based on sales region and then we          23 that you could communicate with each
    24 broke away from that.                          24 other?


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     1      A. Yeah, we called it a shared             1   that.
     2 file. So it was a -- it was a file that         2      Q. Have you ever heard of Mike
     3 everybody had access to, so we could put        3 Mapes?
     4 documents on there, and everybody had           4      A. Yes.
     5 access to them. So that's a correct             5      Q. Okay. He was a DEA agent,
     6 statement.                                      6 correct?
     7      Q. Okay. So from time to time              7      A. Yes, he was.
     8 you might have a meeting and someone            8      Q. And he was also a consultant
     9 could say, oh, pull up the document, and        9 that was hired by the company, correct?
    10 everyone could open it and see what was        10      A. Yes, he was.
    11 there?                                         11      Q. Okay. Did you ever interact
    12      A. Yes.                                   12 with Mr. Mapes when he was a DEA agent?
    13      Q. Okay. So we would be able              13      A. A lot, yes.
    14 to know the -- the distribution centers        14      Q. Okay. What was the --
    15 for which you were responsible by              15      A. I'm sorry, when he was an
    16 accessing these historical records?            16 agent?
    17      A. Yes.                                   17      Q. Yeah.
    18      Q. Okay. And you -- you --                18      A. Yeah, I worked with him when
    19 what was the distribution center in            19 we transitioned our renewal process from
    20 Columbus, was it in the Columbus proper        20 individual DEA license renewals to the
    21 or was it in a suburb outside of               21 batch renewal. He was chief of
    22 Columbus?                                      22 E-commerce back then. So I worked
    23      A. I'm trying to remember the             23 closely with him in -- in transitioning.
    24 town that it's -- that it's in. I can't        24 I think we were the first large

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     1 think of the town that it's in. It's a          1 wholesaler that transitioned to the batch
     2 suburb of Columbus.                             2 renewal system, and so they used us sort
     3      Q. I believe it seems to have              3 of as a -- as a model to try it out first
     4 been Lockbourne. Is that --                     4 and then the other -- the other rest of
     5      A. Yes.                                    5 the industry followed us. So I believe
     6      Q. Is that the facility that --            6 that's my recollection, that we were the
     7      A. That's it.                              7 first to do that. So I did have a lot of
     8      Q. So when you refer to                    8 discussions with -- with Mike.
     9 Columbus, that's the facility you're            9       Q. Do you recall a rough time
    10 thinking of?                                   10 period when that occurred?
    11      A. That's correct.                        11       A. I want to say pre-2000.
    12      Q. Okay. Any other -- so -- so            12 Probably '95 -- or probably '98.
    13 Doug Crawford conducted some audits of         13       Q. Okay.
    14 the Lockbourne facility and that's how         14       A. Maybe around '98. It was
    15 you remember interacting with him?             15 pre -- pre me moving to Pennsylvania.
    16      A. I remember one that he                 16       Q. And then did you continue to
    17 conducted recently. I don't know any --        17 interact with Mr. Mapes on other
    18 any of the -- I can't confirm any audits       18 occasions after moving to -- away from
    19 that he conducted other than the one I'm       19 California?
    20 thinking of.                                   20       A. Yeah. Several different
    21      Q. And that was recently, you             21 occurrences where I spoke to him.
    22 said?                                          22       Q. Okay. Can you name some of
    23      A. I would say in the last five           23 the issues that you worked on with him?
    24 years. I can't really pinpoint beyond          24       A. Well, he was chief of
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     1 e-commerce, so we had to get                     1 early 2000 period?
     2 clarification from him quite a few times         2      A. I can't remember the date.
     3 on regulations. We transitioned to the           3 But it was right around that -- it might
     4 CSOS program at one point. And I headed          4 have been the late '90s.
     5 up that transition. And so I worked              5      Q. If a customer uses a paper
     6 closely with Mike. In that -- same thing         6 order form, they have to -- how do they
     7 with the batch renewal. We were one of           7 send it to you? Fax it or mail it?
     8 the first distribution centers in the            8      A. Yeah, they could -- they
     9 industry to transition to CSOS. So I             9 could send it any number of ways. They
    10 worked closely with him during that             10 could mail it. They could send it with
    11 period of time regarding that transition.       11 the driver who delivers their shipment,
    12      Q. Do you have an understanding            12 and then give it to them in an envelope,
    13 of the timing, about when that was?             13 and then it goes back with the driver.
    14      A. It started pre -- pre me                14 They can fax it to us. There's a lot of
    15 starting with the company. I think CSOS         15 ways that we -- that we receive paper 222
    16 started around '95. And I think we              16 forms from our customers.
    17 transitioned -- I don't recall exactly.         17      Q. And then when customers use
    18 I think it was the early 2000s.                 18 the electronic ordering system, they have
    19      Q. What does CSOS stand for?               19 some sort -- they have a computer in
    20      A. Controlled Substance                    20 their store or whatever, and they access
    21 Ordering System.                                21 some sort of portal to enter their order?
    22      Q. Okay. And can you tell me               22 How does that work?
    23 what that is?                                   23      A. Yeah. They -- they have to
    24      A. So for years DEA had the                24 get approved by the DEA. They have to

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     1 paper 222 form, narcotic order form.             1 complete a form, and then the DEA issues
     2 It's in triplicate. It has ten line              2 them a certificate, and they receive a
     3 items that a customer could fill in to           3 paper authentication number and then one
     4 receive narcotics. So they finally               4 via e-mail. And then they authenticate
     5 switched over to an electronic 222               5 that digital certificate. And then once
     6 program that took away the paper form            6 they receive the digital certificate,
     7 that's printed in triplicate and allowed         7 it's embedded into a computer that they
     8 customers to place orders electronically         8 use to access that certificate using what
     9 through encryption. And a lot of DEA             9 they call the -- I think it's dual
    10 technology involved, so that can be             10 credentials that they use.
    11 completed, you know, without the paper          11            And then once that digital
    12 forms. So that's really the next                12 certificate is in the customer's
    13 generation of the narcotic paper order          13 computer, they can use that to build an
    14 forms.                                          14 order using our system, and then shoot it
    15       Q. And so that's the way that             15 out electronically.
    16 customers place an order with the               16       Q. And then it's received on
    17 company, using that system?                     17 the other end electronically as well?
    18       A. Not all customers. A lot of            18       A. Yeah, it goes through the
    19 customers are still on the old paper 222        19 CRL. It's called the certificate
    20 forms, a lot of the old pharmacists that        20 revocation list. It's a daily transfer
    21 are not really technology savvy. But all        21 that we receive as the wholesaler to
    22 the new customers pretty much                   22 verify that that digital certificate is
    23 transitioned to the CSOS program, yes.          23 valid. And then once it passes that
    24       Q. And this started in the                24 test, it reaches our system. And then it


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     1 goes through all of our checks, credit,         1           You also mentioned the order
     2 licensing, diversion, you know, order           2 monitoring program. If it exceeds the
     3 monitoring program. And then if it              3 parameters of the order monitoring
     4 passes that, it goes right into pick,           4 program, that's another reason?
     5 pack, and ship.                                 5           MR. NICHOLAS: Object to the
     6       Q. Okay. So is there like a               6      form.
     7 terminal inside the distribution center         7 BY MR. PIFKO:
     8 where people see the order that comes in?       8      Q. Is that correct?
     9 How does that work?                             9      A. Absolutely. It's one of
    10       A. It's been a while. I don't            10 the -- it's one of the filters that it
    11 remember specifically how they look at         11 has to go through in order to go through
    12 it. If it hits a hold, like a credit           12 the system. It has to hit that -- hit
    13 hold or a -- you know, there's license         13 that parameter.
    14 hold or there's a million different kinds
    15 of holds that it can go into it, it will
    16 hit a screen that the associate has to
    17 look at and determine why it's not going
    18 through.
    19           So it might be kicked back
    20 to the customer if it -- if it fails one
    21 of the tests. If it doesn't fail a test,
    22 it goes right into the PKMS system where
    23 it's picked, packed, and shipped.
    24       Q. So there's someone whose job
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     1 it is to sit at a computer terminal and
     2 monitor the orders that are getting
     3 flagged for various failures?
     4           MR. NICHOLAS: Object to the
     5       form.
     6           THE WITNESS: Yeah. It's --
     7       I think in most cases it's the
     8       processing manager of the
     9       distribution center. He kind of
    10       runs brains of the distribution
    11       center.
    12 BY MR. PIFKO:
    13       Q. So did you say the data
    14 processing manager? Is that what you
    15 said?
    16       A. DP manager. Data
    17 processing.
    18       Q. Okay. And so one of the
    19 things could be like the license is
    20 expired in the system, so it's rejecting
    21 the order, or there's an issue like you
    22 said with the credit, maybe the payment
    23 is not going to process so that gets
    24 rejected.


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                                                      1  performed a very detailed audit during
                                                      2  these -- during these periods. So we
                                                       3 would -- we would cover the questions as
                                                       4 it was indicated on the audit checklist.
                                                       5          And depending on -- they
                                                       6 would -- generally part of that process
                                                       7 would be for the compliance manager to
                                                       8 explain how they manage their RPICs for
                                                       9 their distribution center. And if there
                                                      10 were questions, we would ask them at that
                                                      11 time. But we would -- we would ask
    12      Q. When you were a regional               12 detailed questions about how it was being
    13 manager -- director, I guess -- well, you      13 managed when we did the audits.
    14 had all those different kinds of titles,       14      Q. About how many RPICs would a
    15 right?                                         15 particular distribution center have at
    16      A. Yes.                                   16 any one time?
    17      Q. That responsible person in             17      A. It would depend on the
    18 charge, is that someone who you would --       18 distribution center. Anywhere from three
    19 I understand they didn't report to you,        19 or four to maybe ten depending on the
    20 but is that someone who you would have         20 size of the distribution center and how
    21 input into whether they were performing        21 busy they were. We have some
    22 their functions with respect to the order      22 distribution centers that are very small
    23 monitoring program?                            23 and they service a very small area. Some
    24          MR. NICHOLAS: Object to the           24 are big. So it would depend.

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     1      form.                                     1        Q. How does the Lockbourne
     2           THE WITNESS: We would look           2  facility fare in the size, comparative
     3      at, you know, what they were doing         3 size that you were just describing?
     4      during our audits. The compliance          4       A. Larger.
     5      manager who reported up to the             5       Q. Okay. That's a place that
     6      regional director had                      6 would have more like ten RPICs?
     7      responsibility of all the RPICs            7       A. That's just a -- just a
     8      within that distribution center.           8 general --
     9           So -- so there would be sort          9       Q. Estimate?
    10      of an extended responsibility from        10       A. -- idea. Probably, yeah. I
    11      the director if it was the                11 mean, average for larger divisions,
    12      directors distribution center that        12 probably maybe between six and eight.
    13      he or she was auditing.                   13 But it's hard to say. They vary from DC
    14 BY MR. PIFKO:                                  14 to DC, but yes.
    15      Q. And that compliance manager,           15       Q. Okay. Is there -- as part
    16 that's someone that you would interact         16 of your audit keeping, are you familiar
    17 with in the audit process, correct?            17 with records that would describe who was
    18      A. Yes.                                   18 holding those roles at any particular
    19      Q. Okay. And would you ask                19 time?
    20 them questions about their compliance          20       A. Yes. I believe there was a
    21 with overseeing the responsible people in      21 list of the RPICs at the distribution
    22 charge as part of your audit?                  22 center.
    23      A. If we had reason to ask them           23       Q. Okay. Do you know what the
    24 as part of the audit. I mean, we -- we         24 name of that list was called?


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     1      A. No. I don't remember what                1      form.
     2 it was called.                                   2          THE WITNESS: They vary from
     3      Q. Would that be kept in some               3      DC to DC, how they maintain their
     4 central file at the distribution center?         4      files. But when we audited them,
     5      A. Yes. It would. I think we                5      they would bring all the files to
     6 used the training documents as the list          6      us.
     7 as who was trained and who was performing        7 BY MR. PIFKO:
     8 that function.                                   8      Q. Okay. And you were just --
     9      Q. What do you mean by that?                9 they knew the types of files that you
    10 There was a training?                           10 wanted when you came because you had done
    11      A. Yeah. The RPICs were                    11 these audits before?
    12 required to undergo training, so we             12      A. Yeah, there's a document
    13 would -- you know, I think it was an            13 that indicates -- that we would give them
    14 annual training requirement that they all       14 at the onset of the audit that would
    15 had to go through. So we would use that         15 indicate everything that we needed.
    16 as the document.                                16      Q. Okay. So to your knowledge,
    17      Q. So when you are conducting              17 what -- as an auditor, what was the
    18 the audit, you look at the records of who       18 period for how long back they kept those
    19 was trained and when?                           19 records?
    20      A. That was one of several                 20      A. It would depend on the
    21 things that we looked at, yes.                  21 document and the record. We had a
    22      Q. Was there a way to tell if              22 record -- what do we call it? A
    23 someone was an RPIC but they weren't            23 retention policy. And it would depend.
    24 being trained?                                  24 You know, different records had different

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     1      A. Yes. That's one of the                   1 retention policies.
     2 things that we audited for.                      2      Q. Okay. Was that -- the
     3      Q. Okay. And there was                      3 retention policy, is that part of the
     4 documentation of who those people were           4 audit checklist?
     5 and their training history? That would           5      A. No. That's laid out by the
     6 be kept at the distribution center?              6 legal department, I believe.
     7      A. Yes.                                     7      Q. Okay. But it's a document
     8      Q. Is there like -- were these              8 that, like Form 222 should be kept this
     9 on paper files or electronic files?              9 long, training documents should be kept
    10      A. We used paper files. When               10 this long, is that -- that's kind of what
    11 training is conducted at the distribution       11 it would look like?
    12 center, they would have to sign that they       12      A. Yeah, it would -- that would
    13 were trained, and they show the date of         13 be identified in the audit checklist, how
    14 the training and the details of the             14 far back they are required to have those
    15 training. So we would use that as the           15 documents and we would verify that.
    16 basis.                                          16      Q. Okay. And then when you
    17      Q. In your experience as an                17 filled out these audit reports, would you
    18 auditor, were the training files, or --         18 save them to some centralized drive?
    19 and general compliance files that you           19      A. Yes. They would be kept
    20 would be looking at, were they all kept         20 electronically.
    21 in a central location, like go to this          21      Q. On the S drive?
    22 room and that's generally where the             22      A. I don't recall putting them
    23 compliance files are kept?                      23 on the S drive. I know that they were
    24          MR. NICHOLAS: Object to the            24 filed in our -- in our -- in our system,


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     1 which would be Law Track. And that's             1      principal CSOS coordinator for
     2 updated. So that server is maintained            2      ABC, which means I'm the main --
     3 for -- for that use.                             3      I'm the main liaison between the
     4       Q. You mentioned that from time            4      DEA and CSOS. So I worked with
     5 to time you go back and access or                5      them a lot regarding CSOS
     6 investigators go back and access                 6      regulations and drafting our
     7 historical records. Are those audit              7      policies regarding the CSOS
     8 reports something that people access and         8      program. So that was a lot of
     9 you've accessed?                                 9      interaction.
    10       A. Yes. That would be part of             10          And beyond that would be the
    11 our due diligence documentation that            11      renewal process earlier on.
    12 would be readily retrievable and used           12      Renewing the batch renewals. And
    13 from time to time as necessary.                 13      above and beyond that would have
    14       Q. Okay. And so this day you              14      been just -- he was a good contact
    15 can still access them and use them?             15      for us so we would use him as a
    16       A. Yes.                                   16      contact for a lot of regulatory
    17       Q. So I know we've gone a                 17      clarification.
    18 little branch of the tree there. But I          18 BY MR. PIFKO:
    19 was asking you still about DEA agents           19      Q. So you just felt you had a
    20 that you interacted with. And we had            20 good relationship with him, so if you had
    21 talked about Mr. Mapes.                         21 a question you would just pick up the
    22           So you mentioned that you             22 phone and -- and call him or something,
    23 interacted with him on licensing                23 is that kind of what you're telling me?
    24 procedures and on the CSOS program. How         24      A. Exactly.
                                            Page 239                                           Page 241
     1 about any other types of issues that you         1      Q. Okay. How about e-mails,
     2 interacted with Mr. Mapes?                       2 did you e-mail with him when you had
     3      A. As an agent?                             3 questions?
     4      Q. Yes.                                     4      A. No. The DEA don't like
     5      A. When he was with DEA.                    5 e-mails too much. They -- they have a
     6      Q. Yes.                                     6 firewall. So we would get -- once in a
     7      A. Other than just other                    7 while they would respond via written
     8 miscellaneous requests for clarification         8 form, but usually we would get verbal
     9 of regulations. There was probably two           9 clarification on regulations.
    10 or three instances with that that I can         10      Q. Okay. So you have -- the
    11 vaguely recall, but I don't remember            11 nature of your relationship with
    12 specifics. But it would really pretty           12 Mr. Mapes was such that you could just
    13 much -- that would pretty much cover            13 pick up the phone and -- if you had a
    14 the -- the instances that I interacted          14 question and talk to him and get an
    15 with Mike.                                      15 answer?
    16      Q. So requests for                         16      A. Yeah, he knew who I was so
    17 clarification or regulation, what was the       17 he would take my call.
    18 protocol, how would that -- and the             18      Q. Okay. And then did you take
    19 occasions that you remember kind of             19 notes of these calls ever?
    20 generally, how would that interaction           20      A. God, I don't recall.
    21 with Mr. Mapes occur?                           21      Q. Okay.
    22          MR. NICHOLAS: Object to the            22      A. With clarification of
    23      form.                                      23 regulation, we would -- we would use
    24          THE WITNESS: Well, I'm the             24 his -- his -- his input certainly within


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     1 the documentation that we were                 1      many years since I've interacted
     2 completing, yeah.                              2      with him. It's hard for me to
     3      Q. That's what I was going. So            3      really state specifically how we,
     4 if you're working on some sort of              4      you know, maintained the
     5 regulatory question that you had, and you      5      information received from Mike. I
     6 called him up, would you write down,           6      don't recall. It would be -- it
     7 okay, I talked to him and he said this,        7      would vary depending on what we
     8 and put that in a file somewhere, so that      8      were asking him. Sometimes it was
     9 everybody else could see?                      9      a very minor issue, sometimes it
    10      A. I don't recall specifics              10      was a more important issue.
    11 when I interacted with Mike. But yes,         11 BY MR. PIFKO:
    12 generally with CSOS regulations, we would     12      Q. Okay. And then would you
    13 use his input as the basis of our -- of       13 save, like if you sent him a letter,
    14 our policy.                                   14 would that get saved on the S drive or
    15      Q. Okay. So you would be                 15 something like that?
    16 working on some sort of policy and then       16      A. Yes. Any written
    17 maybe you would write something in there      17 correspondence to the DEA would generally
    18 on the basis of the conversation that you     18 be kept in a -- in a form, in a
    19 had?                                          19 retrievable, you know, format.
    20          MR. NICHOLAS: Object to the          20      Q. If you took notes on a
    21      form.                                    21 discussion with him and put it into some
    22          THE WITNESS: Yeah. We                22 sort of memo or, you know, something like
    23      would document that he -- that he        23 that, would that be saved on the S drive?
    24      clarified, you know, specific            24      A. It would depend. Maybe not
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     1      regulation and what it meant and          1 always.
     2      how we were to interpret that. So         2      Q. Okay. Depending on the
     3      that's -- that's usually the way          3 significance of maybe the discussion, is
     4      we used his input.                        4 that what you're getting at with me?
     5 BY MR. PIFKO:                                  5          MR. NICHOLAS: Object to the
     6      Q. Okay. And is there like a              6      form.
     7 format for a document where you would put      7          THE WITNESS: Yeah. It
     8 that kind of information in?                   8      would depend on what we were
     9      A. I'm trying to remember my              9      calling him about.
    10 interaction with him. I don't think           10 BY MR. PIFKO:
    11 there was any specific format. I think        11      Q. Okay.
    12 we just clarified, you know, within our       12      A. I mean I had multiple
    13 correspondence that he clarified, you         13 discussions with Mike over years. So it
    14 know, this is the interpretation that we      14 would just -- it would cover the gamut.
    15 should use.                                   15 BY MR. PIFKO:
    16      Q. Okay. So maybe you'd sent             16      Q. Right. But if it was a more
    17 him a follow-up letter after the call, is     17 significant issue, you would be more
    18 that what you're saying?                      18 likely to write that down than if it was
    19          I'm just trying to                   19 a minor thing, you know, you would just
    20 understand, I'm trying to visualize what      20 leave that be without documenting it, is
    21 you would do.                                 21 that what you're telling me?
    22          MR. NICHOLAS: Object to the          22      A. I can speak for myself.
    23      form.                                    23 Yes, I would -- I would be likely -- it
    24          THE WITNESS: It's been so            24 would be likely that I would maintain it


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     1 in a written form.                              1      Q. Were you close with
     2      Q. Okay. If it was a more                  2 Mr. Zimmerman?
     3 significant issue?                              3      A. Well, I've worked with him
     4      A. Yes.                                    4 for the -- the entire time that I've been
     5      Q. Okay. You are aware that at             5 with the company, so I know Chris well.
     6 some point, we already talked about it,         6      Q. Okay. And you moved -- you
     7 Mr. Mapes became a consultant for the           7 both shared moving from California to
     8 company, correct?                               8 here, correct?
     9      A. Yes, he did.                            9      A. That's correct.
    10      Q. Are you familiar with how he           10      Q. Okay. Do you interact with
    11 came to be a consultant?                       11 Mr. Zimmerman outside of work?
    12      A. I don't recall. And that               12          MR. NICHOLAS: Objection.
    13 was -- that happened over my head.             13      But go ahead.
    14      Q. So that's -- that was going            14          THE WITNESS: On occasion.
    15 to be my question, if you were involved        15 BY MR. PIFKO:
    16 in the discussions at all.                     16      Q. Okay. Not often though?
    17      A. Not that I recall.                     17          MR. NICHOLAS: Same
    18      Q. Okay. You testified that               18      objection. Go ahead.
    19 you felt like you had a close                  19          THE WITNESS: I would say
    20 relationship with him, correct?                20      not often.
    21      A. Yeah. We worked closely.               21 BY MR. PIFKO:
    22      Q. Okay. Were there other                 22      Q. Okay. How about Kyle
    23 people at the company who had a close          23 Wright, another DEA agent. Have you
    24 relationship with Mr. Mapes?                   24 heard of him?

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     1          MR. NICHOLAS: Object to the            1      A. The name rings a bell, but I
     2     form.                                       2 cannot put his name to a face.
     3          THE WITNESS: Yeah, he                  3      Q. Okay. Do you feel like
     4     worked with us on all the team              4 you've heard the name before though?
     5     members pretty closely.                     5          MR. NICHOLAS: Object to the
     6 BY MR. PIFKO:                                   6      form.
     7     Q. Mr. Mays, did he have a                  7          THE WITNESS: Yeah, vaguely.
     8 close relationship with him too?                8 BY MR. PIFKO:
     9          MR. NICHOLAS: Object to the            9      Q. Okay. We talked about --
    10     form.                                      10 you mentioned that in 2005, you took on
    11          THE WITNESS: I can't really           11 some role as performing investigations
    12     speak to how David Mays'                   12 for the company, correct?
    13     relationship, what it was with             13      A. That's correct.
    14     Mike. I think -- I know he worked          14      Q. Okay. Do you remember how
    15     with him.                                  15 you came to -- you said that that was an
    16 BY MR. PIFKO:                                  16 additional responsibility that you took
    17     Q. Okay. How about                         17 on. Do you remember saying that?
    18 Mr. Zimmerman?                                 18      A. Yes, I do.
    19          MR. NICHOLAS: Same                    19      Q. Okay. Do you remember how
    20     objection.                                 20 you came on to take on that additional
    21          THE WITNESS: Same answer.             21 responsibility?
    22     I can't really speak to how he,            22      A. It was so long ago. It was
    23     you know, worked with Mike.                23 13 years ago. I know it was assigned to
    24 BY MR. PIFKO:                                  24 me as a collateral duty in addition to my


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     1 audit responsibilities and my                  1       form. Go ahead.
     2 responsibilities for my region. But I          2           THE WITNESS: It would just
     3 don't remember how it actually came to          3      be the lead team, regional
     4 me.                                             4      directors, our senior director,
     5      Q. Are you aware that Mr. Mays             5      and Chris would be involved in
     6 had a meeting with Mr. Mapes and Kyle           6      those meetings.
     7 Wright in August of 2005?                       7 BY MR. PIFKO:
     8      A. No.                                     8      Q. So you said at any
     9      Q. Mr. Mays traveled to D.C. to            9 particular time there would be four to
    10 meet with them to discuss internet             10 five regional directors?
    11 pharmacies. Do you remember hearing            11      A. Yes.
    12 about that meeting?                            12      Q. Okay. So -- and then your
    13      A. I don't recall that.                   13 boss, and then Mr. Zimmerman might attend
    14      Q. Okay. Do you recall                    14 as well?
    15 Mr. Mays coming to you and -- and saying       15      A. Yes.
    16 the -- the DEA was interested in               16      Q. So maybe seven or eight
    17 increasing the level of due diligence          17 people?
    18 that distributors should be conducting on      18      A. Yeah. It seemed like --
    19 their customers as a result of internet        19 yeah, it would mainly be the regional
    20 pharmacy concerns?                             20 directors, Steve, Chris, and I think the
    21      A. No, I don't recall that.               21 investigations team would sometimes sit
    22      Q. Mr. Mays received a                    22 in on those meetings. But generally
    23 presentation from the DEA at that time         23 speaking, yeah, that would be the core
    24 concerning due diligence and regulatory        24 group that would meet.

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     1 requirements and internet pharmacies. Do       1       Q. The investigations team,
     2 you know if he shared that with you at         2  that's Bruce Gundy's team?
     3 that time in 2005?                              3      A. Yes.
     4          MR. NICHOLAS: Object to the            4      Q. And how many people were on
     5      form.                                      5 that team?
     6          THE WITNESS: If he did, I              6      A. It varied over the years. I
     7      don't remember it.                         7 don't recall exactly. We had
     8 BY MR. PIFKO:                                   8 investigators that worked for him for a
     9      Q. Okay. You said that from                9 number of years. I don't remember the
    10 time to time you had in-person meetings        10 number.
    11 with members of your team, the other           11      Q. So in addition to these
    12 regional directors and managers?               12 in-person meetings, did you have
    13      A. Yes.                                   13 telephone conversations regularly with
    14      Q. How frequently did you meet?           14 the team?
    15      A. We would have annual                   15      A. Yes. We would -- we would
    16 meetings. I don't remember when they           16 communicate regularly with each other.
    17 started. But I know we did that for a          17      Q. Just informally or did you
    18 long period of time.                           18 have like a formal weekly or monthly
    19      Q. And those were in person?              19 telephone call?
    20      A. Yeah. They would all come              20      A. I think we had a formal team
    21 to Chesterbrook.                               21 call. It might have been weekly. It
    22      Q. Okay. And then how many                22 might have been biweekly. It might have
    23 people would attend those meetings?            23 been monthly. I think it changed over a
    24          MR. NICHOLAS: Object to the           24 period of years. So that's really --


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     1 have a formal meeting, and then we would      1            So when we would audit
     2 talk to each other, you know, on an           2  their -- excuse me. When we would audit
     3 informal basis as well.                        3 their distribution centers, obviously we
     4      Q. So did you guys e-mail with            4 would work with them closely on the
     5 each other as well?                            5 results.
     6      A. Yes.                                   6      Q. You held your role for
     7      Q. Very often?                            7 13 years. Did the other people in the
     8          MR. NICHOLAS: Object to the           8 other regions have a long tenure in their
     9      form.                                     9 positions as well?
    10          THE WITNESS: Pretty                  10      A. Yeah, for the most part.
    11      regularly.                               11 Yeah. Everybody with AmerisourceBergen
    12 BY MR. PIFKO:                                 12 generally stays for a long time. There's
    13      Q. If there was a new thing              13 very little attrition with our company.
    14 that was being rolled out, would you guys     14      Q. When we talk about
    15 discuss that over e-mail?                     15 interacting with people over the e-mail
    16          MR. NICHOLAS: Object to the          16 and telephone and these annual in-person
    17      form.                                    17 meetings, it's -- the people involved
    18          THE WITNESS: It would                18 were the names that you just listed for
    19      depend. But we communicated              19 the most part?
    20      regularly.                               20           MR. NICHOLAS: Object to the
    21 BY MR. PIFKO:                                 21      form.
    22      Q. Okay. So you don't recall             22           THE WITNESS: For the most
    23 Mr. Mays ever coming back and telling any     23      part. There were other people
    24 members of the team -- I know you said        24      that came and left. But those
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     1 you specifically, but my question is, do      1   were the main people that were
     2 you recall whether Mr. Mays had a meeting  2      there the long-term.
     3 with the team at any point saying the DEA  3 BY MR. PIFKO:
     4 is concerned about suspicious order        4      Q. Okay. I'm going to hand you
     5 requirements and internet pharmacies and,  5 a document.
     6 you know, they want us to take on some     6          So you recall also that you
     7 additional due diligence efforts?          7 said that one of your jobs was to --
     8          MR. NICHOLAS: Object to the       8 after the Amerisource and Bergen
     9      form.                                 9 corporation merger, was to get the
    10          THE WITNESS: It's been so        10 licensing and regulatory filings of all
    11      many years. I just don't recall.     11 the distribution centers in order; is
    12 BY MR. PIFKO:                             12 that correct?
    13      Q. Okay. Who were some of the        13          MR. NICHOLAS: Object to the
    14 other counterparts that you interacted    14      form.
    15 with who held these positions, regional   15          Go ahead.
    16 director positions?                       16          THE WITNESS: Yeah.
    17      A. The names?                        17 BY MR. PIFKO:
    18      Q. Yeah.                             18      Q. Okay.
    19      A. I think I named them before.      19      A. Yeah, the licensing portion
    20 There was Greg Madsen, Erica Burwell,     20 of my responsibility which ended shortly
    21 Cathy Marcum. There was a guy named John 21 thereafter. But yes.
    22 Gibson, who has since left the company.   22      Q. Okay. And as part of that
    23 More recently Tony Droz is one of the     23 effort you had to look into the files of
    24 newer directors that I worked with a lot. 24 the other distribution centers to get


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     1 everything together?                           1  separate checks, we had one big check and
     2       A. Yeah, we maintained all the           2  one big application, yes.
     3 licensing in electronic format for all          3       Q. Okay. What kind of -- do
     4 the distribution centers.                       4 you remember the kinds of information
     5       Q. And that was something that            5 that are called for on the application?
     6 you reviewed as part of that effort?            6       A. The DEA batch renewal was
     7       A. Well, I renewed them.                  7 pretty straightforward. There was only
     8       Q. Right, but in order to                 8 about five questions on there. The state
     9 perform the renewal, you had to look            9 applications would vary from state to
    10 at --                                          10 state. They were -- they spanned from
    11          MR. NICHOLAS: I think he              11 little to big. So -- and again, that was
    12       thought -- I thought -- I think he       12 so long ago. You know, the questions
    13       thought you said renewed. And it         13 varied.
    14       was renewed/reviewed thing.              14       Q. When you're renewing a
    15 BY MR. PIFKO:                                  15 license, is there any discussion of
    16       Q. Okay. Okay. So all I was              16 compliance activities that occurred at
    17 asking is if you reviewed the records          17 the facility as far as whether the
    18 when you were renewing the licenses.           18 license should be renewed?
    19       A. Well, we had the licenses.            19           MR. NICHOLAS: Object to the
    20 There wasn't much to review. We just --        20       form.
    21 we knew that they expired, generally           21           THE WITNESS: Yeah, I think
    22 speaking, once a year. So we would have        22       some -- some applications ask
    23 to renew those -- those licenses, you          23       questions about previous
    24 know, periodically. So that was a lot of       24       discipline.
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     1 work involved in that.                         1  BY MR. PIFKO:
     2      Q. Okay. What's the -- what               2        Q. Okay. Do you remember
     3 was the nature of the work that goes --         3 looking into that when you were in charge
     4 involved -- into a renewal of a license?        4 of renewing the licenses?
     5      A. Mainly filling out the                  5       A. Yeah. That was one of
     6 application. Those applications would           6 the -- one of the things that we -- that
     7 have various questions on them. We would        7 we reviewed as part of completing it,
     8 have to fill them out one at a time. You        8 yeah.
     9 know, the states have their own renewal         9           (Document marked for
    10 application. The DEA switched over to          10       identification as Exhibit
    11 batch renewal, so that was a lot easier.       11       AmerisourceBergen-Cherveny-1.)
    12          Just -- just really                   12 BY MR. PIFKO:
    13 completing the application and cutting         13       Q. So I'm handing you what's
    14 the checks.                                    14 marked as Exhibit 1. For the record,
    15      Q. Batch renewal, that's the              15 it's a few-page document, Bates-labeled
    16 way that a company that is that has            16 ABDCMDL00146183 through 146186. And it's
    17 multiple licenses can renew them all in        17 an e-mail attaching a memorandum of
    18 one -- in one setting?                         18 understanding from April 20th, 2000. And
    19      A. Exactly.                               19 the e-mail is dated December 11, 2013,
    20      Q. So you use one application,            20 from the witness to Bruce Gundy. It
    21 maybe it has discussions about the             21 talks about a Columbus MOU.
    22 various registrations, but a centralized       22           Take a minute to review
    23 way of submitting it?                          23 that, and let me know when you're -- when
    24      A. Yeah, instead of having 26             24 you're done.


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     1      A. Okay.                                1       A. Yes, I do.
     2      Q. Do you remember discussing           2       Q. Do you have an understanding
     3 this MOU with Mr. Gundy?                      3 about what that alleged prohibited act
     4      A. No, I do not.                         4 was about?
     5      Q. Okay. Do you have any                 5      A. With regard to this
     6 reason to dispute that you had the            6 particular MOU?
     7 discussion with Mr. Gundy about this MOU?     7      Q. Yes.
     8          MR. NICHOLAS: Object to the          8      A. It happened in 2000. It's
     9      form.                                    9 just so long ago. I don't recall this
    10          THE WITNESS: No. The                10 particular occurrence.
    11      document indicates that I               11      Q. Okay. Item 4 here says,
    12      forwarded this document to him.         12 "Failed to adequately supervise employees
    13      So I wouldn't dispute that.             13 having access to storage areas resulting
    14 BY MR. PIFKO:                                14 in a breach of confidentiality concerning
    15      Q. Okay. Do you remember                15 criminal investigation required by 21
    16 looking into what this MOU was about?        16 C.F.R. 1301.71(b)11."
    17      A. No.                                  17          Do you see that?
    18      Q. The title of the document as         18      A. Wait, which -- which
    19 referenced in the first page,                19 section, which --
    20 ABDCMDL146183 it has the attachment, the     20      Q. 4.
    21 subject is "Columbus MOU."                   21      A. Number 4. Yes, I see that.
    22          Do you see that?                    22      Q. Okay. Do you have an
    23      A. Yes, I do.                           23 understanding about that -- what that
    24      Q. Do you have an understanding         24 alleged prohibited act was about?

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     1 about whether this was specific to a         1    A. No. April 2000. That was a
     2 facility in Columbus?                      2 long time ago. I don't recall this.
     3       A. Yes. It looks like it was         3      Q. You, as part of your job,
     4 an -- it was an MOU for our Columbus       4 we've talked, you've had some
     5 distribution center.                       5 responsibilities for discharging the
     6       Q. Okay. It's got here --            6 company's compliance with certain
     7 going to MDL -- ABDCMDL00146184, it tells  7 controlled substances laws, correct?
     8 -- it says, "The notice of hearing allege  8      A. Yes.
     9 that prohibited acts occurred in           9      Q. Okay. Do you have a
    10 violation of the Comprehensive Drug       10 familiarity with what 21 C.F.R. 1301.71
    11 Enforcement Administration Abuse          11 (b)11 is?
    12 Prevention and Control Act of 1970 and    12          MR. NICHOLAS: Object to the
    13 the regulations promulgated thereunder,   13      form.
    14 namely that the respondent, Amerisource   14          THE WITNESS: Reference to
    15 Corporation has" -- and then it's got     15      Item 4?
    16 four issues here.                         16 BY MR. PIFKO:
    17           Do you see that?                17      Q. Yeah. That citation, is
    18       A. Yes.                             18 that --
    19       Q. Okay. And one of them is,        19      A. No, I --
    20 "Failed to provide effective controls and 20      Q. -- something that you're
    21 procedures to guard against the theft and 21 familiar with?
    22 diversion of controlled substances        22      A. Unless I had it in front of
    23 required by 21 C.F.R. 1301.71(a)."        23 me, I wouldn't -- I wouldn't want to
    24           Do you see that?                24 speculate what that regulation states


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     1 exactly.                                       1  steps were taken.
     2      Q. Okay. How about 1301.71(a),            2       Q. Do you recall anything
     3 do you know what that's about?                  3 unique to the Columbus facility as far as
     4          MR. NICHOLAS: Same                     4 how they were performing their duties or
     5      objection.                                 5 procedures when you first came into the
     6          THE WITNESS: I would want              6 role as regional director?
     7      to see the regulations before I            7      A. No.
     8      comment on it.                             8      Q. It's got some names here of
     9 BY MR. PIFKO:                                   9 people who, quote, appear -- "appearing
    10      Q. As part of your working to             10 on behalf of the respondent." Do you see
    11 put all the facilities together and            11 that at the top of the page?
    12 applying for the licenses, do you recall       12      A. Yes.
    13 uncovering this when you were doing the        13      Q. Okay. Do you know who
    14 transition?                                    14 Rodney Bias is?
    15          MR. NICHOLAS: Objection.              15      A. Yes, I knew Rodney.
    16      Object to the form.                       16      Q. Okay. What was his role?
    17          THE WITNESS: No.                      17      A. He was, I believe, director
    18 BY MR. PIFKO:                                  18 of regulatory compliance for Amerisource
    19      Q. No?                                    19 at the time of the merger.
    20          Do you know if any money was          20      Q. And do you know what
    21 paid in connection with this?                  21 happened to him after -- after the
    22      A. It states anything here --             22 merger?
    23 no, I don't know.                              23      A. He subsequently left the
    24      Q. It says here at the 146185,            24 company. I don't remember when exactly.

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     1 "The respondents having been fully             1       Q. Did you interact with him
     2 advised of the prohibited acts which have      2  regularly, or he wasn't someone that you
     3 occurred have agreed to comply with the         3 worked with?
     4 provisions of the comprehensive Drug            4      A. No, I worked with him pretty
     5 Enforcement Administration Abuse,               5 regularly when he was with the company.
     6 Prevention and Control Act of 1970 and          6      Q. Okay. Do you have an
     7 the regulations issued thereunder               7 estimate about when he left the company?
     8 hereafter set forth." And then it's got         8      A. No.
     9 four items.                                     9      Q. How about Brent Wilheim of
    10          Do you see that?                      10 the Columbus operations manager. Do you
    11      A. Yes.                                   11 know who that is?
    12      Q. Okay. It says, "Respondent             12      A. Yeah, vaguely. It was a
    13 will provide effective controls and            13 long time ago.
    14 procedures to guard against theft and          14      Q. Was that someone that you
    15 diversion of controlled substances             15 interacted with?
    16 required by 21 C.F.R. 1301.71(a)."             16      A. Not as much as Rodney.
    17          Do you see that?                      17 Rodney was a member of the corporate
    18      A. Yes.                                   18 regulatory team. And Brent was an
    19      Q. Do you have any                        19 operations manager of the DC, so I would
    20 understanding about what steps were taken      20 have a lot less interaction with him.
    21 to comply with that?                           21      Q. Any of these people, John
    22      A. No. Having been so long                22 Briney, Frieda Hein, did you interact
    23 ago, you know, 18 years ago, I don't           23 with any of them?
    24 recall this at all. So I don't know what       24      A. Yeah, Frieda was the
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     1 compliance office, she was the compliance        1 they report up to a program manager. So
     2 manager, I worked with her.                      2 they would be sort of the equivalent of
     3     Q. Okay.                                     3 a -- of a -- like our distribution
     4     A. I don't remember John                     4 center. And then, you know, the program
     5 Briney.                                          5 manager would be equivalent to like a
     6     Q. Frieda, how long did you --               6 regional director. So within DEA, that's
     7 over your tenure do you recall working           7 the way I would -- I would explain their
     8 with her?                                        8 roles. So she was in charge of that DEA
     9     A. Several years. I don't                    9 office that had that jurisdiction over --
    10 remember specific dates.                        10 over that geographic area.
    11     Q. At some point she left the               11      Q. You talked about your
    12 company?                                        12 closeness with Mr. Mapes. Did you feel
    13     A. I believe so, yeah.                      13 that you had a closeness with her?
    14     Q. Have you talked to Rodney or             14          MR. NICHOLAS: Object to the
    15 Frieda in -- at any time in the last few        15      form.
    16 years?                                          16          THE WITNESS: No, not as
    17     A. No.                                      17      much.
    18     Q. It's got some people who are             18 BY MR. PIFKO:
    19 identified as appearing on behalf of the        19      Q. Okay. Did you ever pick up
    20 DEA below that. Do you see that?                20 the phone and ask her compliance
    21     A. Yes.                                     21 questions?
    22     Q. Do you know who any of those             22      A. Not that I recall.
    23 people are?                                     23      Q. Do you recall if you ever
    24     A. I remember Helen Kaupang.                24 sent her any letters or e-mails asking

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     1 She was the group supervisor of the              1 her compliance questions?
     2 Columbus office I believe, so I did work         2      A. No. She was a -- she was a
     3 with her.                                        3 group supervisor and Mike was at
     4      Q. Okay. You worked with her                4 headquarters. So Mike would have been a
     5 somewhat regularly?                              5 more appropriate person because he was --
     6      A. She was the group supervisor             6 he was in charge of the programs. So I
     7 for the -- for the DEA that held                 7 did not have as much interaction with her
     8 jurisdiction for our distribution center.        8 as I had with Mike.
     9 So I worked with her several times               9      Q. So you knew that if you
    10 throughout my tenure while I had that           10 wanted guidance from the DEA, it would be
    11 distribution center.                            11 more appropriate to ask someone at
    12      Q. She was in that position as             12 headquarters than someone at a regional
    13 long as you could remember while you            13 level?
    14 were -- you had your role?                      14      A. Yeah. Their -- their
    15      A. Yeah, I don't remember what             15 opinion would carry more weight from our
    16 years. But I remember -- I remember the         16 standpoint as a wholesaler.
    17 name and I remember working with her.           17      Q. Let's go back to
    18      Q. When you say group                      18 the additional investigation
    19 supervisor, that's what it says here on         19 responsibility that you took on in 2005.
    20 the page, what -- what does that -- what        20 What -- I asked you if you remembered how
    21 is your understanding of what that              21 you kind of came to take that on. You
    22 entailed?                                       22 said you didn't really have a clear
    23      A. The group supervisors are in            23 direct remembrance of the meeting or
    24 charge of the -- of the field office, and       24 specific thing. But you just remember


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     1 that you took it on, correct?                   1      A. I know it was periodic. I
     2      A. That's correct.                         2 don't remember the frequency.
     3      Q. Okay. So, what specifically             3      Q. Who told you that your new
     4 were these additional investigation             4 responsibility was to look at this
     5 responsibilities that you took on at that       5 report?
     6 time?                                           6      A. I believe it was Steve Mays.
     7      A. So the report that I                    7      Q. And you know it was in 2005?
     8 reviewed that generated periodically was        8      A. I believe it was within that
     9 called the possible suspicious order            9 two-year period, from 2005 to 2007. But
    10 report. So that report was generated           10 again that was a long time ago. That's
    11 based on pre-set parameters, and it would      11 just my recollection.
    12 come to my office. I would separate it         12      Q. How would this report come
    13 by customer, and I would conduct separate      13 to you, by -- by e-mail?
    14 investigations pursuant to that report,        14      A. No, it would come in
    15 to those customers.                            15 hardcopy.
    16      Q. Do you know how that report            16      Q. Okay. Through like
    17 was generated?                                 17 interoffice mail?
    18      A. I don't recall. I don't                18      A. Yeah, I don't know where it
    19 recall the parameters and I don't recall       19 was generated from. But I know that it
    20 how it was generated. I just know that         20 was -- it would end up on my desk at the
    21 it was generated and it came to my             21 predesignated time, you know, at the
    22 office.                                        22 frequency that it was established for.
    23      Q. Do you know if that was a              23      Q. Okay. So if it was like
    24 report that was generated prior to you         24 every week on a Friday when that would

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     1 having the involvement with it and then         1 come, or once a month, whatever, it came
     2 you were just a new person that was             2 with that regularity and someone would
     3 reviewing it and it had been produced           3 deliver it to you?
     4 before and others had reviewed it?              4          MR. NICHOLAS: Object to the
     5          MR. NICHOLAS: Object to the            5       form.
     6      form.                                      6          Go ahead.
     7          THE WITNESS: I honestly                7          THE WITNESS: Yes.
     8      don't recall. It was so long ago.          8 BY MR. PIFKO:
     9 BY MR. PIFKO:                                   9       Q. Okay. And then it was your
    10      Q. Do you -- that was kind of a           10 job to look at the -- I'm sorry if I
    11 longwinded question. Do you understand         11 didn't -- if I didn't hear you, the
    12 my question?                                   12 orders or the customers that were on this
    13          Did you understand -- I               13 list?
    14 think -- I think I know what you're going      14       A. It was -- it was orders and
    15 to say but I'll just ask it for clarity.       15 it was broken down by customers.
    16          Do you understand that that           16       Q. Okay. So it was your job to
    17 report existed before you became involved      17 look at all the orders on this list?
    18 with interacting with that report?             18       A. Yes.
    19      A. I can't confirm knowledge              19       Q. And how did you know, did
    20 that that report existed prior to my           20 someone train you about what you were
    21 taking on that investigative                   21 supposed to look for when you were
    22 responsibility.                                22 looking at this?
    23      Q. How frequently would this              23       A. I don't remember
    24 report get sent to you?                        24 specifically how I was instructed to --


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     1 to review the report. I don't remember         1  investigation report.
     2 how I was instructed.                          2       Q. Okay. And then would you
     3      Q. Do you know who would have              3 save that somewhere?
     4 given you the instructions?                     4      A. Yeah. I believe it was
     5      A. I believe Steve would have              5 maintained in Law Track.
     6 done that.                                      6      Q. And then was there a goal of
     7      Q. Okay. And so tell me what               7 the investigation that you were trying to
     8 your recollection of what you were              8 determine something?
     9 supposed to look at on this report was.         9           MR. NICHOLAS: Object to the
    10      A. So the report contained                10      form.
    11 sales data for customers. And I believe        11           THE WITNESS: We were trying
    12 it was Oxycodone and hydrocodone               12      to determine if any improprieties
    13 products. If they breached a parameter,        13      were happening with regard to
    14 it would trigger this report to be             14      those orders. I would -- I would
    15 generated. So I got the report                 15      collect all the information that
    16 periodically and it may have been, you         16      I -- that I could from the
    17 know, I don't remember how much it was,        17      customer to explain, you know, the
    18 but I would separate it by customer,           18      reasoning as to why they were
    19 because it would be, I believe                 19      buying that quantity of controls,
    20 alphabetical or it might have been by DEA      20      and I would take the findings and
    21 number. But it would basically be, you         21      I would, you know, provide it to
    22 know, one customer, then another               22      Steve Mays. And what he did with
    23 customer, and it would just be -- it           23      it, you know, I'm not sure.
    24 would span multiple customers in               24           Because at that point the
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     1 grouping. So I would group them in             1       decision -- the decisionmaking
     2 separate -- in separate files and then I       2       regarding my investigation that I
     3 would conduct the investigation of those        3      completed was conducted, you know,
     4 customers.                                      4      outside of my realm. So I'm not
     5      Q. Okay. And then what -- what             5      sure what the -- what the -- what
     6 things would you do to conduct the              6      the results of those -- those
     7 investigation of those customers?               7      investigations entailed.
     8      A. I had a couple support staff            8 BY MR. PIFKO:
     9 within the CSRA department that I used to       9      Q. Did you make any
    10 assist me with this, that I would work         10 recommendations for actions in the
    11 with those individuals to contact the          11 report?
    12 sales executive, to contact the customer       12      A. You know, it's been so long
    13 to inquire as to why they were buying,         13 ago, I don't recall.
    14 you know, that quantity of controlled          14      Q. Do you recall if one of the
    15 substances. We would collect all the           15 things that you were evaluating was
    16 information on the customer. We would          16 whether to fill the order?
    17 take their responses to our questions and      17      A. Well, keep in mind this was
    18 our follow-up questions, and we would          18 a system that we operated that was
    19 complete an investigation of each              19 prior -- prior to the system that held
    20 customer.                                      20 orders.
    21      Q. Would there be some sort of            21      Q. Okay.
    22 document that you would create at the          22      A. So this was investigations
    23 culmination of your investigation?             23 that occurred after the shipment was
    24      A. Yeah. It would be an                   24 already completed.


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     1       Q. Okay. So it's your                     1        for. Sometimes we would contact
     2 understanding that all these orders and         2        the customer, and it would take
     3 in the possible suspicious order report          3       them time to respond to us. So it
     4 had already been shipped; is that                4       would depend on the investigation,
     5 correct?                                         5       anywhere from, you know, best case
     6       A. Yes. Those were -- those                6       scenario, a couple days to maybe a
     7 were orders that have already been               7       couple weeks, just off the top of
     8 shipped. That's correct.                         8       my head. But I -- it's been so
     9       Q. Okay. And you would look at             9       long I don't recall.
    10 it to evaluate whether there were               10           MR. PIFKO: Okay. Thank
    11 concerns, and you would generate a              11       you. We'll take a break.
    12 report, but you didn't make any                 12           THE VIDEOGRAPHER: Going off
    13 recommendations for a course of action          13       the record. 2:32 p.m.
    14 going forward; is that correct?                 14           (Short break.)
    15       A. That's correct.                        15           THE VIDEOGRAPHER: Back on
    16       Q. You provided that to Steve             16       record, 3:07 p.m.
    17 Mays, the report?                               17 BY MR. PIFKO:
    18       A. Yes. I believe I give it               18       Q. Welcome back.
    19 directly to Steve Mays.                         19       A. Thank you.
    20       Q. Did you send it by e-mail?             20       Q. I want to talk about your
    21       A. I don't recall. We may have            21 educational background and training for a
    22 just put it in the Law Track system and         22 little bit. Okay?
    23 he retrieved it from there. I don't             23       A. Yeah.
    24 recall how I gave it to him.                    24       Q. All right. So earlier we
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     1      Q. Do you recall about how long            1  talked that you -- let me make sure I
     2 it would take you to conduct an                 2  have a clear understanding. You went to
     3 investigation of a customer that was             3 high school, graduated high school. Then
     4 identified in this report?                       4 you went to Golden West College for a
     5      A. I don't recall.                          5 year, and then you decided to join the
     6      Q. Is it like -- put me in your             6 Navy, and did that, and then you got a
     7 shoes. I'm sitting -- I'm sitting at             7 job with Amerisource -- or with the
     8 your desk. Is it like a thing that takes         8 Bergen Corporation, correct?
     9 a week, and you're kind of doing it off          9      A. Yes.
    10 and on? Is it something that you sit            10      Q. How long were you in the
    11 down and do in a few hours? Do you do it        11 Navy?
    12 all day? Can you explain to me how long         12      A. Five years.
    13 the process took in that regard?                13      Q. And you had the same
    14          MR. NICHOLAS: Object to the            14 controller job during the entire duration
    15      form.                                      15 of your service?
    16          You can go ahead and answer.           16      A. Yes.
    17          Can we a break soon, Mark,             17      Q. Okay. So when you got to
    18      maybe after this question?                 18 the Bergen Corporation, you started as a
    19          MR. PIFKO: Yeah.                       19 security guard, you said, correct?
    20          MR. NICHOLAS: Okay. Go                 20      A. Security officer. Yes.
    21      ahead.                                     21      Q. Okay. And then when you
    22          THE WITNESS: Yeah, the --              22 moved into the regional manager director
    23      it would depend on how quickly we          23 position, did you get any specific
    24      got the information that we asked          24 training?


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     1      A. Yes. I basically                        1     A. Nope, I think that was it.
     2 accompanied other auditors on audits, and       2     Q. And then 2005, you added the
     3 those people that had been with the             3 investigation slate to your plate, as we
     4 company ran through the audit checklist         4 discussed before the break, correct?
     5 with me and all related duties that I           5     A. Correct.
     6 would have.                                     6     Q. And then you conducted those
     7      Q. So when you first took on               7 investigations for how long?
     8 that role, your primary job was                 8     A. I believe it was from 2005
     9 conducting the audits?                          9 and 2007.
    10      A. Conducting the audits and              10         And I would like to make a
    11 managing my region.                            11 correction to my previous testimony.
    12      Q. Okay. What else -- what                12     Q. Okay. Is that based on a
    13 else do you mean by managing your region?      13 discussion that you had during the break?
    14      A. Well, the compliance                   14     A. Just --
    15 managers would report up to me. So any         15         MR. NICHOLAS: Objection.
    16 day-to-day occurrences that needed             16     Objection. I don't think you're
    17 attention, you know, I would have to           17     allowed to ask about any
    18 handle that. So that had a whole array         18     conversation --
    19 of areas that I had to -- had to respond       19         MR. PIFKO: If he's going to
    20 to.                                            20     make a correction to his
    21      Q. Okay. So how many -- how               21     testimony, I am.
    22 many compliance managers would be at a         22         MR. NICHOLAS: Where does it
    23 particular distribution center?                23     say -- I mean, where does it say
    24      A. Only one.                              24     that? Hold on. Let me just
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     1     Q. So those people reported to              1     find -- let me just find the order
     2 you. Anyone else who reported to you?           2     so we can be clear on --
     3     A. No.                                      3          MR. PIFKO: Well, he's
     4     Q. And then, sorry, I know we               4     making a correction.
     5 had discussed it may be a bit, but how          5          MR. NICHOLAS: What does
     6 many distribution centers would you have        6     that have to do with this order?
     7 under your wing at any one time?                7 BY MR. PIFKO:
     8     A. Anywhere between five and                8     Q. What's the basis of your
     9 eight, I think --                               9 correction, sir.
    10     Q. Okay.                                   10          MR. PIFKO: I don't need the
    11     A. -- depending on which time              11     order.
    12 period it was.                                 12          MR. NICHOLAS: Wait a
    13     Q. So you had about five and               13     minute.
    14 eight compliance managers who had to           14          Go ahead.
    15 report to you?                                 15          MR. PIFKO: No, if he's
    16     A. Correct.                                16     going to make a correction, I'm
    17     Q. And so in addition to                   17     asking him a question.
    18 conducting the audits, you had to deal         18          THE WITNESS: The correction
    19 with any issues they raised to you, any        19     was the report -- what the report
    20 personnel issues, and things like that as      20     was called that I reviewed.
    21 well?                                          21 BY MR. PIFKO:
    22     A. Yes.                                    22     Q. Okay. And what was the
    23     Q. Anything else that was part             23 basis for wanting to make that
    24 of your job at that time?                      24 correction?


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     1      A. Just to correct the record.            1   report?
     2      Q. No, but why did it come to             2          MR. NICHOLAS: You can
     3 you that you needed to correct the             3      answer only to the extent that it
     4 record? Did someone tell you at the             4     doesn't -- you know, you can't
     5 break that the report had a different           5     talk about any conversations on
     6 name?                                           6     the break.
     7          MR. NICHOLAS: I'm going to             7         THE WITNESS: I just want to
     8      instruct him not to answer, based          8     make a correction to the name of
     9      on this order.                             9     the report that I reviewed.
    10 BY MR. PIFKO:                                  10 BY MR. PIFKO:
    11      Q. Did AmerisourceBergen's                11     Q. I hear you, but that's not
    12 lawyer tell you that the report had a          12 my question.
    13 different name during the break?               13         My question is: How did you
    14          MR. NICHOLAS: I'll instruct           14 come to decide that you wanted to make a
    15      him not to answer based on this           15 change to the name of the report?
    16      order.                                    16         MR. NICHOLAS: Same
    17          THE WITNESS: I'll take my             17     instruction.
    18      attorney's advice.                        18         THE WITNESS: I'll follow my
    19 BY MR. PIFKO:                                  19     attorney's advice and not answer
    20      Q. Okay. The reason that you              20     that.
    21 want to change the name of the order, is       21 BY MR. PIFKO:
    22 there a way that you can answer that           22     Q. You can't answer that
    23 question without revealing conversations       23 question without talking about a
    24 with your lawyer?                              24 communication that you had with your

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     1          MR. NICHOLAS: I'm going to            1   lawyer?
     2     instruct him not to answer based           2           MR. NICHOLAS: Same
     3     on the order. The order is pretty          3      objection.
     4     clear. You can't inquire about              4          THE WITNESS: Yes.
     5     any conversations during the                5          MR. PIFKO: Okay. Well,
     6     break. Period.                              6     obviously we'll deal with that.
     7          MR. PIFKO: I can, because              7     The record is what it is.
     8     it's clear that a change was                8 BY MR. PIFKO:
     9     required as a result of something           9     Q. What's the correction that
    10     that occurred during the break.            10 you would like to make that obviously
    11          MR. NICHOLAS: That's not --           11 your counsel told you to make?
    12     that's not true that anything is           12          MR. NICHOLAS: Hold on.
    13     clear. I know what the order               13     Hold on. I'll object to the
    14     says. You've not allowed to                14     snarky comment --
    15     inquire about a conversation --            15          MR. PIFKO: It's the
    16     about any conversations at all             16     reality.
    17     during the break having to do with         17          MR. NICHOLAS: -- which
    18     attorney -- between the attorneys          18     is -- which is --
    19     and the witness. So just don't do          19          MR. PIFKO: Bob, you've got
    20     it. Just ask him your --                   20     a problem. We're already in the
    21 BY MR. PIFKO:                                  21     process of raising it to the
    22     Q. How did you come to -- how              22     court. You have a problem out of
    23 did you come to realize that you wanted        23     every other lawyer in this whole
    24 to make a change to the name to the            24     case of your coaching of
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     1    witnesses. We're building the              1      But that's the reality of the
     2    record. But the transcripts are            2      situation.
     3    very clear about your coaching and         3 BY MR. PIFKO:
     4    your improper conduct.                     4      Q. So what's the correction
     5        And I'm dead serious right             5 that you want to make?
     6    now. I will seek to have your pro          6           MR. NICHOLAS: Before you
     7    hac vice revoked from the case if          7      answer -- and you can answer. I
     8    you can't comply with the rules.           8      just want the record to be clear
     9    That is a remedy that is                   9      that it is my view that there have
    10    appropriate. And if you can't             10      been extensive improper and
    11    comply with the rules, then that's        11      misleading questions asked
    12    where we're going to go.                  12      throughout the depositions that
    13        I hope that we don't need             13      I've been involved in.
    14    that. I think you're a nice               14           I only object when there is
    15    enough guy. But you really got to         15      a need to correct something which
    16    tone it down. Okay? So that's             16      is clearly misleading and
    17    the end of this.                          17      improper.
    18        MR. NICHOLAS: No, wait,               18           MR. PIFKO: There's a way to
    19    wait, wait. I want to wait till           19      make objections. And you go
    20    you complete your statement before        20      beyond what the way is.
    21    I respond.                                21           MR. NICHOLAS: That's your
    22        MR. PIFKO: We're having --            22      opinion.
    23    you're not responding. I'm                23           MR. PIFKO: No, it's
    24    taking --                                 24      obvious. When you state facts in
                                         Page 295                                           Page 297
     1         MR. NICHOLAS: Well, bring             1     your objection, you're going above
     2    your --                                    2     and beyond what you're supposed to
     3         MR. PIFKO: -- a deposition            3     do when you make an objection. I
     4    and you're interrupting the                4     told you this at the last
     5    deposition. Okay? We're not                5     deposition.
     6    doing this.                                6          MR. NICHOLAS: Have I done
     7         MR. NICHOLAS: I didn't                7     it today?
     8    interrupt the deposition.                  8          MR. PIFKO: No. You were
     9         MR. PIFKO: Yeah, you did.             9     better until now. And you're
    10         MR. NICHOLAS: I                      10     coaching the witness during the
    11    interposed --                             11     break.
    12         MR. PIFKO: You did.                  12          MR. NICHOLAS: Well, that --
    13         MR. NICHOLAS: -- an                  13     okay. There's no basis for your
    14    objection.                                14     saying that.
    15         MR. PIFKO: Okay. And you             15          MR. PIFKO: There is.
    16    clearly -- you clearly coached the        16          MR. NICHOLAS: If you want
    17    witness to change the nature of           17     to hear what he has to say, fine.
    18    his testimony during the break.           18     If you don't want to hear --
    19    It's very obvious from the record         19          MR. PIFKO: I'm trying to
    20    that that's what occurred.                20     get it out of him --
    21         That's obviously improper.           21          MR. NICHOLAS: -- what he
    22    Everybody knows that. Okay. And           22     has to say, fine. That's up to
    23    that's what you did. And we're            23     you.
    24    going to have to live with it.            24          MR. PIFKO: -- but you're
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     1      obstructing me from getting it out          1 know when that happened or how it
     2      of him right now.                           2 happened.
     3 BY MR. PIFKO:                                    3      Q. Are you aware that the
     4      Q. Okay. With that said,                    4 company has a duty to identify and report
     5 what's the correction that you would like        5 suspicious orders?
     6 to make?                                         6      A. Yes. We have a
     7      A. The report that I reviewed,              7 responsibility to report suspicious
     8 the periodic report that I referenced            8 orders.
     9 earlier, I indicated that it was a               9      Q. And to identify them as
    10 possible suspicious order report. It's          10 well?
    11 actually called the possible excessive          11      A. Well, I think reporting it
    12 purchase report.                                12 would be identifying them, wouldn't it?
    13      Q. Okay.                                   13      Q. Okay. Well, I just want to
    14      A. That's the correction.                  14 make sure we are using the correct words
    15      Q. But you remember it being               15 here.
    16 called the suspicious order report              16           Okay. So you are aware that
    17 because you were evaluating the                 17 that's a requirement that the company
    18 suspicious natures of the orders; is that       18 has, correct?
    19 correct?                                        19      A. Yes, to review orders and
    20           MR. NICHOLAS: Object to the           20 identify suspicious orders and block them
    21      form.                                      21 and report them.
    22           THE WITNESS: No. We're                22      Q. Okay. Is that a new
    23      just talking multiple years since          23 requirement?
    24      I reviewed the report. So I just           24      A. No.
                                            Page 299                                           Page 301
     1     misunderstood -- I misremembered             1      Q. Okay. That's something that
     2     what it was called.                          2 you've always been required to do,
     3 BY MR. PIFKO:                                    3 correct?
     4     Q. Okay. Why did you think it                4          MR. NICHOLAS: Object to the
     5 was called a possible suspicious order           5      form. Go ahead.
     6 report?                                          6          THE WITNESS: Yes.
     7     A. I don't know. I just didn't               7 BY MR. PIFKO:
     8 remember.                                        8      Q. As long as your tenure with
     9     Q. Do you have an understanding              9 the company going back to the late '90s,
    10 what an order that exceeds the threshold        10 correct?
    11 is?                                             11      A. Yes.
    12     A. Well, it would depend.                   12      Q. Okay.
    13     Q. Well, before 2007, are you               13      A. Well, the regulation has
    14 aware that the company reported all             14 been -- has stated that since the early
    15 orders that exceeded thresholds as              15 '90s, yes.
    16 suspicious to the DEA?                          16      Q. So we were going -- we
    17     A. No. I don't know how those               17 were -- before we went into that sidebar,
    18 reports were submitted and what was             18 we were discussing your training and some
    19 submitted.                                      19 of your responsibilities as the regional
    20     Q. Are you aware that the                   20 manager.
    21 company reported suspicious orders to the       21          So you supervised about
    22 DEA before 2007?                                22 eight compliance managers, five to eight,
    23     A. I did not know that. I                   23 depending on the time, and you were
    24 didn't know when it started. I didn't           24 responsible for conducting the audits,


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     1 correct?                                       1       A. A combination.
     2      A. Some of the audits, yeah.              2       Q. Okay. These were annual
     3      Q. Okay. Based on the schedule             3 meetings, you said?
     4 that was provided to you, correct?              4      A. Yes.
     5      A. Yes.                                    5      Q. How many people would attend
     6      Q. And you said that when you              6 them?
     7 took over that role, you got sort of            7      A. A lot of people. All of the
     8 on-the-job training with people who had         8 compliance managers with the company.
     9 already had experience conducting the           9 And the corporate CSRA associates.
    10 audits; is that correct?                       10      Q. About how many people would
    11      A. Yes, that's correct.                   11 that be at a particular time?
    12      Q. Did you have any formal                12      A. It would depend on the
    13 training sessions, went through a              13 number of distribution centers we had at
    14 presentation at the company, or online         14 that period.
    15 training or anything like that?                15      Q. Okay. Can you give me a
    16      A. I don't recall.                        16 range?
    17      Q. And we were talking about              17      A. Well, when we first merged
    18 your job responsibilities in that you          18 we had 52 distribution centers. We
    19 added this investigations in 2005, and         19 merged those down to 26, and I think it
    20 then you stopped doing them in 2007.           20 stayed right in that level. So 26
    21 That -- that was taken off your plate,         21 compliance managers along with corporate
    22 did I hear you correctly?                      22 associates which would -- which would
    23      A. Yes.                                   23 vary over time.
    24      Q. Okay. And then from 2007 to            24      Q. Did you interact with -- so
                                           Page 303                                         Page 305
     1 2015, your job was to manage the               1  your -- you were under the CSRA
     2 compliance managers and to conduct the         2  department, correct?
     3 audits?                                         3      A. Yes.
     4      A. Yes.                                    4      Q. Okay. But your area was
     5      Q. Any other responsibilities?             5 just one area of the CSRA, correct?
     6      A. No. That pretty much took               6      A. Well, I had a region, but
     7 all my time.                                    7 there were other responsibilities that
     8      Q. Okay. And did you get any               8 the CSRA department handled. But I was
     9 other specific training at that time?           9 regulatory.
    10      A. At what time?                          10      Q. Right. So that's kind of
    11      Q. After 2007.                            11 what I'm trying to get at. So there
    12      A. No, not that I recall.                 12 was an -- was there an investigation
    13      Q. Did you attend -- was there            13 group that was part of the CSRA that was
    14 like any regular annual training or            14 Bruce Gundy's group?
    15 anything you attended?                         15      A. Yes.
    16      A. We would conduct annual                16      Q. Okay. Were there other
    17 conferences with the entire CSRA               17 groups -- and then there -- there was
    18 department. So training sessions were          18 your group that Steve Mays was in charge
    19 conducted during -- during those               19 of; is that correct?
    20 sessions.                                      20      A. Yes.
    21      Q. Who gave those trainings?              21      Q. Okay. Was there another --
    22      A. Various associates.                    22 any other groups that you're aware of?
    23      Q. Managers, or people under              23      A. There was a physical
    24 you, or?                                       24 security manager.


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     1      Q. Okay. And what -- just one                1        A. It was a week long, I think.
     2 person?                                           2        Q. Okay. So you did that
     3      A. He may have had somebody                   3 full-time for that week for the -- it
     4 that worked under him. I don't recall.             4 wasn't like you were going to work and
     5      Q. Okay. And what was his                     5 then you'd go at night or something. You
     6 role?                                              6 went to that program for the week and
     7      A. To oversee all the physical                7 finished the course?
     8 security of the distribution centers,              8       A. Correct.
     9 alarm components and such.                         9       Q. Okay.
    10      Q. So from time to time would                10       A. Took my whole time for that
    11 you confer with him if you had an issue           11 week.
    12 of physical security at one of the                12       Q. Where was that located?
    13 distribution centers under your audit             13       A. It was in the city, here in
    14 responsibility?                                   14 Philadelphia.
    15      A. Yes, I would.                             15       Q. Any other training that you
    16      Q. What was his name?                        16 were provided?
    17      A. Bob Crow.                                 17       A. We would go to conferences
    18      Q. Was he in the -- that                     18 from time to time, but nothing beyond
    19 position the whole time?                          19 that.
    20      A. Most of the time.                         20       Q. What kind of conferences?
    21      Q. Do you remember who took                  21       A. DEA conferences. They have
    22 over his role?                                    22 a chemical conference, they have a
    23      A. It was reassigned I believe               23 controlled substance conference, some
    24 to -- to the distribution centers,                24 state conferences.

                                              Page 307                                          Page 309
     1 possibly the district directors. I don't          1       Q. Did you go to more than one
     2 remember -- recall exactly who got that           2  of those conferences a year?
     3 role when he -- when he left.                      3      A. No.
     4      Q. Other than the on-the-job                  4      Q. Did you go to one every year
     5 initial kind of training you did working           5 or just some years?
     6 with other auditors and these annual               6      A. Just some years.
     7 meetings, were there any other kinds of            7      Q. How were you invited to
     8 trainings that you attended?                       8 those? Just someone said you should go,
     9      A. When I -- I believe before I               9 or was it a regular schedule?
    10 took over the director role I was sent to         10      A. No. I was assigned by my
    11 Reid Interrogation School.                        11 senior director.
    12      Q. What's that?                              12      Q. Okay. To go to a specific
    13      A. It's a school that teaches                13 conference that occurred or just they
    14 you how to interrogate, conduct                   14 would say, I want you to go to this
    15 interviews and interrogations.                    15 conference next month?
    16      Q. And that was -- what time                 16      A. He would instruct me which
    17 period did you do that?                           17 conferences he wanted me to go to.
    18      A. I don't recall.                           18      Q. Okay. And that was Steve
    19      Q. Have an estimate of a range               19 Mays?
    20 of the years you think it might have              20      A. Yes.
    21 occurred?                                         21      Q. Any other training that you
    22      A. Early 2000s.                              22 took that you can think of?
    23      Q. Okay. How long was that                   23      A. Possibly, but nothing that
    24 program?                                          24 comes to mind right now.


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     1       Q. We talked about the 2007               1   correct?
     2 situation where the Orlando facility got        2          MR. NICHOLAS: Object to the
     3 its registration revoked and -- do you          3      form.
     4 recall that?                                    4          THE WITNESS: I think I
     5       A. Suspended.                             5      stated I assumed there was, yes.
     6       Q. Suspended, correct. Sorry.             6 BY MR. PIFKO:
     7          Do you recall that?                    7      Q. Okay. You had a personal --
     8       A. Yes.                                   8 a loss in the family around that time?
     9       Q. Okay. And you are aware                9      A. That's correct.
    10 that there was some sort of settlement         10      Q. Okay. Did you take a leave
    11 agreement that was entered into between        11 from the company as a result of that?
    12 the company and the DEA?                       12      A. Yes, I did.
    13          MR. NICHOLAS: Object to the           13      Q. Okay. For about how long?
    14       form.                                    14      A. I think it was just over two
    15          THE WITNESS: Yeah, I'm                15 weeks.
    16       aware of some sort of agreement we       16      Q. And do you have a rough
    17       had.                                     17 estimate about when that was?
    18 BY MR. PIFKO:                                  18      A. It was in the 2006-2007 time
    19       Q. Okay. To your knowledge,              19 frame.
    20 did that result in a substantial change        20      Q. Okay. I'm going to hand you
    21 in the policies and procedures for the         21 another document.
    22 CSRA?                                          22          (Document marked for
    23          MR. NICHOLAS: Object to the           23      identification as Exhibit
    24       form.                                    24      AmerisourceBergen-Cherveny-2.)
                                           Page 311                                           Page 313
     1          THE WITNESS: Changes                   1 BY MR. PIFKO:
     2      resulted as a result of the                2      Q. I'm handing you what's been
     3      action.                                    3 marked as Exhibit 2. It is a PowerPoint.
     4 BY MR. PIFKO:                                   4 It doesn't have a Bates number on it
     5      Q. But did you feel that -- you            5 because it was a native printout that we
     6 know, you had already been in your role         6 had. But the Bates number is
     7 for quite a few years at that time. Did         7 ABDCMDL00269291.
     8 you feel there was like a sea change of         8           Take a minute to review it
     9 how the company was looking at diversion        9 and let me know when you're done.
    10 control after that?                            10           MR. NICHOLAS: Just for the
    11      A. A what change.                         11      record, there's no stamp on it.
    12      Q. A sea change, like a                   12           MR. PIFKO: Yeah, that's
    13 dramatic shift in how the company saw its      13      what I was just saying. It was
    14 regulatory responsibilities after that         14      produced natively. So it's
    15 happened?                                      15      ABDCMDL00269291.
    16          MR. NICHOLAS: Object to the           16           MR. NICHOLAS: Can you just
    17      form.                                     17      for the record tell us whether
    18          THE WITNESS: I would say              18      there was a confidentiality
    19      changes were implemented as a             19      designation on the document?
    20      result of that action, yes.               20           MR. PIFKO: I assume it was
    21 BY MR. PIFKO:                                  21      designated. We can go forward as
    22      Q. And I believe you testified            22      if it is. If it's not, we'll
    23 earlier that there was a lot of internal       23      correct the record later.
    24 discussion as a result of that action,         24           THE WITNESS: Okay.
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     1 BY MR. PIFKO:                                    1          Do you see that?
     2      Q. All right. Have you seen                 2      A. Yes.
     3 this document before?                            3      Q. Do you have an understanding
     4      A. Not that I recall.                       4 about what that is?
     5      Q. Do you know what a DCM is if             5      A. I don't remember what DEA's
     6 you look at the first page here?                 6 initiative was with regard to that. That
     7          MR. NICHOLAS: I think you               7 was a long time ago.
     8      need to --                                  8      Q. Okay. You don't recall ever
     9          MR. PIFKO: It's                         9 being asked to do anything as a result of
    10      double-sided, I think.                     10 the initiative?
    11          MR. NICHOLAS: Where are                11      A. No.
    12      you? On the upper page?                    12      Q. You don't recall ever being
    13          MR. PIFKO: Yeah, the                   13 told to do anything specific with respect
    14      very -- very first page. Yeah,             14 to concerns about internet pharmacies?
    15      right there.                               15      A. I don't recall anything that
    16          THE WITNESS: VP/DCM                    16 I was instructed to do specific, no.
    17      meeting? Yes.                              17      Q. Do you remember a discussion
    18 BY MR. PIFKO:                                   18 about any specific concerns about
    19      Q. What is a DCM?                          19 internet pharmacies in general?
    20      A. That's an acronym for                   20      A. We were aware that internet
    21 distribution center manager.                    21 pharmacies existed.
    22      Q. Okay. Those are people that             22      Q. Do you remember them being a
    23 you would have interacted with when you         23 cause for concern?
    24 were conducting the audit?                      24      A. Yes. That was a focus of
                                            Page 315                                           Page 317
     1      A. Yes.                                     1 our reviews.
     2      Q. The date here, August 28,                2      Q. Okay. When do you remember
     3 2007, do you see that?                           3 that being a focus of your reviews?
     4      A. Yes.                                     4      A. That general time period.
     5      Q. Based on your memory of                  5      Q. In 2007?
     6 events, is that consistent with the time         6      A. Yes.
     7 on or around when the company had this           7      Q. And why did they become a
     8 enforcement action in Orlando?                   8 focus of your reviews at that time?
     9      A. Yes, right in that time                  9      A. It was a lot of information
    10 period.                                         10 in the media about internet pharmacies.
    11      Q. Okay. You just spent a few              11 We knew that it was a problem within the
    12 minutes looking at the document. Would          12 country. We knew DEA had an initiative
    13 you agree that this is a discussion of          13 to try to -- to try to address it.
    14 some changes that occurred as a result of       14      Q. Diversion was occurring more
    15 the suspension of the Orlando                   15 at these pharmacies; is that correct?
    16 registration?                                   16          MR. NICHOLAS: Objection.
    17          MR. NICHOLAS: Object to the            17      Object to the form.
    18      form.                                      18          THE WITNESS: According -- I
    19          THE WITNESS: Yes, I would.             19      would say according to DEA. Yes.
    20 BY MR. PIFKO:                                   20 BY MR. PIFKO:
    21      Q. Let's go to the second page             21      Q. And you said you saw media
    22 here. Do you see it says, "DEA's                22 reports?
    23 internet pharmacy initiative, suspicious        23      A. Yeah. There was a lot --
    24 order monitoring"?                              24 there was a lot of information out in the


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     1 media regarding internet pharmacies back        1     A.    Okay.
     2 then.                                           2     Q.    It says, "DEA summary."
     3      Q. What kind of information?               3          Do you see that?
     4      A. Just general information.               4      A. Yes.
     5      Q. Like discussing problems and            5      Q. Okay. It's got a timeline
     6 violations that were occurring at               6 of events here.
     7 internet pharmacies? Is that what you           7          Do you see that?
     8 mean?                                           8      A. Yes, I do.
     9      A. Generally a problem within              9      Q. Okay. Is this consistent
    10 the industry that was resulting in -- in       10 with your understanding of the events
    11 diversion according to the DEA, yes.           11 that occurred in connection with the
    12      Q. Okay. And specifically                 12 registration of the Orlando facility
    13 diversion of opioids?                          13 being suspended?
    14      A. Controlled substances in               14      A. Well, the fact that it's on
    15 general.                                       15 a PowerPoint that we produced, I would
    16      Q. Okay. But that includes                16 assume this information is accurate.
    17 opioids?                                       17      Q. Okay. Did anyone contact
    18      A. Yes, controlled substance              18 you when the Orlando facility first got
    19 includes opioids.                              19 the order to show cause?
    20      Q. You talked about you                   20      A. I don't remember who
    21 understood this was a concern of               21 contacted me.
    22 something that was being discussed at the      22      Q. At some point, someone
    23 company, correct?                              23 contacted you about this issue, the fact
    24      A. We were aware of it, yes.              24 that the Orlando registration had been

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     1      Q. Okay. What steps did the                1 suspended, correct?
     2 company take to address those concerns?         2      A. I would say that I became
     3      A. I don't recall. It was too              3 aware of it.
     4 long ago. I don't remember specific             4      Q. Okay. How do you believe
     5 steps that we took.                             5 you first became aware of it?
     6      Q. Do you remember people                  6      A. I have no idea.
     7 talking about taking any steps or just          7      Q. You were conducting audits
     8 being concerned?                                8 at that time, correct?
     9      A. Again, we're talking                    9      A. Yes.
    10 11 years ago. I don't remember specific        10      Q. Did anyone tell you that
    11 steps that were taken.                         11 there should be changes in the way the
    12      Q. Do you remember if anyone              12 company conducts its audit process to
    13 took any effort to take any steps?             13 prevent things like this from happening?
    14      A. I don't recall.                        14      A. No, not that I recall.
    15           MR. PIFKO: Sterling is               15      Q. Do you recall having any
    16      telling me that this is marked            16 meetings about the fact that this was
    17      highly confidential. We can act           17 happening and what the company was going
    18      accordingly with this for the             18 to do?
    19      record.                                   19      A. No. Like I said, as soon as
    20           MR. NICHOLAS: Okay.                  20 it happened -- it was bad timing. My
    21 BY MR. PIFKO:                                  21 father passed away. So I had to leave
    22      Q. Let go to -- Page -- there             22 for, you know, a period of time. It
    23 are page numbers on here -- 4. Tell me         23 might have been more than two and a half
    24 when you're there.                             24 weeks. I think I stated that before.


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     1 And when I got back, a lot of these             1       Q. Yeah.
     2 changes had already been made. So I was         2       A. Yeah, they reported to us.
     3 sort of out of pocket when a lot of this         3      Q. And do you know if their job
     4 occurred.                                        4 performance was measured on how
     5      Q. Okay. When you got back, do              5 effectively they managed a distribution
     6 you recall there being changes to the way        6 center's compliance?
     7 you were supposed to perform your job            7      A. I don't recall.
     8 functions?                                       8      Q. If violations occurred at a
     9      A. I don't recall specifics.                9 facility, would there be disciplinary
    10      Q. How about in general?                   10 action taken against a compliance
    11      A. I don't recall.                         11 manager?
    12      Q. So you don't recall whether             12           MR. NICHOLAS: Object to the
    13 there were any changes in how you had to        13      form.
    14 conduct your job functions after the            14           THE WITNESS: We would
    15 suspension occurred?                            15      manage the compliance managers,
    16      A. Not specifically.                       16      and they would be -- they would
    17      Q. Or generally either, I'm                17      be -- their performance would be
    18 asking.                                         18      reviewed as a result of how
    19      A. I know that the diversion               19      successful they were with regard
    20 program was changed. I know that the            20      to their audit scores. So yes, it
    21 change resulted in the compliance               21      played a direct role.
    22 managers reporting to the regional              22 BY MR. PIFKO:
    23 directors. I know those two changes             23      Q. So at the end of an audit,
    24 occurred. I don't remember exactly when         24 there's an audit score?

                                            Page 323                                          Page 325
     1 those changes occurred following the            1       A. That's correct.
     2 suspension. But I know that that those          2       Q. Okay. So you as one of the
     3 were two changes that occurred.                  3 audits -- auditors, when you fill out the
     4      Q. And you were one of the                  4 audit report, you put a score at the end
     5 regional directors, correct?                     5 of it?
     6      A. Yes.                                     6      A. Yes.
     7      Q. So the compliance managers               7      Q. What was the range of scores
     8 weren't reporting to you prior to that           8 that one could get?
     9 time?                                            9      A. I don't recall back then.
    10      A. That's correct.                         10 But I know when I left the audit findings
    11      Q. They just reported up to the            11 would accumulate and a score of 25 or
    12 distribution center managers? I believe         12 less was a passing score. Anything above
    13 that's what you said.                           13 that would have been considered a failing
    14      A. That's correct.                         14 score.
    15      Q. Do you have an understanding            15      Q. Did you ever discipline any
    16 as to why that change was made for the          16 compliance managers who reported to you?
    17 compliance managers to report directly to       17           MR. NICHOLAS: Object to the
    18 people like you?                                18      form.
    19      A. I'm not sure what factors               19           THE WITNESS: You know, I
    20 played into that change, no.                    20      believe -- I can't remember
    21      Q. Then did you have the                   21      specifically. But I believe that
    22 ability to hire and fire them?                  22      I -- I would put compliance
    23      A. What, after they began                  23      managers on a program if they --
    24 reporting to us?                                24      if they were underperforming.
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     1 BY MR. PIFKO:                                  1       objection.
     2     Q. What was the program?                   2           THE WITNESS: I can't
     3     A. It's a performance program.              3      remember specifics.
     4 They would -- they would be reviewed, you       4 BY MR. PIFKO:
     5 know, for a period of time after the            5      Q. Do you have any
     6 audit occurred that resulted in the plan.       6 understanding about what the action was
     7 I don't remember specifics. It's too            7 about?
     8 long ago. But that's generally how we           8      A. I did --
     9 would handle compliance managers that           9          MR. NICHOLAS: Same
    10 consistently had high scores or failing        10      objection.
    11 audits.                                        11          THE WITNESS: I just don't
    12     Q. Do you believe you ever                 12      recall it right now. I didn't
    13 terminated anyone who was a compliance         13      really prepare for that.
    14 manager as a result of poor performance?       14 BY MR. PIFKO:
    15          MR. NICHOLAS: Object to the           15      Q. Is there something that you
    16     form.                                      16 would look at to refresh your
    17          THE WITNESS: Yes.                     17 recollection?
    18 BY MR. PIFKO:                                  18          MR. NICHOLAS: Same
    19     Q. You can -- on how many                  19      objection. Object to the form.
    20 occasions?                                     20          THE WITNESS: Not here.
    21     A. I terminated our compliance             21 BY MR. PIFKO:
    22 manager in our Bellco distribution             22      Q. Did you ever see a
    23 center. In our Bethlehem distribution          23 settlement agreement between the Bellco
    24 center as well.                                24 distribution center and the government?

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     1      Q. When did those terminations            1          MR. NICHOLAS: Object to the
     2 occur?                                         2      form.
     3      A. I can't recall the specific             3         THE WITNESS: I believe I
     4 dates.                                          4     did.
     5      Q. In the last five years or               5 BY MR. PIFKO:
     6 longer ago?                                     6     Q. Would that have been
     7      A. Oh, it was longer ago.                  7 provided to you around the time that it
     8      Q. The Bellco distribution                 8 was executed?
     9 center, was that -- that was under your         9         MR. NICHOLAS: Object to the
    10 purview?                                       10     form.
    11      A. Yes, it was.                           11         THE WITNESS: Yes, I believe
    12      Q. Are you aware that they had            12     it would.
    13 a settlement with the Attorney General?        13 BY MR. PIFKO:
    14          MR. NICHOLAS: Object to the           14     Q. Do you remember changing
    15      form.                                     15 anything about the operations at that
    16          THE WITNESS: I knew they              16 center as a result of the Attorney
    17      had action that was being taken           17 General's action there?
    18      against them. I can't recall the          18         MR. NICHOLAS: Same
    19      specifics of that action.                 19     objection.
    20 BY MR. PIFKO:                                  20         THE WITNESS: I have a
    21      Q. Do you understand that that            21     general recollection that some
    22 action concerned diversion control             22     changes occurred as a result of
    23 issues?                                        23     that action.
    24          MR. NICHOLAS: Same                    24 BY MR. PIFKO:


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     1      Q. But you don't know what                 1 at that time?
     2 changes were made?                              2      A. Karen Girillo was my
     3      A. There were a number of                  3 compliance manager at that facility.
     4 changes. I can't remember specifics. It         4      Q. Is there anything different
     5 was too long ago.                               5 about that facility compared to other
     6      Q. Did it affect diversion                 6 distribution centers?
     7 control activities?                             7           MR. NICHOLAS: Object to the
     8          MR. NICHOLAS: Same                     8      form.
     9      objection.                                 9           THE WITNESS: Yeah. Bellco
    10          THE WITNESS: Possibly. I              10      had two divisions. They had one
    11      don't recall.                             11      full line wholesale operation that
    12 BY MR. PIFKO:                                  12      serviced a Tri-State area and they
    13      Q. Who was the manager of that            13      also had a division called Bellco
    14 facility?                                      14      Generics that shipped products
    15      A. It transitioned over several           15      nationwide.
    16 years to multiple people. I believe it         16 BY MR. PIFKO:
    17 may have been Mike Lawlor at that time.        17      Q. What -- how did the generics
    18 But I can't be certain.                        18 business different from other types of
    19      Q. Were there -- are you aware            19 businesses that occurred at distribution
    20 of whether there were any personnel            20 centers, AmerisourceBergen's distribution
    21 changes as a result of the Attorney            21 centers?
    22 General's action concerning that               22           MR. NICHOLAS: Objection.
    23 facility?                                      23      Form and scope. Go ahead.
    24          MR. NICHOLAS: Object to the           24           THE WITNESS: Bell Generics
                                           Page 331                                             Page 333
     1     form.                                       1      specialized in low cost products,
     2          THE WITNESS: Don't remember            2      limited products that were more
     3     specifics with regards to                   3      competitive than other
     4     personnel changes resulting from            4      distribution centers and other
     5     that.                                       5      wholesalers. So they -- they had
     6 BY MR. PIFKO:                                   6      a market across the United States.
     7     Q. Did you personally interact              7      They had customers in all 50
     8 with anyone from the government in              8      states.
     9 connection with that action?                    9 BY MR. PIFKO:
    10          MR. NICHOLAS: Objection.              10      Q. And then the -- the
    11 BY MR. PIFKO:                                  11 Tri-State regional distribution, was that
    12     Q. The AG action concerning the            12 more similar to the types of business
    13 Bellco facility?                               13 that the other distribution centers did?
    14          MR. NICHOLAS: Object to the           14          MR. NICHOLAS: Same
    15     form. Scope.                               15      objection.
    16          THE WITNESS: I worked with            16          THE WITNESS: Yes, that's
    17     the distribution center to -- to           17      correct.
    18     make corrections, but again it was         18 BY MR. PIFKO:
    19     a long time ago. I don't remember          19      Q. Let's go back to Exhibit 2,
    20     specifics.                                 20 Slide 5. Do you see that?
    21 BY MR. PIFKO:                                  21      A. Yes.
    22     Q. Is there a name of anyone               22      Q. Okay. It talks about
    23 besides the manager of that distribution       23 enhancements for the diversion control
    24 center that you remember interacting with      24 program. Do you see that?


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     1      A. Order monitoring program?               1       Q. Okay. So did you -- did you
     2      Q. Well, where it says,                    2  have any involvement with conducting this
     3 "48-hour reporting to DEA, know your             3 "know your customer" due diligence that's
     4 customer"?                                       4 discussed here that was implemented in
     5      A. Yeah.                                    5 2007?
     6      Q. All those things, do you see             6      A. No, I don't believe so.
     7 that?                                            7 That was handled by a different team.
     8      A. Yeah.                                    8      Q. Do you know the team that
     9      Q. Okay. Are you familiar with              9 handled that?
    10 what those enhancements were?                   10      A. That was the diversion
    11      A. Not in a detailed way, no.              11 control team under corporate.
    12      Q. Do you know what "know your             12      Q. Who -- who was on that team?
    13 customer" means?                                13      A. I don't recall the specific
    14      A. Yes. I understand the DEA's             14 individuals. I know it was headed by Ed
    15 "know your customer" component.                 15 Hazewski.
    16      Q. What is that, what is your              16      Q. Anyone else that you can
    17 understanding of what that means?               17 think of?
    18      A. That we should have a good              18      A. Those investigators
    19 understanding of what their business            19 transitioned in and out. I don't recall.
    20 model is so we have a better                    20 Scott Kirsch was one investigator.
    21 understanding of the orders that they are       21      Q. Anyone else?
    22 placing with -- with our distribution           22      A. I can't remember.
    23 centers.                                        23      Q. Order monitoring program.
    24      Q. And when you say "they," you            24 Next thing down here. It's got establish

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     1 mean your customer?                             1  thresholds. Do you know what a threshold
     2     A. Correct.                                 2  is?
     3     Q. Did you -- have you -- other              3      A. Yes, I have a basic
     4 than the investigations that you                 4 understanding of what a threshold is.
     5 conducted between 2005 and 2007, did you         5      Q. Okay. What's your
     6 ever conduct any due diligence                   6 understanding?
     7 investigations concerning customers?             7      A. I don't know exactly what
     8     A. When you say --                           8 went into those thresholds. I know it's
     9         MR. NICHOLAS: Object to the              9 a level at which, you know, purchase
    10     form.                                       10 activity would draw a flag and hold the
    11         THE WITNESS: When you say               11 order until it could be investigated.
    12     due diligence investigations, I             12      Q. And then it says, "Review at
    13     was -- I was conducting                     13 distribution centers." Is that what it
    14     investigations of a possible                14 says?
    15     excessive purchase report. So if            15      A. Yes.
    16     you would classify that as a due            16      Q. Okay. What does that mean,
    17     diligence, then I would say yes.            17 do you know what that means?
    18 BY MR. PIFKO:                                   18      A. I believe that's when the
    19     Q. This is after 2007 is what               19 RPICs were implemented at the DC level.
    20 I'm asking.                                     20      Q. And before that what was the
    21     A. Post 2007?                               21 process?
    22     Q. Yeah.                                    22      A. Prior to 2007 orders weren't
    23     A. No. My responsibilities                  23 held when investigation -- or when a
    24 ceased after 2007 regarding that.               24 suspicious order was flagged. We would


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     1 conduct those investigations after the          1 well.
     2 fact.                                           2      Q. Who else had that
     3       Q. And so was there a personnel           3 responsibility?
     4 change? I believe we -- we talked about         4      A. A number of -- a number of
     5 that under the computer ordering system,        5 associates held that responsibility
     6 there are other reasons for an order to         6 including the warehouse managers,
     7 be flagged like if there was a payment          7 compliance clerks.
     8 credit issue -- I forget, there was some        8      Q. The order -- we talked about
     9 other reason that you said for an order         9 the filling of orders earlier. Do you
    10 to be held. So there was already someone       10 recall that? It comes in from the
    11 whose job it was to be doing that prior        11 computer. They put it in the totes,
    12 to 2007; is that correct?                      12 things like that?
    13           MR. NICHOLAS: Object to the          13      A. Yes.
    14       form. Go ahead.                          14      Q. That occurs at night,
    15           THE WITNESS: Yeah. There             15 correct?
    16       were -- there were other hold            16      A. Depending on the
    17       codes that did not include the           17 distribution center. Some of those
    18       order monitoring program hold            18 happen during the day as well.
    19       code. So there was a number of           19      Q. Okay. Does it primarily
    20       hold codes that would hold an            20 occur at night?
    21       order, like licensing, credit and        21      A. Yes.
    22       that kind of thing.                      22      Q. The investigation thing here
    23 BY MR. PIFKO:                                  23 on Page 5. Do you see that?
    24       Q. Okay. And so there was                24      A. Yes.
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     1 already someone's job who it was to deal        1      Q. Do you know what that's
     2 with those holds, correct?                      2 referring to?
     3      A. Yes. I believe so.                      3      A. It states, "Report to DEA."
     4      Q. Okay. Were -- were those                4 I can't state specifically what they are
     5 same people then added this                     5 referring to in that bullet point.
     6 responsibility of reviewing the order           6      Q. The next section, on Page 6,
     7 monitoring program holds?                       7 it says, "Audits, investigations, and
     8      A. Back in that time frame, I              8 regulatory activity."
     9 don't recall who was handling those kinds       9           That's -- that was --
    10 of holds at the distribution center            10 includes activities in your purview as
    11 level.                                         11 the regional director, correct?
    12      Q. You don't know who the RPICs           12      A. Yes.
    13 were when this program was initiated?          13      Q. Go to the next page. It's
    14      A. No.                                    14 got a summary of DEA audits.
    15      Q. Okay. I believe you                    15           Do you see that?
    16 testified earlier that the -- the data         16      A. Yes.
    17 manage -- data management people, I            17      Q. Are you familiar with these
    18 forget what the term you used?                 18 statistics?
    19      A. It was just one of -- they             19      A. Not for this particular
    20 were usually an RPIC.                          20 PowerPoint. But I would take this
    21      Q. Okay.                                  21 information as being accurate.
    22      A. But there were other people            22      Q. These are -- concern audits
    23 at the division -- at the -- at the DC         23 and inspections at AmerisourceBergen's
    24 level who had that responsibility as           24 facilities?


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     1     A. Yes.                                   1  That's for the Orlando facility?
     2     Q. It mentions this MOU here.             2       A. Yes.
     3 Do you see that, in 2006?                      3      Q. And then it says, "Six
     4     A. Yes.                                    4 distribution center inspections for order
     5     Q. Do you know what that was?              5 monitoring program compliance."
     6     A. No, I don't recall.                     6          Is that correct?
     7     Q. It says here, "Not good."               7      A. Yes.
     8         Do you see that?                       8      Q. Do you know what those were?
     9     A. Yes.                                    9      A. I believe they were the six
    10     Q. You agree with -- that an              10 distribution centers that the DEA audited
    11 MOU is not -- not good?                       11 as a precursor to get our registration
    12     A. From a regulatory --                   12 back in active status for the Orlando
    13         MR. NICHOLAS: Object to --            13 distribution center.
    14         THE WITNESS: Sorry.                   14      Q. Okay. So the Orlando
    15         MR. NICHOLAS: Object to the           15 distribution center had issues that led
    16     form.                                     16 to the suspension, and then the DEA went
    17         THE WITNESS: Yeah, from a             17 to inspect other facilities as a result
    18     regulatory standpoint we don't            18 of that?
    19     like MOUs.                                19          MR. NICHOLAS: Object to the
    20 BY MR. PIFKO:                                 20      form.
    21     Q. Why is that?                           21          THE WITNESS: That's my
    22     A. Because we were doing                  22      understanding of the chronology,
    23 something wrong, according to DEA.            23      yes.
    24     Q. When there's an MOU, do you            24 BY MR. PIFKO:

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     1 try to change what's going on at the          1       Q. How did you come to that
     2 facility so you don't -- so it doesn't        2  understanding?
     3 happen again?                                  3          MR. NICHOLAS: Same
     4      A. Yes.                                   4      objection.
     5      Q. It's a serious event?                  5          THE WITNESS: Based on this
     6          MR. NICHOLAS: Object to the           6      report.
     7      form.                                     7 BY MR. PIFKO:
     8          THE WITNESS: Yes, it is.              8      Q. Did you talk to anyone at
     9 BY MR. PIFKO:                                  9 the company about that?
    10      Q. How about a letter of                 10      A. I don't recall back in that
    11 admonition? Do you see that? Just above       11 time period.
    12 that?                                         12      Q. Okay. But looking at that,
    13      A. Yes. Yes, I do.                       13 you're able to tell the chronology?
    14      Q. Is that a significant event?          14          MR. NICHOLAS: Same
    15      A. Yes.                                  15      objection.
    16          MR. NICHOLAS: Object to the          16          THE WITNESS: I very vaguely
    17      form.                                    17      recall, you know, what transpired
    18          THE WITNESS: Yes.                    18      in the 2007 time frame. I
    19 BY MR. PIFKO:                                 19      remember there was audits from the
    20      Q. Do you recall what that's             20      DEA in order to get the
    21 referring to in 2006?                         21      registration back in active
    22      A. No, I don't.                          22      status.
    23      Q. It talks about 2007                   23 BY MR. PIFKO:
    24 activities, the registration suspension.      24      Q. Would you have attended any
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     1 of those audits if the DEA conducted an        1       correct. Not routinely.
     2 audit?                                         2 BY MR. PIFKO:
     3           MR. NICHOLAS: Object to the          3       Q. Going to Slide 8, it's got a
     4      form.                                     4 list of different audits of different
     5           THE WITNESS: I don't recall          5 facilities. Are these all facilities
     6      if I attended any of those. I may         6 that the company had around 2007?
     7      have attended one. I don't                7       A. Yes, that appears to be the
     8      recall.                                   8 information on this page.
     9 BY MR. PIFKO:                                  9       Q. It's consistent with what
    10      Q. As an auditor, was that               10 your understanding is about the
    11 something that you would do from time to      11 facilities based on your experience with
    12 time if the DEA wanted to audit the           12 the company?
    13 facility, would they -- would you             13       A. I'm not sure I understand
    14 accompany them on such an audit?              14 your question.
    15           MR. NICHOLAS: Object to the         15       Q. I'm just -- well, you said
    16      form.                                    16 this is what's on the page. But I'm
    17           THE WITNESS: Not routinely.         17 asking you, you worked there. Is this --
    18      Normally the DEA would conduct           18 these names of these places, is this
    19      unannounced audits, and the audit        19 consistent with facilities that the
    20      was initiated at one of our              20 company had at the time?
    21      distribution centers. We would           21       A. Yes, I would agree with
    22      work with the compliance manager.        22 that.
    23      But we wouldn't travel there to          23       Q. Okay. And these would be
    24      conduct the audit with the DEA.          24 months and years when the facilities had

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     1 BY MR. PIFKO:                                  1 audits?
     2      Q. Okay. So DEA arrives at a              2      A. Yeah. This would be the
     3 facility on such an occasion. The              3 most recent DEA audit for these subject
     4 compliance manager might call you to ask       4 distribution centers.
     5 for advice?                                    5      Q. Okay. Some of these have a
     6           MR. NICHOLAS: Object to the          6 letter G after it. Do you know what that
     7      form.                                     7 refers to?
     8           THE WITNESS: Per internal            8          MR. NICHOLAS: Object to the
     9      policy, if the DEA walks in to            9      form, and no foundation.
    10      initiate an audit, they're               10          THE WITNESS: That's a
    11      required to notify their regional        11      designation for Greenfield
    12      director immediately.                    12      distribution centers.
    13 BY MR. PIFKO:                                 13 BY MR. PIFKO:
    14      Q. The compliance manager is             14      Q. What?
    15 required to notify you? Is that what          15      A. I believe the G is a
    16 you're saying?                                16 designation for Greenfield distribution
    17      A. Yes, correct.                         17 centers.
    18      Q. And so you would interact             18      Q. Okay. What does that mean?
    19 with them on the phone and maybe by           19      A. Those facilities were larger
    20 e-mail, but you wouldn't show up in           20 than a standard facility. They had a
    21 person?                                       21 common footprint. They had a common
    22           MR. NICHOLAS: Object to the         22 blueprint. And we mimicked that
    23      form.                                    23 blueprint and footprint in multiple
    24           THE WITNESS: That's                 24 distribution centers throughout the


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     1 company. So it's just a -- designates a         1       A. Yes. This looks -- this
     2 larger distribution center.                     2  looks routine for those years.
     3      Q. Okay. They're like clones                3      Q. Let's go to Slide 11. It
     4 of each other, essentially?                      4 talks about audit results.
     5           MR. NICHOLAS: Object to the            5          Do you see this?
     6      form.                                       6      A. Yes.
     7           THE WITNESS: Not exactly.              7      Q. Do you have an understanding
     8      But generally they have the common          8 about what's being communicated here?
     9      footprint and blueprint, yeah.              9          MR. NICHOLAS: Objection.
    10 BY MR. PIFKO:                                   10      Form. Foundation.
    11      Q. And these were the largest              11          THE WITNESS: Yes.
    12 facilities?                                     12 BY MR. PIFKO:
    13           MR. NICHOLAS: Same                    13      Q. Can you tell me what's being
    14      objection.                                 14 communicated here?
    15           THE WITNESS: Within the ABC           15      A. It's showing CSRA audits
    16      network, yes.                              16 that were conducted in the years 2005,
    17 BY MR. PIFKO:                                   17 2006, 2007, and 2008 with the high level
    18      Q. You visited all these                   18 results of those audits.
    19 facilities over your tenure as an               19      Q. What does that mean? The
    20 auditor?                                        20 results there, how do I understand that?
    21      A. Yes, I visited all of them.             21 Level 1, Level 2, Level 3, and it's got
    22      Q. In the copy that was                    22 some percentages.
    23 produced in its actual -- as we call it,        23      A. As I indicated before, I
    24 native format, you can see up on the            24 don't remember exactly the audit score

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     1 screen it's in color. The facilities on         1  requirements to be a passing audit in
     2 the right are in red.                           2  2005, 2006, 2007, during those years.
     3           Do you have an understanding           3 But I believe 25 was the audit score that
     4 about why those are in red? Is there             4 would be considered a passing score. So
     5 something different about those                  5 that would be considered a Level 1 audit.
     6 facilities as it concerns audit history          6          There was a subsequent score
     7 versus the other facilities?                     7 of Level 2 that was a range above 25, and
     8           MR. NICHOLAS: Objection.               8 then that was a Level 2. And if it went
     9      Form. Foundation.                           9 above that level two and it became a
    10           THE WITNESS: No, I don't              10 Level 3 audit. So it was just degrees
    11      recall what that designates.               11 above a passing audit that was, you know,
    12 BY MR. PIFKO:                                   12 different degrees of failing the audit.
    13      Q. Go to Slide 10, please.                 13      Q. Okay.
    14 State agencies would audit your                 14      A. So that's basically what
    15 facilities from time to time as well; is        15 you're seeing here. 25 had a passing
    16 that correct?                                   16 audit. One had a Level 2 audit, which
    17      A. That's correct.                         17 was a low -- low level fail, and then one
    18      Q. Okay. Seeing these                      18 had a Level 3 audit which was a higher
    19 statistics here, Board of Pharmacy,             19 level fail.
    20 Department of Health inspections from           20      Q. And it looks like, if I go
    21 2004 to 2007, is that consistent with           21 to 2006, you can have a Level 4 failure,
    22 your understanding of the number of             22 which is even higher?
    23 inspections that would have occurred by         23      A. Yes.
    24 state agencies?                                 24      Q. So this is reflecting the
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     1 number of facilities and how they fell            1       A. Yes.
     2 into the passing rates?                           2       Q. Is it your understanding
     3      A. Yes.                                      3 there's a financial impact when there's
     4      Q. Go to Slide 13. Are you                   4 regulatory action taken against a
     5 there?                                            5 AmerisourceBergen facility?
     6      A. Yes.                                      6           MR. NICHOLAS: Object to the
     7      Q. It talks about                            7       form and to foundation.
     8 investigations. Are you familiar what             8           THE WITNESS: Not always.
     9 this slide is reflecting?                         9 BY MR. PIFKO:
    10          MR. NICHOLAS: Objection.                10       Q. Do you agree with the --
    11      Form. Foundation.                           11           MR. PIFKO: Can people on
    12          THE WITNESS: It indicates               12       the phone mute their phone?
    13      the number of investigations that           13 BY MR. PIFKO:
    14      were conducted in each year, it             14       Q. Do you have an understanding
    15      looks like.                                 15 about what this is referring to here when
    16 BY MR. PIFKO:                                    16 it talks about the financial impact?
    17      Q. Okay. It talks about                     17           MR. NICHOLAS: Objection to
    18 projecting a 1,500 percent increase from         18       the form and to the foundation.
    19 2004 to 2007.                                    19           THE WITNESS: Well, if it
    20          Do you see that?                        20       relates to the action in Orlando,
    21      A. Yes.                                     21       we had to take a lot of steps to
    22      Q. Do you have an understanding             22       service our customers from
    23 about why there was a projection that it         23       distribution centers other than
    24 would increase to that degree?                   24       Orlando DC. So that obviously
                                             Page 355                                           Page 357
     1         MR. NICHOLAS: Same                        1      would have a financial impact.
     2     objection. Form. Foundation.                  2      Beyond that, I couldn't really
     3         THE WITNESS: No, I don't                  3      speak to it.
     4     have a -- I don't have a detailed             4 BY MR. PIFKO:
     5     recollection of what these                    5      Q. When you say you had to take
     6     investigations entailed or what               6 steps to serve your customers from other
     7     type of investigations they were.             7 distribution centers, what do you mean?
     8     So I -- I don't recall.                       8      A. Well, those accounts were
     9 BY MR. PIFKO:                                     9 set up under the Orlando distribution
    10     Q. Do you have an understanding              10 center. And if we have to change the
    11 about why they were projecting a                 11 system to ship these products from other
    12 substantial increase in investigations in        12 distribution centers, then that took a
    13 2007?                                            13 lot of work.
    14         MR. NICHOLAS: Same                       14      Q. So when that distribution
    15     objection. Form. Foundation.                 15 center was shut down, you serviced its
    16         THE WITNESS: I don't                     16 accounts through other distribution
    17     recall.                                      17 centers; is that correct?
    18 BY MR. PIFKO:                                    18      A. Yes, that's correct.
    19     Q. Go to Slide 16. It talks                  19      Q. Do you know if any accounts
    20 about the impact to AmerisourceBergen            20 were terminated as a result of the
    21 Corporation. Do you see that?                    21 suspension and the activities that
    22     A. Yes.                                      22 occurred at that facility?
    23     Q. One of them is financial                  23      A. I don't know. That would
    24 impact. Do you see that?                         24 not have been in my area at that time.


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                                           Page 358                                      Page 360
     1      Q. Have you ever heard of                 1         MR. PIFKO: Yeah, but --
     2 something called the do-not-ship list?         2     just this document will be quick.
     3      A. Yes, I'm familiar with that.            3    I guess we don't -- we can take a
     4      Q. What does that mean if                  4    quick break.
     5 somebody is on the do-not-ship list?            5        MR. NICHOLAS: How much
     6      A. It's a list that indicates              6    longer do you think you have,
     7 customers that the company has terminated       7    Mark?
     8 so we just have kept a record of it over        8        MR. PIFKO: I'll give you a
     9 years.                                          9    better estimate when we come back.
    10      Q. Are you supposed to be                 10        THE VIDEOGRAPHER: Going off
    11 shipping controlled substances to a            11    the record at 4:09 p.m.
    12 facility or a customer who is on the           12        (Short break.)
    13 do-not-ship list?                              13        THE VIDEOGRAPHER: Back on
    14      A. Well, the list indicates a             14    record. The time is 4:20 p.m.
    15 documented history of customers that were      15        (Document marked for
    16 blocked. So it didn't indicate that we         16    identification as Exhibit
    17 couldn't reactivate them at a later date       17    AmerisourceBergen-Cherveny-3.)
    18 based on current information that we had       18 BY MR. PIFKO:
    19 on them. So just to clarify that answer.
    20      Q. Okay. But --
    21      A. While they were on there we
    22 would not ship to that customer.
    23      Q. Okay. But if they are on
    24 the do-not-ship list and they haven't

                                           Page 359                                      Page 361
     1 been reactivated, you shouldn't be
     2 shipping controlled substances to them;
     3 is that correct?
     4      A. Yeah, unless they were on
     5 there in error, I would agree with that.
     6      Q. Okay. It would violate the
     7 company's policy to do so, correct?
     8          MR. NICHOLAS: Object to the
     9      form. Go ahead.
    10          THE WITNESS: I'm not sure
    11      how the -- the do-not-ship list
    12      was documented in policy. But I
    13      would agree generally that, yeah,
    14      unless they are on there in error,
    15      they shouldn't be receiving
    16      controlled substances.
    17          MR. NICHOLAS: Before you
    18      get to the next document, if
    19      you're going to be a while, can we
    20      get a break?
    21          MR. PIFKO: It'll be quick.
    22          MR. NICHOLAS: Is this the
    23      last -- are you close to the end
    24      of the examination?
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                                                                             Review
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                                                       1 the regulatory section of the DEA that
                                                       2 oversees suspicious order investigations
                                                       3 and DEA audits. Do you see that?
                                                       4       A. Yeah, I don't know. I
                                                       5 didn't know who Barbara was based on
                                                       6 this. But are you stipulating that
                                                       7 it's --
                                                       8       Q. Well, it says in the middle
                                                       9 here: "All, we have a tentative
                                                      10 agreement from the chief of the
                                                      11 regulatory section that oversees..."
                                                      12          Do you see that?
                                                      13       A. Yes.
                                                      14       Q. Okay. She is someone at the
                                                      15 DEA as far as you know?
                                                      16       A. Yeah, I don't know who
                                                      17 Barbara Bookholdt is, yeah.
                                                      18       Q. Do you recall discussing a
                                                      19 meeting with the DEA to go over the
                                                      20 issues that are reflected on 145774?
                                                      21       A. No, I don't remember this --
                                                      22 this meeting being conducted.
                                                      23       Q. Do you remember these --
                                                      24 these e-mails?

                                           Page 367                                           Page 369
                                                       1      A. No.
                                                       2      Q. It says here, you write at
                                                       3 the top, you say: I'm not sure how
                                                       4 specific we want to get with the CSOS
                                                       5 issues given our current setup."
                                                       6          Do you see that?
     7      Q. Handing you what's been                 7      A. Yes.
     8 marked as Exhibit 6.                            8      Q. Do you know what that's
     9          (Document marked for                   9 referring to?
    10      identification as Exhibit                 10      A. I don't recall.
    11      AmerisourceBergen-Cherveny-6.)            11      Q. Do you remember having
    12 BY MR. PIFKO:                                  12 concerns?
    13      Q. For the record it's a                  13          MR. NICHOLAS: Object to the
    14 two-page document Bates labeled                14      form.
    15 ABDCMDL00145773 and 774.                       15          THE WITNESS: I don't think
    16          Your name is at the top               16      it was a concern. I think it was
    17 sending an e-mail to Steve Mays dated          17      regarding CSOS. The DEA largely
    18 February 26, 2013. Subject, proposed           18      doesn't understand their own CSOS
    19 meeting. Barbara Bookholdt.                    19      program. And then we have to
    20          Let me know when you're               20      explain it to them in more times
    21 ready to discuss.                              21      than not. So I think that's
    22      A. Okay.                                  22      probably where I was going here.
    23      Q. So this is talking about               23      But I don't recall this e-mail.
    24 setting up a meeting with the chief of         24 BY MR. PIFKO:


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                                                                             Review
                                          Page 370                                          Page 372
     1      Q. So is there something unique          1  involvement with -- did you take on
     2 about your -- the way your system is set      2  serving on the regulatory affairs
     3 up compared to other members of the            3 committee at the HDA when you took on
     4 industry as far as you know?                   4 that role?
     5          MR. NICHOLAS: Object to the           5      A. No, I did not.
     6      form. Lack of foundation.                 6      Q. Do you now have any
     7          THE WITNESS: Not that I               7 involvement with the HDA?
     8      recall, no.                               8      A. No, none.
     9 BY MR. PIFKO:                                  9      Q. Okay. The -- the second
    10      Q. It talks about on 145774 the          10 page, I don't know if you understand when
    11 settlement agreement expiring. Do you         11 a document is produced in litigation, if
    12 see that?                                     12 you imagine like in your -- on your
    13      A. Yes.                                  13 desktop, if you click on a document it
    14      Q. Do you have an understanding          14 carries with it that it was created by
    15 about that?                                   15 someone or you know that it's connected
    16      A. Yeah. That's -- I think               16 to someone's computer. So the data that
    17 that's an error. I know it expired at         17 accompanied this file shows that it came
    18 one point. But it was renewed subsequent      18 from your files, the second page here.
    19 to that. So I don't think that's --           19          And so my question to you
    20 that's an accurate statement. But I do        20 is, do you remember looking at or
    21 see where they state that in the e-mail.      21 drafting redlines of this bill that was
    22      Q. What's your basis for                 22 being discussed here?
    23 understanding that there was a renewal?       23      A. No, I don't.
    24      A. General, my general                   24      Q. Okay. Do you know what this
                                          Page 371                                          Page 373
     1 understanding of where we currently are       1  discussion is about?
     2 with the agreement with the DEA resulting     2       A. It looks like HDMA having a
     3 from the 2007 action.                          3 discussion with regards to regulation.
     4      Q. Do you recall discussing               4      Q. Well, they are talking about
     5 that with anyone specifically?                 5 a Senate Bill 483, DEA enforcement bill,
     6      A. No.                                    6 do you see that?
     7          MR. NICHOLAS: Object to the           7      A. Yes. Yeah.
     8      form.                                     8      Q. Do you have any knowledge
     9          (Document marked for                  9 about what that is?
    10      identification as Exhibit                10          MR. NICHOLAS: Objection.
    11      AmerisourceBergen-Cherveny-4.)           11      Lack of foundation. And object to
    12 BY MR. PIFKO:                                 12      the form.
    13      Q. I'm handing you what's                13          THE WITNESS: No, I had
    14 marked as Exhibit 4.                          14      nothing to do with any review of
    15          For the record, this is a            15      this document.
    16 two-page document, Bates labeled              16 BY MR. PIFKO:
    17 ABDCMDL001731146 and 147.                     17      Q. Did you have any
    18      A. Okay.                                 18 understanding about why your name would
    19      Q. Okay. You were in your                19 be linked to the -- the attached language
    20 diversion control function at this point,     20 on this document?
    21 correct?                                      21          MR. NICHOLAS: Objection.
    22      A. Yeah. I was just -- it was            22      Lack of foundation, and object to
    23 in my first six months, yeah.                 23      the form of the document and -- go
    24      Q. Okay. Did you have any                24      ahead.
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                                          Page 374                                            Page 376
     1          THE WITNESS: No. It might             1 specific conference call.
     2     have been on the distribution              2      Q. Do you know what the Masters
     3     list. It might have come to me.            3 decision is? Do you see that reflected
     4 BY MR. PIFKO:                                  4 here?
     5     Q. Have you heard of the                   5      A. I have a basic understanding
     6 Ensuring Patient Access to Care Act?           6 of the Masters decision.
     7     A. No.                                     7      Q. What's your understanding of
     8     Q. Are you aware that through              8 it?
     9 the HDA, certain members of the                9      A. Masters was a wholesale
    10 pharmaceutical industry were trying to        10 distributor, and they were cited by the
    11 change laws and regulations that the DEA      11 DEA for not following internal policy
    12 enforced?                                     12 with regards to the regulation.
    13          MR. NICHOLAS: Objection to           13      Q. That's all of your
    14     the lack of foundation as well as         14 understanding?
    15     to the form.                              15      A. They didn't follow internal
    16          THE WITNESS: No, I don't             16 regulations, and they were cited as a
    17     recall this.                              17 result of that. That's basically my
    18          (Document marked for                 18 understanding of it. I don't -- I don't
    19     identification as Exhibit                 19 get too involved in litigation like this.
    20     AmerisourceBergen-Cherveny-5.)            20 That really is handled by David May. I
    21 BY MR. PIFKO:                                 21 spend all of my time with managing our
    22     Q. I'm handing you what's been            22 day-to-day operation of our diversion
    23 marked as Exhibit 5.                          23 program. So I really don't get into the
    24          For the record Exhibit 5 is          24 analysis too much of things like this.

                                          Page 375                                            Page 377
     1 Bates-labeled ABDCMDL0047022 through           1      Q. Did anyone discuss the
     2 47078. It's an e-mail dated July 12,           2 Masters decision with you or talk about
     3 2017. David May is asking you to listen        3 any changes that need to be made to the
     4 on this call on his behalf.                    4 company because of it?
     5          Do you see that?                      5      A. No. Those kinds of
     6      A. Yes.                                   6 discussions happened over my head.
     7      Q. Do you recall that                     7      Q. Okay. How about the
     8 occurring?                                     8 Mallinckrodt settlement? You see that's
     9      A. I do not.                              9 referenced there?
    10      Q. Did David from time to time           10      A. Yes.
    11 ask you to sit in on had calls for him?       11      Q. Do you know what that is?
    12      A. Very seldom.                          12      A. I don't even recall exactly
    13      Q. But on occasions, certain             13 what the Mallinckrodt settlement
    14 occasions you did?                            14 entailed.
    15      A. Like I said, very seldom.             15      Q. Okay. Do you know who
    16 This may have been the only time.             16 Mallinckrodt is?
    17      Q. And do you recall the                 17      A. Yes.
    18 discussion being reflected here?              18      Q. What are they?
    19      A. Not at all.                           19      A. They are a manufacturer.
    20      Q. Do you believe that you               20      Q. Okay. You're aware that
    21 would have dialed into this call?             21 they had some sort of issue that led to a
    22      A. Unless he subsequently told           22 settlement?
    23 me that he had it covered by somebody         23      A. Yes. I'm generally aware of
    24 else. But I don't recall attending this       24 it.


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                                            Page 378                                          Page 380
     1         Q.   Okay. What were you aware           1
                                                    compliance managers had to -- I'm sorry,
     2   of?                                            2
                                                    compliance managers, not the RPICs. That
     3      A. Generally that they had an         3 add to your workload?
     4 issue that resulted in a settlement.       4          MR. NICHOLAS: Object to the
     5      Q. Okay. Do you know if it            5      form.
     6 concerned diversion control issues?        6          THE WITNESS: I'm not sure I
     7      A. I don't remember to what           7      understand. You mean at the point
     8 degree diversion was involved in that      8      that they started reporting to me?
     9 settlement cited.                          9 BY MR. PIFKO:
    10      Q. Do you know if anyone at the      10      Q. Yes.
    11 company was concerned about the company's 11      A. Yes, that added -- that
    12 activities as a result of that            12 added work to our -- to our positions.
    13 settlement?                               13      Q. Did you get any additional
    14          MR. NICHOLAS: Object to the      14 staffing to help you with that?
    15      form. Lack of foundation.            15      A. No.
    16          THE WITNESS: I don't know.       16          MR. PIFKO: I don't have any
    17 BY MR. PIFKO:                             17      further questions.
    18      Q. Do you feel that you had          18          MR. NICHOLAS: Just give me
    19 adequate resources to perform your job    19      one minute.
    20 functions?                                20          THE VIDEOGRAPHER: Going off
    21      A. Under what job title?             21      the record. 4:47 p.m.
    22      Q. When you were -- from -- in       22          (Short break.)
    23 the job you held from -- as the regional  23          MR. NICHOLAS: We have no
    24 manager from 2002 to 2015?                24      questions.
                                            Page 379                                          Page 381
     1           MR. NICHOLAS: Object to the            1       MR. PIFKO: I think -- we
     2      form.                                       2   may meet and confer with you in
     3           THE WITNESS: Yes. I had                3   the future. But I think there's
     4      adequate resources to do my job.            4   some issues with documents, and
     5 BY MR. PIFKO:                                    5   we'll discuss it, but to the
     6      Q. Did you feel that -- you                 6   extent that that affects this
     7 said it took all your time. Do you feel          7   deposition, we hold it open for
     8 like you had too much to do?                     8   that.
     9           MR. NICHOLAS: Object to the            9       (Excused.)
    10      form. Go ahead.                            10       (Deposition concluded at
    11           THE WITNESS: It was a very            11   approximately 4:50 p.m.)
    12      demanding job, a lot of putting            12
    13      out of fires. But yes, I had               13
    14      adequate sources to do the job             14
    15      adequately.                                15
    16 BY MR. PIFKO:                                   16
    17      Q. When you took the job of                17
    18 managing the RPICs, did that add to your        18
    19 workload?                                       19
    20      A. I don't know what you mean              20
    21 by when I took my job to manage the             21
    22 RPICs. Meaning when -- I don't know             22
    23 what--                                          23
    24      Q. When the -- when the                    24


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     1                                                 1         - - - - - -
     2          CERTIFICATE
     3
                                                                  ERRATA
     4
                                                       2         - - - - - -
     5                                                 3
               I HEREBY CERTIFY that the
       witness was duly sworn by me and that the   PAGE LINE CHANGE
                                                       4
     6 deposition is a true record of the
                                                   ____ ____ ____________________________
                                                       5
       testimony given by the witness.
     7                                           6   REASON: ____________________________
                 It was requested before         7 ____ ____ ____________________________
     8 completion of the deposition that the     8   REASON: ____________________________
       witness, ERIC CHERVENY, have the          9 ____ ____ ____________________________
     9 opportunity to read and sign the
       deposition transcript.                   10   REASON: ____________________________
    10                                          11 ____ ____ ____________________________
    11
    12
                                                12   REASON: ____________________________
            __________________________________ 13
            MICHELLE L. GRAY,                      ____ ____ ____________________________
    13      A Registered Professional           14   REASON: ____________________________
            Reporter, Certified Shorthand       15 ____ ____ ____________________________
    14      Reporter, Certified Realtime        16   REASON: ____________________________
            Reporter and Notary Public          17 ____ ____ ____________________________
    15      Dated: November 14, 2018
    16                                          18   REASON: ____________________________
    17                                          19 ____ ____ ____________________________
    18           (The foregoing certification
    19 of this transcript does not apply to any
                                                20   REASON: ____________________________
    20 reproduction of the same by any means,   21 ____ ____ ____________________________
    21 unless under the direct control and/or   22   REASON: ____________________________
    22 supervision of the certifying reporter.)
                                                23 ____ ____ ____________________________
    23
    24                                          24   REASON: ____________________________
                                           Page 383                                                 Page 385
     1      INSTRUCTIONS TO WITNESS                    1
     2                                                 2      ACKNOWLEDGMENT OF DEPONENT
     3                                                 3
                Please read your deposition
     4 over carefully and make any necessary
                                                       4         I,_____________________, do
     5 corrections. You should state the reason
                                                       5 hereby certify that I have read the
                                                       6 foregoing pages, 1 - 386, and that the
     6 in the appropriate space on the errata
                                                       7 same is a correct transcription of the
     7 sheet for any corrections that are made.
                                                       8 answers given by me to the questions
     8          After doing so, please sign            9 therein propounded, except for the
     9 the errata sheet and date it.
                                                      10 corrections or changes in form or
    10          You are signing same subject          11 substance, if any, noted in the attached
    11 to the changes you have noted on the           12 Errata Sheet.
    12 errata sheet, which will be attached to        13
    13 your deposition.                               14
    14          It is imperative that you             15   _______________________________________
    15 return the original errata sheet to the        16   ERIC CHERVENY             DATE
    16 deposing attorney within thirty (30) days      17
                                                      18
    17 of receipt of the deposition transcript
    18 by you. If you fail to do so, the
                                                      19 Subscribed and sworn
    19 deposition transcript may be deemed to be         to before me this
                                                      20 _____ day of ______________, 20____.
    20 accurate and may be used in court.
                                                      21 My commission expires:______________
    21
                                                      22
    22
                                                           ____________________________________
    23                                                23   Notary Public
    24                                                24


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